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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 STATE OF ILLINOIS,

              Plaintiff,
                                                Case No. 17-cv-6260
       v.
                                                Judge Robert M. Dow, Jr.
 CITY OF CHICAGO,

              Defendant.


                           Independent Monitoring Report 1

       The Independent Monitor Margaret A. Hickey and the Independent Monitoring Team
submit the attached Independent Monitoring Report 1.

Dated November 15, 2019                        /s/Margaret A. Hickey
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                                               233 S. Wacker Drive, Suite 7100
                                               Chicago, IL 60606
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                               CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that, on November 15, 2019, she caused a true and cor-
rect copy of the foregoing Independent Monitoring Report 1 to be filed electronically with the
Court’s CM/ECF system, which caused an electronic copy of this filing to be served on counsel of
record.

                                                   /s/Margaret A. Hickey
                                                   Margaret A. Hickey
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     INDEPENDENT MONITORING REPORT 1
                    Reporting Period March 1, 2019, through August 31, 2019




                                                       Report Date: November 15, 2019
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                     Monitoring under the Consent Decree
    In August 2017, the Office of the Illinois Attorney General sued the City of Chicago
    in federal court regarding civil rights abuses by the Chicago Police Department,
    which led to a consent decree, effective March 1, 2019.1 On March 1, 2019, the
    effective date of the consent decree, the federal court appointed Maggie Hickey
    as the Independent Monitor. Ms. Hickey leads the Independent Monitoring Team,
    which monitors the City of Chicago’s progress in meeting the consent decree’s re-
    quirements.

    The overall purpose of the consent decree, as provided by ¶2, has guided and will
    continue to guide our monitoring efforts:

              2. The State, the City, and the Chicago Police Department . . . are
              committed to constitutional and effective law enforcement. In
              furtherance of this commitment, the Parties enter into this
              Agreement to ensure that the City and CPD deliver services in a
              manner that fully complies with the Constitution and laws of the
              United States and the State of Illinois, respects the rights of the
              people of Chicago, builds trust between officers and the commu-
              nities they serve, and promotes community and officer safety. In
              addition, this Agreement seeks to ensure that Chicago police of-
              ficers are provided with the training, resources, and support they
              need to perform their jobs professionally and safely. This Agree-
              ment requires changes in the areas of community policing; im-
              partial policing; crisis intervention; use of force; recruitment, hir-
              ing, and promotions; training; supervision; officer wellness and
              support; accountability and transparency; and data collection,
              analysis, and management.2




    1
        For more information on the consent decree, see the Background section below. More infor-
        mation is also available on the Independent Monitoring Team’s website at https://cpdmoni-
        toringteam.com/) and on the Illinois Attorney General Office’s consent-decree website
        (http://chicagopoliceconsentdecree.org/about/).
    2
        We cite to relevant paragraphs of the consent decree throughout this Independent Monitoring
        Report. The consent decree is available on the Office of the Illinois Attorney General’s consent-
        decree website. See Resources, CHICAGO POLICE CONSENT DECREE (“Consent Decree Approved by
        the Court on January 31, 2019”), http://chicagopoliceconsentdecree.org/resources/ (last vis-
        ited September 30, 2019).
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                                              ***

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    sections of the report.
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    Executive Summary
    Our role as the Independent Monitoring Team (IMT) is to assess the City of Chi-
    cago’s (the City’s) compliance with the requirements of the consent decree. Spe-
    cifically, we assess how all the relevant City entities—including the Chicago Police
    Department (CPD); the Civilian Office of Police Accountability (COPA); the Chicago
    Police Board; the City Office of Inspector General (OIG), including the Deputy In-
    spector General for Public Safety (Deputy PSIG); and the Office of Emergency Man-
    agement and Communications (OEMC)—are complying with the consent decree.3
    In May 2019, we publicly filed the Monitoring Plan for Year One, which outlined
    the projected monitoring efforts under the consent decree for Year One (March 1,
    2019, through February 29, 2020).4

    In this report, we discuss our monitoring efforts during the first reporting period,
    from March 1, 2019, through August 31, 2019. The report therefore includes,
    among other things required by the consent decree, a compliance or status assess-
    ment for each paragraph we identified for this reporting period in our Monitoring
    Plan, a summary of the principal challenges facing the City’s ability to come into
    compliance with the consent decree, and an updated projection of upcoming work
    for the City, the Office of the Illinois Attorney General (OAG), and the Independent
    Monitoring Team (¶661). The consent decree generally prevents us from making
    any public statements or issue findings regarding any non-public information or
    materials. The semiannual reports—of which this is the first—give us the oppor-
    tunity to update the public about the City’s compliance efforts. Because the con-
    sent decree will be in effect for a minimum of five years, this is the first of at least
    10 Independent Monitoring Reports.5

    We also note that the consent decree is a complex document, which resulted from
    long and substantive negotiations between the City and the OAG. Throughout the
    reporting period, and in this report, we have tried to ensure that we address the
    nuances of that agreement accurately and fairly.

    The consent decree itself contains some tensions. For example, there is—and likely
    will continue to be—a tension between the City’s need to make compliance efforts

    3
        As a party to the consent decree, the City is ultimately responsible for compliance. Unless oth-
        erwise specified, our references to the City frequently include its relevant entities.
    4
        The IMT’s Monitoring Plan for Year One is publicly available on the IMT’s website. See Reports,
        IMT (May 30, 2019), https://cpdmonitoringteam.com/reports/.
    5
        We provided a draft of this report to the City and the OAG on September 30, 2019, as required
        by ¶¶661–665. Per ¶663, the OAG and the City provided written responses, which are at-
        tached to this report as Attachment A and Attachment B, respectively. We have considered
        those comments and made appropriate changes to this report (¶663). Where necessary, we
        have included clarifying comments in the footnotes of this report. (Note that this report has
        different page numbers than the draft report referenced by the Parties).


                                                    1
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    quickly and the need to ensure that its efforts are effective and sustainable. Be-
    cause the consent decree prioritizes both, so does the IMT. We recognize that if
    the City rushes to meet a deadline by creating a policy without, for example, the
    requisite community involvement, then that may have the unintended effect of
    delaying the date the City reaches full compliance if the City must re-engage the
    community, re-draft the policy, and potentially re-train personnel. We have at-
    tempted to address this tension in our analysis for each relevant paragraph in this
    report. For this reason, we request that readers read this report in full and do not
    take sections of the report out of context.

    We know that many readers will be most interested in learning where the IMT has
    found the City, the Chicago Police Department (CPD), and the other relevant enti-
    ties to be in compliance or out of compliance with the consent decree. We there-
    fore clarify what our compliance assessments mean and what they do not mean.

    First, this report represents a snapshot of the City’s compliance efforts from March
    1, 2019, through August 31, 2019. It does not reflect all the efforts from City, the
    CPD, or the other relevant City entities to date. While we report on the compliance
    efforts within defined six-month reporting periods (¶661), we stress that the
    City’s, its relevant entities’, the OAG’s, and the IMT’s work is ongoing. In many
    cases, relevant City entities have continued to develop policies and train personnel
    after August 31, 2019, and before the date of this report. We have not assessed
    those efforts in this report, but will do so in the next monitoring report for the
    second reporting period (September 1, 2019, through February 29, 2020).

    Second, we assess compliance in three levels: (1) Preliminary, (2) Secondary, and
    (3) Full. These compliance levels allow us to share our assessments of the City’s
    progress throughout the life of the consent decree with the City, its relevant enti-
    ties, the OAG, and the public. Typically, these levels correspond with whether the
    City or its relevant entities have (1) created a compliant policy, (2) trained person-
    nel on that policy, and (3) successfully implemented the reform in practice. There
    are, however, many paragraphs that do not include policy or training elements. In
    those circumstances, the three levels may follow a different trajectory, such as (1)
    whether the City or its relevant entities have established the framework and re-
    sources to achieve the reform, (2) whether the reform is known to relevant per-
    sonnel, and (3) whether the City or relevant entity has appropriately implemented
    the reform.

    Third, because of the nuances of each specific requirement and level of compli-
    ance, the City and its relevant entities must provide the IMT with records and
    data—at appropriate times—to establish each level of compliance during the ap-
    plicable reporting period.

    This compliance point is critical. Under the consent decree, the City is not techni-
    cally in compliance with any of the requirements of the consent decree until the


                                              2
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    IMT is satisfied that the City provided sufficient proof to the IMT that the City, the
    CPD, or its other relevant entities are in compliance. Even if the City has made
    significant efforts toward complying with a requirement—which in many cases it
    has—the City still has the additional burden of providing the IMT and the OAG with
    sufficient proof of its efforts. This means that on the first day of the consent decree,
    March 1, 2019, the City and the CPD were not in compliance with any of the 577
    paragraphs of the consent decree that contain requirements, because the IMT was
    only selected on that day.

    Thus, on March 1, 2019, the City had not achieved any level of compliance with
    the 67 paragraphs that have requirements in the first reporting period, as reflected
    in Figure 1 below.6

    Figure 1:                     Compliance Status at the Start of the Reporting Period (March 1, 2019)
                               Consent Decree Paragraphs with Requirements in the Reporting Period: 67

        Paragraphs with Requirements in Compliance                (0)
        Paragraphs with Requirements that are Not in Compliance                                   (67)

    By the end of this reporting period, August 31, 2019, we found that the City had
    achieved at least Preliminary compliance with 15 paragraphs, as reflected in Fig-
    ure 2 below. This means that the City is not in compliance yet with the remaining
    52 paragraphs—regardless of any compliance efforts that the City, the CPD, and
    the other relevant entities may have taken and not yet demonstrated to the IMT.

    Figure 2:                    Compliance Status at the End of the Reporting Period (August 31, 2019)
                               Consent Decree Paragraphs with Requirements in the Reporting Period: 67

        Paragraphs with Requirements in Any Level of Compliance           (15)
        Paragraphs with Requirements that are Not in Compliance                                   (52)
        (including under assessment and not yet assessed)


    Some paragraphs in the consent decree demand more than others. The number
    of requirements—and the amount of work required under each requirement—can
    vary drastically within each paragraph, topic area, and reporting period. Moreover,
    some of the paragraphs in the first reporting period also include requirements that
    do not apply until later reporting periods. As a result, we have not assessed or not
    finished assessing some of the requirements in the paragraphs in the first report-
    ing period.

    Nonetheless, the City and the OAG agreed to specific deadlines to ensure that the
    City was making significant efforts to comply with the consent decree in a timely
    manner. At the end of each reporting period, the corresponding Independent
    Monitoring Report will reflect whether the City is hitting the benchmarks it agreed

    6
           In this report we address 70 paragraphs. The requirements in three of the paragraphs (¶¶169,
           425, and 563) are not applicable for compliance assessment in the first reporting period.


                                                         3
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    to meet. As reflected in Figure 3 below, at the end of this reporting period, the IMT
    found that the City met 12 of the 50 agreed-upon deadlines. While the City missed
    38 deadlines, the City met 4 of the underlying requirements before the end of the
    reporting period.

    Figure 3:          Total Consent Decree Paragraphs with Deadlines in this Reporting Period: 50

                        Met Deadline                    (13)*
                      Missed Deadline                                                         (37)

        Met by the end August 31, 2019                     (+4)   (17)

    In our next semiannual independent monitoring report, we will continue to assess
    and report on the paragraphs in this report, as well as assess and report on more
    than 60 additional paragraphs, as described in our Monitoring Plan for Year One.




    *    We have placed asterisks on four of the 13 deadlines that the City met, because either the
         deadlines fell just after the reporting period or the City did not provide sufficient proof that it
         met the deadline until after the reporting period. Specifically, we included ¶¶39 and 44 in the
         report because the deadline was just outside of the reporting period and depended on the
         first day of school for Chicago Public Schools (September 3, 2019). Likewise, for ¶¶323 and
         538, the City did not provide sufficient proof that it met the deadline—which it did—until after
         the reporting period. Because the IMT believes this was a genuine misunderstanding regarding
         what evidence the City needed to provide to prove compliance, we have included these dead-
         lines as met in this report. The City, the CPD, the other relevant entities, the OAG, and the IMT
         are actively working to clarify the requisite levels of evidence for the next reporting period.
         See generally The City of Chicago’s Achievements and Challenges section, below.



                                                       4
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     Roadmap
     We wrote this report to be as accessible and readable as possible. We realize that
     this report is long, but the compliance efforts in the first reporting period require
     significant attention. As the monitoring efforts continue to move forward and ad-
     dress more requirements, the monitoring reports will also continue to grow in
     length. For this reason, we have provided the following roadmap to help readers
     understand what they can expect from each section of this report.

     We begin this report with an Introduction section that provides background about
     the consent decree and the IMT. This section also addresses frequently asked
     questions, including questions that the IMT received from community members
     during the first reporting period, and the IMT’s corresponding answers. This sec-
     tion is helpful for those who have not read or would like to reacquaint themselves
     with the background information from our Monitoring Plan.

     The next section, Compliance Activities and Assessments, provides the following
     information regarding the first reporting period:

      An overview of the IMT’s assessment process and priorities for the first report-
       ing period, including deadlines and foundational paragraphs;

      A summary of the IMT’s activities;

      A summary of the City’s achievements and challenges; and

      For each topic of the consent decree, a summary of relevant compliance ef-
       forts, a more specific analysis for each consent-decree paragraph with a dead-
       line before September 2019, and if applicable, a summary of efforts regarding
       the corresponding foundational paragraphs that do not have specific dead-
       lines.

     Finally, the last section, Conclusion and Looking Ahead to Independent Monitor-
     ing Report 2, provides concluding remarks and a projection of the upcoming work
     by the IMT, the OAG, the City, the CPD, and the City’s other relevant entities in the
     second reporting period.




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     Introduction
     This is the Independent Monitoring Team’s first semiannual Independent Monitor-
     ing Report.7 The report provides the IMT’s monitoring activities and findings from
     the first reporting period—from March 1, 2019, through August 31, 2019. In May
     2019, the IMT outlined its efforts in its public Monitoring Plan for Year One.8

     Specifically, consistent with the consent decree and throughout the sections of this
     this report, we address the following:

      The IMT’s efforts during the reporting period;

      A description of each consent-decree requirement that applied during the re-
       porting period;

      The IMT’s compliance findings for each corresponding requirement;

      A summary of the principal challenges facing the City’s ability to achieve com-
       plete compliance with the consent decree;

      The IMT’s corresponding recommendations regarding the City’s future efforts
       to achieve compliance; and

      A projection of the IMT’s, the OAG’s, and the City’s upcoming work during the
       next reporting period (September 1, 2019, through February 29, 2020).

     This is the first monitoring report of many. Per ¶661 of the consent decree, the
     IMT will continue to issue semiannual reports until the consent decree ends.

     Background: The Chicago Police Consent Decree
     In December 2015, the U.S. Attorney General launched a broad civil rights investi-
     gation into the CPD’s policing practices. The U.S. Department of Justice released
     the results of its investigation in January 2017, finding a longstanding, pervasive




     7
         We provided a draft of this report to the Parties to the consent decree on September 30, 2019,
         as required by ¶¶661–65. Per ¶663, the OAG and the City provided written responses, which
         are attached to this report as Attachment A and Attachment B, respectively. We have consid-
         ered those comments and made appropriate changes to this report (¶663).
     8
         The IMT’s Monitoring Plan for Year One is publicly available on the IMT’s website. See Reports,
         IMT (May 30, 2019), https://cpdmonitoringteam.com/reports/. We also note that the City filed
         their first semiannual status report (¶680) with the Court on September 3, 2019. See The City
         of Chicago’s Semiannual Status Report (September 3, 2019).


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     “pattern or practice” of civil rights abuses by the CPD.9 Two separate class-action
     lawsuits followed: Campbell v. City of Chicago and Communities United v. City of
     Chicago.10

     In August 2017, the OAG sued the City in federal court, seeking a consent decree
     that would address the DOJ’s findings and recommendations. The case was as-
     signed to federal Judge Robert M. Dow, Jr. The OAG then sought input from com-
     munity members and Chicago police officers and negotiated the consent decree
     with the City.

     In March 2018, the Parties to the consent decree (the OAG and the City) also en-
     tered into a Memorandum of Agreement with a “broad-based community coali-
     tion committed to monitoring, enforcing, and educating the community about the
     consent decree (‘the Coalition’),” which “includes the plaintiffs in the Campbell
     and Communities United lawsuits.”11

     The OAG and the City then sought proposals for an Independent Monitoring Team
     (IMT) after posting a draft consent decree on the Chicago Police Consent Decree
     website.12 Judge Dow approved and signed a modified version of the consent de-
     cree on January 31, 2019. The consent decree requires action by the CPD and many
     other City entities. On March 1, 2019, the effective date of the consent decree,
     and after a competitive selection process, Judge Dow appointed Maggie Hickey, a
     partner in the Schiff Hardin law firm, as the Independent Monitor. Ms. Hickey, as
     the Independent Monitor, reports directly to Judge Dow.13



     9
          DOJ Civil Rights Division and United States Attorney’s Office Northern District of Illinois, Inves-
          tigation of Chicago Police Department (January 13, 2017) at 4, available at http://chicagopo-
          liceconsentdecree.org/wp-content/uploads/2018/01/DOJ-INVESTIGATION-OF-CHICAGO-PO-
          LICE-DEPTREPORT.pdf.
     10
          See Campbell v. Chicago, N.D. Ill. Case No. 17-cv-4467 (June 14, 2017), and Communities
          United v. Chicago, N.D. Ill. Case No. 17-cv-7151 (October 4, 2017).
     11
          See Memorandum of Agreement Between the Office of the Illinois Attorney General and the
          City of Chicago and Campbell v. City of Chicago Plaintiffs and Communities United v. City of
          Chicago Plaintiffs (March 20, 2018), available at http://chicagopoliceconsentdecree.org/wp-
          content/uploads/2019/05/Executed_MOA.pdf.
     12
          More information about the IMT selection process is available on this website, which the OAG
          maintains. See Independent Monitor, CHICAGO POLICE CONSENT DECREE, http://chicagopo-
          liceconsentdecree.org/independent-monitor/. Other resources, such as consent decree docu-
          ments, court filings, and reports, are also available on this website. See Resources, CHICAGO
          POLICE CONSENT DECREE, http://chicagopoliceconsentdecree.org/resources/.
     13
          Judge Dow also appointed Judge David H. Coar, Ret., as a special master. As special master,
          Judge Coar is not a member of the IMT, but he will “help facilitate dialogue and assist the
          [OAG], the City, and other stakeholders in resolving issues that could delay progress toward
          implementation of the consent decree.” About, CHICAGO POLICE CONSENT DECREE,
          http://chicagopoliceconsentdecree.org/about/. As the special master, Judge Coar also reports
          directly to Judge Dow.


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     The Independent Monitoring Team
     As the IMT, we both monitor the City’s and the CPD’s progress in meeting the con-
     sent decree’s requirements and support the City and the CPD in implementing the
     changes that the consent decree requires.

     Monitor Maggie Hickey and Deputy Monitors Chief Rodney Monroe, Ret., and Dr.
     James “Chip” Coldren, Jr. lead the IMT. The IMT’s eight Associate Monitors, in turn,
     oversee the 10 topic areas of the consent decree. Our legal team, analysts, subject
     matter experts, Community Engagement Team, and community survey staff pro-
     vide support in several ways: by reaching out to and engaging with all sectors of
     the Chicago community, by providing general administrative support, and by col-
     lecting and analyzing policies, procedures, laws, and data, including conducting
     observations and interviews and writing reports.

     Our full organizational chart is in Figure 4, the next page, and our team structure
     is in Figure 5, on the following page.14

     For reference, after these charts, we list the most frequently asked questioned we
     receive from the community and provide our corresponding answers.




     14
          On March 1, 2019, Judge Dow also appointed Judge David H. Coar, Ret., as a special master. As
          special master, Judge Coar is not a member of the IMT, but he will “help facilitate dialogue and
          assist the [OAG], the City, and other stakeholders in resolving issues that could delay progress
          toward implementation of the consent decree.” About, CHICAGO POLICE CONSENT DECREE,
          http://chicagopoliceconsentdecree.org/about/. Both Ms. Hickey, as the Independent Monitor,
          and Judge Coar, as the special master, report directly to Judge Dow.


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     Figure 4. Organizational Chart




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     Figure 5. Independent Monitoring Team Members




                                        10
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              Frequently Asked Questions from the Community
     Throughout the first reporting period, the IMT received many questions from the
     community. We list the most frequently asked questions and our corresponding
     answers below.

          What is a consent decree?
     A consent decree is a court-approved settlement that resolves a legal dispute be-
     tween parties. This consent decree requires the CPD and the City to reform train-
     ing, policies, and practices in many important areas, such as use of force, commu-
     nity policing, impartial policing, training, accountability, officer wellness, and data
     and information systems. The goal is to ensure that the CPD performs constitu-
     tional and effective policing that keeps both community members and officers safe
     and restores the community’s trust in the CPD (¶2).15 Federal judge Robert M.
     Dow, Jr. was appointed to oversee the consent decree. He chose the Independent
     Monitor and oversees the work of the Independent Monitoring Team. The Inde-
     pendent Monitoring Team will assess the CPD’s and the City’s compliance with the
     consent decree. The consent decree will be in effect for at least five years so that
     the CPD can develop, implement, and sustain the training, policies, and practices
     that the consent decree requires.16

          Why is Chicago under a consent decree?
     In August 2017, the Office of the Attorney General for the State of Illinois (OAG)
     sued the City, alleging that the CPD had violated the U.S. Constitution, the Illinois
     Constitution, and federal and state laws. The OAG’s complaint pointed to reviews
     of the CPD’s policing practices over the last fifty years, including a 2017 report by
     the U.S. Department of Justice (DOJ). According to the DOJ report, the CPD en-
     gaged in a repeated pattern and practice of using excessive force and racially dis-
     criminatory policing practices.17 The City did not accept the OAG’s allegations but
     agreed to enter a consent decree with the OAG.




     15
          The final consent decree is available on the Chicago Police Consent Decree Website. See Con-
          sent Decree (January 31, 2019), http://chicagopoliceconsentdecree.org/wp-content/up-
          loads/2019/02/FINAL-CONSENT-DECREE-SIGNED-BY-JUDGE-DOW.pdf.
     16
          To learn more about the consent decree, visit the Office of the Attorney General’s consent
          decree website: http://chicagopoliceconsentdecree.org/.
     17
          DOJ Civil Rights Division and United States Attorney’s Office Northern District of Illinois, Inves-
          tigation of Chicago Police Department (January 13, 2017), available at http://chicagopo-
          liceconsentdecree.org/wp-content/uploads/2018/01/DOJ-INVESTIGATION-OF-CHICAGO-PO-
          LICE-DEPT-REPORT.pdf.


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        Who is on the IMT?
     We have assembled a team of recognized leaders and innovators in police reform
     from across the country. They have experience as police chiefs, academic scholars,
     and attorneys and have a wide range of expertise that covers every aspect of the
     consent decree from use of force and impartial policing to the training and super-
     vision of police officers. We also have a Community Engagement Team that organ-
     izes meetings and serves as the outreach arm. Members of the Community En-
     gagement Team meet with residents, stakeholders, and activists to ensure that the
     community has a voice in this process.

         What is the IMT doing?
     The Independent Monitoring Team observes and assesses how the CPD is making
     progress and complying with the consent decree’s requirements. Throughout the
     process, the IMT collects and analyzes data to measure the City’s and the CPD’s
     progress. The Independent Monitoring Team’s Community Engagement Team also
     gathers community input and feedback about the CPD’s and the City’s progress
     from a broad range of people and organizations. The Independent Monitoring
     Team will also develop and release public reports on its monitoring activities, such
     as this report. We will make all reports available on the Reports section of our
     website (https://cpdmonitoringteam.com/).

        How can I get involved?
     The Community Engagement Team works hard to connect with neighborhoods,
     community groups, religious organizations, activists, and residents across the city.
     The Community Engagement Team encourages community members to partici-
     pate in meetings and to promote these sessions through their networks. We reg-
     ularly update the Community Involvement section of the IMT website with details
     on upcoming community meetings and events. If your neighborhood or commu-
     nity group would like to invite a Community Engagement Team member to a meet-
     ing, please email us at contact@cpdmonitoringteam.com or fill out a feedback
     form on our website (https://cpdmonitoringteam.com/feedback-form/).

     Community members can provide input on CPD policy. When the CPD modifies or
     creates applicable policies, it will post them on its website so that community
     members can provide input: https://home.chicagopolice.org/.

     Community members can also do the following:

      Attend any of our public meetings listed on our website;
      Complete an input form on our website; and
      Reach out to the IMT or members of our Community Engagement Team (see
       below).


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        How can I contact the IMT?
     Community members can reach out to the entire IMT via email (contact@cpdmon-
     itoringteam.com) and also contact individual members of our Community Engage-
     ment Team:

      Sodiqa Williams (Sodiqa.Williams@cpdmonitoringteam.com),

      Joe Hoereth (Joe.Hoereth@cpdmonitoringteam.com), and

      Elena Quintana (Elena.Quitana@cpdmonitoringteam.com).

     Learn more at the Contact Us page on our website (https://cpdmonitoring-
     team.com/contact-us/).

     Community members can also use the Feedback Form on our website to provide
     input (https://cpdmonitoringteam.com/feedback-form/).




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     Compliance Activities and Assessments
     This section provides an overview of our compliance efforts for the first reporting
     period. We begin this section by re-emphasizing the priorities for the first report-
     ing period from our Monitoring Plan for Year One. We include an overview of the
     assessment process, the deadlines within the first reporting period, and the foun-
     dational paragraphs. We then provide summaries for the period, including sum-
     maries of our activities and the City’s achievements and challenges. Finally, we
     summarize the relevant compliance efforts for each topic area of the consent de-
     cree, provide a more specific analysis for each consent-decree paragraph with a
     deadline before September 2019, and if applicable, summarize efforts regarding
     foundational paragraphs that do not have specific deadlines.

     Assessing Compliance
     Overall, in accordance with ¶¶642, 661, and 662, the IMT assesses how the CPD
     and other City entities comply with each paragraph of the consent decree in three
     successive levels: (1) Preliminary compliance, (2) Secondary compliance, and (3)
     Full compliance. The CPD and other City entities will not be “in compliance” with
     a requirement until they reach Full compliance for the requisite length of time re-
     quired by the consent decree—either one or two years (¶714). We will assess the
     City’s compliance on all appropriate levels for the paragraphs presented in this re-
     port.

      Preliminary compliance refers principally to the development of acceptable
       policies and procedures that conform to best practices (as defined in ¶730)
       and to the incorporation of requirements into policy (¶642). The IMT will as-
       sess the development of policies, procedures, rules, and regulations reasona-
       bly designed to achieve compliance. To attain Preliminary compliance, the City
       must have policies and procedures designed to guide officers, City employees,
       supervisors, and managers in the performance of the tasks outlined in the con-
       sent decree. These policies and procedures must include appropriate enforce-
       ment and accountability mechanisms, reflect the consent decree’s require-
       ments, comply with best practices for effective policing policy, and demon-
       strate the City and its relevant entities’ ability to build effective training and
       compliance.

      Secondary compliance refers principally to the development and implementa-
       tion of acceptable and professional training strategies (¶642) that convey the
       changes in policies and procedures that were established in our determination
       of Preliminary compliance. Secondary compliance also refers to creating effec-
       tive supervisory, managerial, and executive practices designed to implement



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        policies and procedures as written (¶730). The IMT will assess documenta-
        tion—including reports, disciplinary records, remands to retraining, follow-up,
        and even revisions to policies, as necessary—to ensure that the policies devel-
        oped in the first stage of compliance are known to, understood by, and im-
        portant to line, supervisory, and managerial levels of the City and the CPD. The
        IMT will assess the existence of training, supervision, audit, and inspection pro-
        cedures and protocols designed to achieve, maintain, and monitor the perfor-
        mances required by the consent decree.

      Full compliance refers to adherence to policies within day-to-day operations
       (¶642). Full compliance requires that personnel, sergeants, lieutenants, cap-
       tains, command staff, and relevant City personnel routinely hold each other
       accountable for compliance. In other words, the City must “own” and enforce
       its policies and training. The IMT will assess whether the City’s day-to-day op-
       erations follow directives, policies, and training requirements. When measur-
       ing Full compliance, we will note whether supervisors notice, correct, and su-
       pervise officer behavior and whether appropriate corrections occur in the rou-
       tine business of the entity. In this phase, we will review whether compliance is
       reflected in routine business documents, demonstrating that reforms are be-
       coming institutionalized. In addition, all levels of the chain of command must
       ensure consistent and transparent compliance.

     The above-defined levels of compliance guide the IMT in its review of all para-
     graphs in the consent decree. The IMT understands, however, that the three com-
     pliance levels apply differently to various paragraphs. For example, a paragraph
     that requires a certain type of training does not necessarily require a policy com-
     ponent. In these instances, Preliminary compliance may refer to efforts to estab-
     lish the requisite training, rather than a policy. To reach and sustain Full compli-
     ance, however, the City may need to create a policy to ensure training is provided
     consistently, as appropriate.

     Throughout this report, we provide our compliance assessments and descriptions
     of the status of current compliance based on efforts within the first reporting pe-
     riod. Under the consent decree, the City, the CPD, and other relevant City entities
     are not in any level of compliance until we find that they are in compliance. As a
     result, a finding that the City is not in compliance with a requirement does not
     mean that the City has not made efforts—even significant efforts—to achieve
     compliance toward that requirement.




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     First Reporting Period Priorities
     We set out our priorities for the first reporting period in our Monitoring Plan for
     Year One.18 Specifically, we prioritized (1) the paragraphs in the consent decree
     with a deadline before September 1, 2019, and (2) foundational requirements
     agreed to by the Parties to the consent decree (the City and the OAG) and the IMT,
     regardless of whether the consent decree established a deadline for these para-
     graphs. Most of the paragraphs in these two categories contain requirements for
     the CPD. All deadlines are based on the consent decree. The City and the OAG
     agreed to these deadlines. The IMT did not create deadlines for the first reporting
     period, or any other reporting period.19

     These two categories of priorities, however, do not fully describe all our efforts in
     the first reporting period. While we monitored the compliance efforts that corre-
     sponded with the paragraphs above, some paragraph deadlines fall after the first
     reporting period but still require the City and its entities to take steps during the
     first reporting period.20 Likewise, some of our efforts are ongoing—regardless of
     deadlines—but are too premature to report here. The IMT has, for example, mon-
     itored the City’s efforts “to secure modifications” consistent with the consent de-
     cree during negotiations of relevant collective bargaining agreements (¶711).21



     18
          The IMT’s Monitoring Plan for Year One is publicly available on the IMT’s website. See Reports,
          IMT (May 30, 2019), https://cpdmonitoringteam.com/reports/. Given the varying workloads
          of separate departments and personnel, the City and its relevant entities may make compli-
          ance efforts earlier than anticipated. When appropriate, we may also assess those efforts in
          our monitoring reports earlier than anticipated.
     19
          In the City’s written comments, the City notes that some of the deadlines in this report were
          not in the consent decree and were created in the Monitoring Plan, citing ¶¶222–35 and 569.
          See Attachment B at 1. The Monitoring Plan, however, is based on the consent decree. In fact,
          the IMT did not, and cannot, “unilaterally modify the terms” of the consent decree (¶659).
          Some context on the development of the Monitoring Plan is helpful (¶652–55). During the
          development of the Monitoring Plan, the City and the OAG disagreed about the interpretation
          of a series of paragraphs—with the OAG asserting that many paragraphs had a deadline of the
          effective date of the consent decree (March 1, 2019). Through further discussions and negoti-
          ations, the IMT and the Parties agreed to exclude some of these paragraphs in the Monitoring
          Plan but to include others, such as ¶¶222–35 and 569 based on the OAG’s interpretation. The
          City may continue to disagree with the OAG’s interpretation of the consent decree, but just as
          the City agreed to the paragraphs and deadlines in the consent decree, the City agreed to the
          paragraphs and deadlines in the Monitoring Plan.
     20
          See, e.g., ¶¶107–10 (Crisis Intervention Team Officer Implementation Plan); ¶¶320(c) and
          323(c) (in-service training ramp up to 32 hours by the end of 2020); ¶¶365–66, 368 (staffing
          model to address span of control and unity of command); and ¶¶438–39 and 583–605 (devel-
          opment of a case management system and an Early Intervention System).
     21
          Consistent with ¶711, the IMT will seek to engage with the City’s collective bargaining teams
          in a manner that does not compromise the collective bargaining process or any party’s rights
          in that process.


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     Thus, the IMT and the Parties have been involved with compliance and monitoring
     efforts beyond those described in this report.

           Consent Decree Deadlines before September 2019
     The consent decree became effective on March 1, 2019. The Parties negotiated
     and the Court approved the deadlines in the consent decree. Compliance with
     those deadlines is important so that the public can begin to see progress in critical
     areas of the City’s and the CPD’s operations. Many of the deadlines in the consent
     decree are interrelated and designed to facilitate reform holistically. Several of the
     consent decree’s paragraphs also contain deadlines for the IMT.

     Specifically, more than 100 of the consent decree’s almost 800 paragraphs contain
     specific deadlines for the City and the CPD in Year One, including over 50 para-
     graphs with requirements within the first reporting period. Technically, the report-
     ing period spans from March 1, 2019, through August 31, 2019, but it also includes
     deadlines that ended before the consent decree went into effect (between Janu-
     ary 1, 2019, and March 1, 2019). For this reason, the first reporting period is longer
     than our future reporting periods will be.

     To be clear, what the City is required to achieve by certain deadlines vary by para-
     graph. For example, some paragraphs require the creation of a policy, others re-
     quire training, and others require another specific action. As explained in the pre-
     vious section, we assessed and will continue to assess each paragraph and corre-
     sponding deadline under the Preliminary, Secondary, and Full compliance levels
     (¶¶661, 662, and 642).

                Foundational Paragraphs without Deadlines
     Many paragraphs in the consent decree do not contain deadlines, but after con-
     sulting with the Parties, the IMT has begun to assess some paragraphs without
     deadlines in the first reporting period. These paragraphs involve foundational pol-
     icy and practice requirements that are fundamental to the success of the consent
     decree. The IMT is already in the process of assessing compliance with many of
     these paragraphs to the extent that these requirements overlap with the specific
     deadlines above. For many other paragraphs, the City and the CPD have made cor-
     responding policy, training, and operational changes within the last few years that
     warrant the IMT’s attention.

     While foundational paragraphs for Year One are spread across the consent decree,
     they are particularly evident in two sections: (1) Use of Force and (2) Accountabil-
     ity and Transparency. First, the Use of Force section requires the CPD and relevant
     City entities to develop policies and practices and provide appropriate training re-
     garding de-escalation, anti-retaliation, the reasonableness of force, deadly force,



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     fleeing subjects, vehicle operation, requests for medical aid, intervention against
     excessive force, chokeholds, and weapons policies. Since the City has already
     adopted policies regarding many of these subjects, we began our assessment in
     those areas.

     Second, the Accountability and Transparency section requires that, for example,
     the City make “best efforts” to comply with areas of the consent decree that are
     not directly under the control of the City or the CPD. Like the requirements in the
     Use of Force section, the Accountability and Transparency section requires the CPD
     and relevant City entities to develop policies, training and practices regarding com-
     plaints and corresponding investigations, record keeping, notifications, referrals,
     reports, and policy reforms. Since the City has also adopted policies regarding
     many of these areas, we began our assessment in those areas.

     The IMT’s Activities during the Reporting Period
     While most of this report addresses the City’s efforts to meet the consent decree’s
     requirements, the following subsection details the IMT’s activities since our ap-
     pointment on March 1, 2019, to the end of the reporting period, August 31, 2019.
     We summarize many of our efforts in Figure 6 below.

     Figure 6: IMT Activities (March 1, 2019, through August 31, 2019)




                                              18
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     To start, we completed the Prepare for Monitoring phase, as set out in our initial
     proposal.22 We convened our team for an initial meeting, orientation, and training
     on March 21–22, 2019, which included a full-day briefing at CPD Headquarters.

     We launched our website, www.cpdmonitoringteam.com, and established Inde-
     pendent Monitor Maggie Hickey’s Schiff Hardin office as our local office. The IMT
     also made several staffing changes to meet the needs of the consent decree. We
     have added subject matter experts and legal support staff. Chief Kathleen O’Toole,
     Ret., also joined our team as the Associate Monitor for Supervision and Officer
     Wellness and Support.

     We have worked with the City, the CPD, and the OAG to establish effective and
     efficient communications among all stakeholders including secure data and infor-
     mation sharing systems, feedback loops, regularly scheduled in-person meetings
     (¶668), and bi-weekly teleconferences among the working groups for each con-
     sent decree topic area. The City also sought, and the IMT provided, some technical
     assistance (¶656) during this reporting period as well. Notably, the IMT provided
     technical assistance to COPA.

     Within 90 days of our appointment by the Court, we produced a Monitoring Plan
     for Year One (¶652) and filed it with the Court on May 30, 2019. Next, we set about
     fulfilling our responsibilities within the timelines set by the consent decree. To as-
     sist us in fulfilling our responsibilities, we met with the CPD, COPA, the OIG, Police
     Board, and the OEMC; conducted seven formal site visits; observed over 70 hours
     of CPD and COPA training; and reviewed over 7,600 pages, as detailed in the chart
     above.23 Figure 7, below, summarizes our compliance with the consent decree’s
     deadlines for the IMT in the first reporting period.




     22
          Our initial proposal is available on the Chicago Police Consent Decree website. See Schiff Har-
          din-CNA Monitoring Team, City of Chicago Police Department Independent Monitoring Pro-
          posal, CHICAGO POLICE CONSENT DECREE (September 4, 2018), 20, available at http://chicagopo-
          liceconsentdecree.org/wp-content/uploads/2018/09/Schiff-Hardin-CNA-Proposal.pdf.
     23
          The OAG has engaged in much of the same work and provided separate feedback to the City
          and the CPD.


                                                     19
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     Figure 7: Consent Decree Deadlines for the IMT in the First Reporting Period
                                                                                                   Met or
    ¶s                 Requirement                   Deadline                  Deadlines           Missed
                   Review of CPD Policies             Various,             Corresponds with          Met
  627–637
                      and Procedures                  Ongoing               policy deadlines      (ongoing)
              Review of Implementation Plans          Various,           Corresponds with plan       Met
  638–641
                   and Training Materials             Ongoing            and training deadlines   (ongoing)
                    Compliance Reviews                Various,           Will occur during each      Met
  642–644
                       and Audits                     Ongoing              reporting period       (ongoing)
                                                      180 Days                                      Missed
  645–651           Community Surveys                                       August 28, 2019
                                                 (and every two years)                            (see below)
                   Monitoring Plan and                90 Days            May 30, 2019; draft by      Met
  652–655
                   Review Methodology              (and every year)         May 15, 2019          (ongoing)
                   Technical Assistance                                                              Met
    656                                               Ongoing                  Ongoing
                  and Recommendations                                                             (ongoing)
                  Coordination with the                                                              Met
    667                                               Ongoing                  Ongoing
                Office of Inspector General                                                       (ongoing)
                     Maintain Regular                                                                Met
    668                                               Ongoing                  Monthly
                  Contact with the Parties                                                        (ongoing)
                Monitor will Participate in                                                          Met
    669                                              Quarterly                 Quarterly
                Meetings with the Coalition                                                       (ongoing)
             Communication with the Parties,
                                                                                                     Met
  670–671          Collective Bargaining              Ongoing                  Ongoing
                                                                                                  (ongoing)
              Representatives, and the Public


     At the time of the filing this report with the Court, the community survey is not
     yet complete. In September 2019, we sent the survey questions to the Parties and
     to the Coalition for review.24 In October 2019, we engaged in discussions with the
     Parties regarding the survey methodology, and those discussions continue. We an-
     ticipate delivery of a complete survey report in early 2020, which we will make
     public (¶650). There are several reasons for this timeline:

      Early in the reporting period, the IMT learned that the Survey Research Labor-
       atory at the University of Illinois at Chicago (UIC) closed. This lab was the pro-
       posed partner, along with the Institute for Public and Civic Engagement at UIC,
       to conduct the community survey. Because the lab closed, we needed to iden-
       tify a new community survey organization (¶648), negotiate a contract with
       that organization, and negotiate regarding the survey methodology. All these
       factors delayed the implementation of the community survey.


     24
          See Memorandum of Agreement Between the Office of the Illinois Attorney General and the
          City of Chicago and Campbell v. City of Chicago Plaintiffs and Communities United v. City of
          Chicago Plaintiffs (March 20, 2018), available at http://chicagopoliceconsentdecree.org/wp-
          content/uploads/2019/05/Executed_MOA.pdf.


                                                    20
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      The IMT wanted to provide many opportunities for the Parties and the Coali-
       tion to review the survey methodology and questions. The IMT provided two
       opportunities for the parties and the Coalition to review the community survey
       methodology—an initial review of the content areas of the survey (¶649) and
       a subsequent review of the actual community survey questions. The IMT also
       provided a description of the survey methodology to the Parties and the Coa-
       lition for their review.

      The consent decree requires the IMT to “conduct reliable, representative, and
       comprehensive surveys of a broad cross section of members of the Chicago
       community” (¶645) covering several important topics, such as “perceptions of
       CPD’s services, trustworthiness, community engagement, effectiveness, re-
       sponsiveness, handling of misconduct complaints and investigations, and in-
       teractions with members of the Chicago community, including interactions
       with individuals who are people of color, LGBTQI, in crisis, youth, members of
       religious minorities, or have disabilities” (¶646). The University of Illinois at
       Chicago Institute for Policy and Civic Engagement (IPCE) will design and con-
       duct the surveys with the University of Chicago’s National Opinion Research
       Center (NORC). The community surveys will capture a representative sample
       of all Chicago residents and a representative sample of the Chicago residents
       who are stopped most frequently by Chicago Police. The first group will be a
       random sample of 1,000 Chicago residents, selected from a pool of several
       thousand randomly selected adults. The second group will be a random sample
       of 300 African American males ages 18–25, selected from a pool of over 1,000
       people. Some community members have expressed concerns about surveys in
       general and this methodology in particular. We acknowledge that surveys pose
       challenges regarding response rates, but we understand the requirements of
       these paragraphs and have crafted our methodology with those challenges in
       mind.

      In addition, during the off years of the biennial community surveys, the IMT
       will conduct separate studies that target specific population groups mentioned
       in the decree, including LGBTQI, in-crisis, youth, members of religious minori-
       ties, and people with disabilities.25

          The IMT’s Community Engagement Team Activities
     The Community Engagement Team is a critical part of the IMT. Our Community
     Engagement Team embodies our collaborative approach to this monitoring work.
     The Community Engagement Team is comprised of experienced Chicago commu-
     nity members, experts in police-community relations, lawyers, and academic



     25
          See ¶¶37, 42, 45, 74, 393, 646, 765, and 799.


                                                    21
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     scholars. These members work together to meaningfully engage Chicago’s com-
     munities and ensure their participation throughout the monitoring process. The
     Community Engagement Team also works closely with the Monitor, Deputy Moni-
     tors, and Associate Monitors to assess the community component of compliance
     with the consent decree.

     The Community Engagement Team plays a critical role in monitoring levels of trust
     and sentiment among the stakeholders to the consent decree. Its work is im-
     portant to create sustainable change at the City and the CPD and to measure com-
     pliance with specific policy, training, and procedural changes required by the con-
     sent decree. In its 2017 report, the DOJ found that the impacts of the “CPD’s pat-
     tern or practice of unreasonable force fall heaviest on predominantly black and
     Latino neighborhoods.”26 The DOJ also found that people in many neighborhoods
     in Chicago lack confidence that “their police force cares about them and has not
     abandoned them, regardless of where they live or the color of their skin.”27

     The City and the CPD cannot function effectively when the City and the CPD lack
     trust from the communities they serve. Effective policing will require both proce-
     dural and cultural change and improved relationships between the City and the
     CPD and the communities they serve. The Community Engagement Team encour-
     ages improved relationships based on respect, trust, and partnership. These rela-
     tionships will be strengthened by transparency and accountability.

     The IMT’s Community Engagement Team performs two key tasks regarding the
     consent decree monitoring process: (1) gathering input from Chicago residents
     about their concerns about CPD policies and practices and (2) providing infor-
     mation to the Chicago community regarding the IMT’s activities and findings.

     We introduced the Community Engagement Team at several meetings throughout
     the Chicago, including meetings with the Coalition, meetings with community-
     based organizations, and at CPD beat meetings. We also convened quarterly com-
     munity meetings to explain the consent decree and the IMT’s role (¶670), which
     were organized by our Community Engagement Team and led by the Independent
     Monitor Maggie Hickey. We held the first meeting in Englewood in June and the
     second meeting in Austin in September.

     In addition to gathering input regularly through in-person interactions, the IMT
     took steps to conduct its first community survey (¶¶645–46). During this reporting



     26
          DOJ Civil Rights Division and United States Attorney’s Office Northern District of Illinois, Inves-
          tigation of Chicago Police Department (January 13, 2017) at 4, available at http://chicagopo-
          liceconsentdecree.org/wp-content/uploads/2018/01/DOJ-INVESTIGATION-OF-CHICAGO-PO-
          LICE-DEPT-REPORT.pdf.
     27
          Id. at 15.


                                                       22
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     period, the IMT negotiated a survey research agreement with the National Opin-
     ion Research Center (NORC) at the University of Chicago to conduct the survey and
     sought comments from the Parties and the Coalition on the survey methodology
     and the survey questions. We summarize many of the Community Engagement
     Team’s efforts in Figure 8 below.

     Figure 8: IMT Community Engagement Efforts




                                            23
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     The City of Chicago’s Achievements and Challenges
     During this reporting period, the City, its relevant entities, the OAG, and the IMT
     began to lay a foundation to prepare for this long-term monitoring project. We
     appreciate that the City and the CPD have assigned most of the administrative
     tasks required by the consent decree to appropriate units and individuals. For ex-
     ample, the City’s Office of the Corporation Counsel, along with the CPD’s Offices
     of Reform Management, Legal Affairs, and Research and Development (¶¶677–
     78) have been fully engaged in the monitoring process since the IMT began its
     work on March 1, 2019. The City and the CPD have established regular channels of
     communication with the IMT and the OAG; have engaged in dialogue, problem
     solving, and brainstorming about requirements and challenges regarding the par-
     agraphs of the consent decree; and have devoted substantial time getting the pro-
     ject off to a productive start. The CPD’s Office of Reform Management, for exam-
     ple, facilitates the IMT’s access to people and data by organizing introductions,
     presentations, meetings, weekly calls, site visits, and requests for data and rec-
     ords.

     Overall, this monitoring process is progressing in ways that the IMT predicted. As
     we are still very much at the beginning of this long-term project, we continue to
     view it as a journey and stand ready to lean into curves in the road ahead.28 As we
     learn more about the City and the CPD’s operations, we will encourage connecting
     and reconciling policies and concepts across entities and departments. We empha-
     size, for example, the importance of consistency between the CPD’s Bureau of In-
     ternal Affairs and COPA’s polices on investigations of officer-involved shootings, a
     critical facet of the City’s accountability structure.

     As demonstrated in Figure 9 below, the CPD did not meet most of the deadlines
     and compliance obligations in the first reporting period. Figure 9 shows that, of all
     the consent-decree paragraphs monitored in this first reporting period (67 total),29
     we found that the City reached Preliminary compliance related to 15 paragraphs
     and Secondary compliance for one paragraph. No paragraph achieved Full compli-
     ance, which was to be expected during this early phase of the project. Readers of
     this report should understand that, by design, at the outset of the consent decree,
     the City, the CPD, and the relevant City entities were not in compliance with any
     paragraphs. While attaining Preliminary compliance for a small number of para-
     graphs may seem like little progress has been made, if similar progress is made
     during each subsequent reporting period, the City will make substantial progress
     toward fulfilling consent-decree requirements.


     28
          In accordance with ¶680, the City provided its assessment of its progress in its Semiannual
          Status Report. See The City of Chicago’s Semiannual Status Report (September 3, 2019).
     29
          In this report we address 70 paragraphs. The requirements in three of the paragraphs (¶¶169,
          425, and 563) are not applicable for compliance assessment in the first reporting period.


                                                    24
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     Figure 9:                 Compliance Status at the End of the Reporting Period (August 31, 2019)
                             Consent Decree Paragraphs with Requirements in the Reporting Period: 67

      Paragraphs with Requirements in Preliminary Compliance                (15)
      Paragraphs with Requirements in Secondary Compliance            (1)
      Paragraphs with Requirements in Full Compliance           (0)
      Paragraphs with Requirements that are Not in Compliance                                  (52)
      (including under assessment)


     Paragraph 661 requires us to summarize the “principal challenges or concerns re-
     lated to the City’s achieving full and effective compliance with this Agreement,”
     which we provide below. Independent of this requirement, we believe it is appro-
     priate to present an accurate assessment of the principal challenges facing the City
     and its relevant entities—both expected and unexpected. We do not discuss these
     challenges to provide excuses or undue criticism. Instead, we identified various
     hurdles to compliance for the City, its relevant entities, the OAG, the IMT, and the
     community, to identify solutions, provide recommendations, plan for improve-
     ments, and ultimately, help the City reach compliance.

     With that in mind, we believe that the following interrelated list reflects the prin-
     cipal challenges facing the City (presented in the order that is easiest to follow,
     rather than in the order of the magnitude of each challenge):

      Delayed Consent Decree Effective Date

      Administrative and Onboarding Challenges

      Staffing and Resource Shortages

      Data Challenges

      Record Production Challenges

      Policy Review Challenges

      Community Engagement Challenges

      Incorporating the IMT’s Expertise

     As explained further below, many of these challenges are, to some degree, ongo-
     ing. As a result, the City, its relevant entities, and when applicable, the IMT and the
     OAG must continue to work through methods of solving or otherwise mitigating
     these issues.




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        Delayed Consent Decree Effective Date
     There were several logistical challenges during the first reporting period, which
     began with consent decree deadlines that were due even before the consent de-
     cree took effect. This situation, in turn, required time for the City, the CPD, and
     other relevant entities to adapt legacy processes to the reviews required by the
     consent decree to achieve best practices (¶730).

     The consent decree requires that the City and its relevant entities implement re-
     form over time. Some actions were due before the consent decree’s effective date,
     others were required immediately, and most are intended to be met over the
     course of longer periods, such as those with 60-, 90-, 180-, or 365-day deadlines.
     In addition to assessing and reporting on the City’s and the CPD’s compliance with
     the substantive paragraphs of the consent decree, the IMT also tracks whether the
     deadlines were met. As this is the IMT’s first report (IMR-1), we assessed compli-
     ance with paragraphs with deadlines of fewer than 180 days.

     In general, we have concerns about the City’s, the CPD’s, and other relevant enti-
     ties’ abilities to meet the deadlines set forth in the consent decree. As referenced
     above, the IMT, the OAG, the City, and the City’s entities have been challenged by
     the start date of the consent decree and its retroactive deadlines. As a result, there
     have been significant struggles for the City to meet deadlines and to create the
     necessary effective and sustainable changes in policies, training, and practices. As
     discussed further below, in their attempts to meet these deadlines, the City, the
     CPD, and its other relevant entities attempted to develop compliant policies, cur-
     ricula, and plans without input from the IMT or the OAG. This, in turn, required
     the IMT and the OAG to review policies for the first time after completion, without
     the consultation period described in the consent decree (¶627). Naturally, this re-
     sulted in an extended review period to ensure that the CPD created lasting change
     and avoided having to reissue and retrain CPD members on non-compliant poli-
     cies. In the future, and for the long run, if the City and the CPD collaborate at the
     outset with the IMT, that will facilitate compliance with the consent decree. We
     look forward to working with the City to continue improving its collaboration with
     the IMT and the OAG to make more efficient progress toward compliance.

        Administrative and Onboarding Challenges
     Our start-up activities were time consuming, but we are confident that time was
     well spent in developing the internal and collaborative procedures that will guide
     us for the next few years.

     These efforts are not minimal. As referenced above, to reach compliance the City
     and the CPD must provide the IMT with sufficient evidence that reforms are being
     made through appropriate procedures that will effectuate timely and sustainable



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     compliance. As explained further below, the consent decree requires the CPD to
     include the IMT and the OAG meaningfully in the policy review and approval pro-
     cess. This requirement, in turn, meant that the CPD had to revamp the way that it
     has historically drafted policies. That process requires additional time and effort
     to appropriately research, address, and present each reform.

     Likewise, the City, the CPD, the OAG, and the IMT have worked to set up various
     methods of securely sharing compliance materials. In total, the City, the OAG, and
     the City use over seven programs to share records and data. Each of these pro-
     grams has a different learning curve.

     In many ways, these on-boarding efforts continue. There have been struggles to
     provide the IMT access to necessary City networks. While the City, the OAG, and
     the IMT were able to make progress toward the end of the reporting period, these
     efforts are ongoing, and the IMT continues to investigate ways to improve ease of
     access and efficiency.

        Staffing and Resource Shortages
     As with all entities and organizations, City and CPD resources are limited. As refer-
     enced above, the City and the CPD have already added many resources to their
     compliance efforts, including creating the Office of Reform Management. For ex-
     ample, the CPD acquired a platform called “Tableau” to help organize, track, and
     present relevant data, both internally and publicly.

     While the IMT continues to assess compliance in a growing number of areas, we
     believe that we have already identified several areas where more resources would
     improve efficiency and compliance efforts. The compliance efforts of several CPD
     departments, for example, would benefit from additional staffing:

      The Office of Legal Affairs and the Research and Development Department.
       The Office of Legal Affairs and the Research and Development Department
       must frequently work with the IMT to provide compliance documents, policies,
       and efforts. The Office of Legal Affairs, for example, reviews every document
       that the IMT receives, and the Research and Development Department must
       address all the IMT and the OAG’s comments on existing, revised, and new
       policies. As a result, despite productive interactions with the personnel in
       these departments and the quality of their work, high-priority items may be-
       come bottlenecked with limited personnel.

      Training Academy. The CPD’s Training Academy is, in many ways, at the heart
       of many consent-decree requirements. The CPD is among the largest police
       departments in the country, and training personnel requires a massive effort.
       Our discussions with CPD personnel regarding training efforts, records, and
       plans strongly suggest the need for additional support in the Training Academy.


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      Crisis Intervention. While many of the requirements regarding Crisis Interven-
       tion do not apply until later reporting periods, the consent decree requires sig-
       nificant efforts regarding the Crisis Intervention Team in the immediate future.
       Several of our meetings and site visits suggest that the Crisis Intervention Team
       would benefit from additional staff.

      The Force Review Unit. As discussed further in the Use of Force section below,
       the Force Review Unit is critical to several consent-decree requirements. Our
       early assessments suggest that the workload of this department is greater than
       the department can currently maintain effectively.

     In addition to the specific personnel needs discussed above, many of the CPD’s
     compliance efforts would benefit from additional resources. We heard from the
     community that there are difficulties navigating the CPD’s website. Having worked
     with the website extensively during the first reporting period, we agree. Policies,
     for example, can be difficult to locate via the search engine, and searching for key
     words can yield unexpected results. Because the consent decree—and effective
     policing—require community involvement, we believe that dedicating sufficient
     resources to ensure the CPD’s website is user friendly would be worthwhile.

        Data Challenges
     The IMT needs complete and verifiable data to assess compliance across all areas
     of the consent decree. To effectively identify and resolve existing and upcoming
     challenges, data must be maintained, tracked, and analyzed. For this reason, the
     City, the CPD, and the OAG engaged in data discussions early and often. Based on
     these discussions, there is universal agreement that the CPD has a long way to go
     to meet the data requirements of the consent decree.

     During this initial reporting period, the IMT learned of serious challenges in this
     area at the CPD. The organization maintains and manages data from over 100 dif-
     ferent data systems and databases, which have developed and grown in complex-
     ity over time. The IMT has, for example, made several data requests, which have
     required the CPD to take on significant resources and hours to build systems that
     can organize and internally verify that data. At this stage, data management, data
     utilization, and data reporting at the CPD is a labor-intensive, complex, and some-
     times frustrating process.

     Furthermore, while there have been lessons learned from data usage, the CPD
     does not have a regular system for auditing and validating its data systems or cor-
     recting and upgrading those systems based on regular audits. That is not to say
     that the CPD is not maintaining, assessing, and correcting data system problems
     on a regular basis; it is just not doing so based on a regular audit process. This
     situation is further complicated and becomes additionally burdensome by the re-
     search, analysis, and data collection demands created by the consent decree.


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     In short, the CPD does not currently have the data resources and systems in place
     to meet all the demands of the consent decree. Toward the end of this reporting
     period, the IMT became aware that the CPD is reorganizing several facets of its
     data management systems. We hope that the reorganization leads to improved
     processes. The IMT will continue to work with the City and the CPD to ensure that
     these efforts continue.

          Record Production Challenges
     As referenced above, the IMT needs to see evidence of the City’s and the CPD’s
     compliance efforts. The record production process required significant efforts in
     the first reporting period. Early in the process, for example, there was not suffi-
     cient overlap between the records that the IMT requested and those the City pro-
     vided. Likewise, there was concern at the City and the CPD that the work to meet
     the record requests would, with limited resources, take away from the compliance
     efforts. For these and other reasons, there was significant delay between the first
     sets of requests and the City’s responsive productions.

     The IMT appreciates how difficult it is to accurately interpret requests and identify
     and gather records from throughout the entities, their departments, and Chicago.
     We also understand the amount of work involved in reviewing records for privi-
     lege, organizing those records in a clear and understandable structure, and provid-
     ing those records in various formats.

     There were significant challenges in the first reporting period that further affected
     the IMT’s efforts to assess compliance. In total, the City provided the IMT with
     over 10,600 records: over 10,000 documents that the City provided to the OAG
     during negotiations (to establish a baseline) and over 600 documents for the first
     reporting period. Many of the latter set of documents were provided to the IMT
     within the last two weeks of the reporting period (over 500 documents) with a
     significant amount of those records coming on Friday, August 30 (over 190 docu-
     ments).

     To be clear, we would prefer that the City provide the documents on the last day
     of the reporting period than not provide the documents at all. On the other hand,
     the IMT cannot fully assess and report on records when the City provides a signif-
     icant amount of records on the last day. Even if the IMT could fully address all those
     records and write this report within 30 days, meaningful monitoring efforts fre-
     quently require the IMT to, after reviewing records, follow-up with relevant ques-
     tions, concerns, and additional requests for relevant records.30


     30
          In the City’s written comments, “the City respectfully submits that it was reasonable for the
          City to utilize all the allotted time in the monitoring period to provide compliance documents
          and that it should not be penalized this monitoring period for providing records on the final


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     Since the beginning of the reporting period, the IMT, the OAG, and the City have
     regularly communicated regarding requests and productions. The City and the CPD
     have also assured the IMT and the OAG that they have made internal changes to
     make the process more efficient, and we note that we have seen significant im-
     provement in the City’s response times and the clarity of those responses. We look
     forward to creating additional efficiencies as members of the IMT and the corre-
     sponding personnel at the City’s relevant entities continue to work together.

          Policy and Plan Review Challenges
                632. The Parties and the Monitor will work collaboratively and
                cooperatively to establish and adhere to a schedule that ensures
                policies and procedures required by this Agreement are reviewed
                adequately, efficiently, and expeditiously.

     The City and the CPD have appropriately focused on developing optimal policies
     and plans during this reporting period. The IMT believes that strong policing poli-
     cies provide the foundation for implementing and sustaining best practices (as de-
     fined in ¶730) with transparency and accountability. We are encouraged by the
     City, the CPD, and the other relevant entities’ willingness to collaborate with the
     IMT regarding their policies.

     Because of the significant policy review efforts from the City, the CPD, other rele-
     vant City entities, and the OAG, it is important to clarify how this process works.
     The consent decree outlines the policy review process in ¶¶626–37 and the plan-
     review process in ¶¶638-41.31 For policy review, for example, the City and the CPD
     must consult with the IMT and the OAG to develop the necessary policy or revi-
     sion. The City and the CPD must then provide the IMT with the new or revised
     policy at least 30 days before the policy is scheduled to go into effect (¶¶627–28).
     The IMT and the OAG then have 30 days to comment, with a possible 15-day ex-
     tension (¶¶627–28). The City, the CPD, the OAG, and the IMT then have at least
     30 days to resolve comments. If we are unable to come to a timely agreement, an
     entity may submit a formal objection, which triggers a “workout period” (¶630).
     The entities then have an additional 30 days to resolve the issue before one of the
     Parties brings the issue to Judge Dow to resolve (¶630). On the other hand, when

          day of the monitoring period.” See Attachment B at 1. The IMT agrees that the City should use
          all the time in a reporting period to meet the demands of the consent decree. The IMT does
          not note that we received over 500 documents within the last two weeks of the reporting
          period and over 190 documents on the last day to penalize the City or to imply that the City
          did so in bad faith. Instead, we include this fact in the report because it reflects the challenges
          the City faced in the first reporting period, which in turn, affected the IMT’s ability to assess
          compliance and write IMR-1 within 30 days (¶663).
     31
          In many respects, the plan-review process tracks the policy review process, but is limited to an
          enumerated set of plans and does not specify a public comment period (¶¶638-41). Some
          paragraphs specify unique or additional review criteria. See, e.g., ¶40.


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         the IMT and the OAG provide a “no objection” notice, then when applicable, the
         City and the CPD will post the new or revised policy for public comment for a min-
         imum of 15 days (¶633). The entities will then review and consider the public com-
         ments and agree to any changes before the City and the CPD finalize the policy
         (¶633).

         The first policy that the City provided, for example, was the Command Channel
         Review Special Order (S08-01-03, formerly Complaint Summary Reporting and Re-
         view Procedures), which it provided to the IMT on May 8, 2019. This was the first
         time that the OAG or the IMT had viewed the revised policy, which meant that the
         City, the CPD, the OAG, and the IMT did not benefit from a consultation period. As
         a result, the IMT and the OAG needed the entire review period to review the policy
         and request corresponding records. Since the IMT did not receive those records
         before the end of the review period, the IMT requested an extension and provided
         its first set of comments on June 21, 2019. The City and the CPD reviewed the
         IMT’s and the OAG’s comments, made revisions, and submitted an updated draft
         on July 19, 2019. The IMT and the OAG then provided feedback again. This process
         continued through four versions, through the end of the reporting period. The IMT
         provided its “no objection” letter on September 27, 2019, at which point the CPD
         posted the policy for public comment from October 8 through October 23, 2019.

         Overall, during this reporting period, the IMT, the CPD, and the OAG spent signifi-
         cant time working through policies and procedures. The City submitted over 70
         records for review and comment. As with the record productions, the City pro-
         vided some of these records at or near the end of the reporting period on August
         30, 2019. The Parties and the IMT continue to work together on many of these
         records and have not yet needed to utilize the “workout period.” While none of
         these records were finalized before the end of the reporting period—a few of them
         were finalized afterwards—at the time of this report, the IMT has provided written
         comments on every requisite record the City provided within the reporting period.
         Likewise, the IMT has also provided the City with several “no objection” notices
         since the end of the reporting period.32 Figure 10 below details the policies, plans,
         and curricula that the City and the CPD submitted to the IMT during this reporting
         period.

          Figure 10:        Policies, Plans, and Curricula Received and Reviewed by the IMT
                                                        From May 1, 2019, through August 31
#     Entity: Record (type of policy)
1     CPD: Complaint Summary Reporting and Review Procedures (S08-01-03)
2     CPD: Firearm Pointing Incident Review (SOP #2019-001)
3     CPD: Curriculum Field Observation Day - District Station Supervisor
4     CPD: Curriculum Field Observation Day - Field Sergeant

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              ¶¶626–44.


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          Figure 10:         Policies, Plans, and Curricula Received and Reviewed by the IMT
                                                         From May 1, 2019, through August 31
#     Entity: Record (type of policy)
5     CPD: Curriculum Field Observation Day - Watch Operations Lieutenant
6     CPD: Bureau of Patrol Field Training Observation Day (S)
7     CPD: Education and Training Division Pre-Service Supervisory Training (S)
8     COPA: Training and Professional Development Department In-Service Training Plan
      CPD: eLearning Training on the Requirements of the Consent Decree, Together with its Goals,
9
      Implementation Process, and Timelines
10    CPD: Needs Assessment for 2020 Training Plan
11    CPD: Weapons Discipline Training Bulletin
12    CPD: Department Approved Weapons and Ammunition (U04-02)
13    CPD: Control Devices and Instruments (U04-02-02)
14    CPD: Use of Force (G03-02)
15    CPD: Force Options (G03-02-01)
16    CPD: Incidents Requiring the Completion of a Tactical Response Report (G03-02-02)
17    CPD: Firearms Discharge Incidents Involving Department Members (G03-02-03)
18    CPD: Taser Use Incidents (G03-02-04)
19    CPD: Oleoresin Capsicum Devices and Other Chemical Agent Use Incidents (G03-02-05)
20    CPD: Canine Use Incidents (G03-02-06)
21    CPD: Baton Use Incidents (G03-02-07)
22    CPD: Department Review of Use of Force (G03-02-08)
23    CPD: Tactical Response Report Form
24    CPD: Tactical Response Report - Investigation Form
25    CPD: Bureau of Internal Affairs (SOPs)
26    CPD: Officer-Involved Death Investigations (G03-06)
27    CPD: Firearms Discharge/Officer-Involved Death Incident, Information Card
28    CPD: Human Rights and Human Resources (G02-01)
29    CPD: Prohibition Regarding Racial Profiling and Other Bias Based Policing (G02-04)
30    CPD: Use of Social Media Outlets (G09-01-06)
31    CPD: Foot Pursuit Training Bulletin
32    COPA: Civil-Criminal Complaint Review (1.3.8)
33    COPA: Transparency Initiatives (2.1.2)
34    COPA: Fact Gathering (3.1.2)
35    COPA: Affidavits & Affidavit Overrides (3.1.4)
36    COPA: Form of COPA Complaint (3.1.4(B))
37    COPA: Pattern or Practice Investigations (3.1.5)
38    COPA: Employee Use of CLEAR and Column CMS Systems (3.1.6)
39    COPA: Ballistic Vest (3.1.7)
40    COPA: Vests and Hats (3.1.8)
41    COPA: Investigative File Maintenance (3.1.9)
42    COPA: Major Incident Responses (3.1.10)



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          Figure 10:        Policies, Plans, and Curricula Received and Reviewed by the IMT
                                                        From May 1, 2019, through August 31
#     Entity: Record (type of policy)
43    COPA: Recommendations Regarding Officer Powers (3.2.2)
44    COPA: Quality Assurance (3.3.1)
45    COPA: Timeliness Benchmarks (3.3.2)
46    COPA: Superintendent Non-Concurrence (3.4.1)
47    COPA: Medical Records & HIPAA Compliance (3.4.2)
48    COPA: Police and Community Relations Improvement (PCRIA) Compliance (3.4.3)
49    COPA: Compelled Statements (3.4.4)
50    COPA: Appx. 3.1.6(A) Employee Agreement Regarding Central Management Systems
51    COPA: Appx. 3.2.2(A) Procedures for Recommending Limit on Officer Duties or Powers
52    COPA: Appx. 3.2.2(B) Request for Modification of Department Member Duties/Police Powers
53    COPA: Appendix 3.3.2 Timeliness Benchmarks
54    COPA: Training and Disciplinary Records (3.1.2(a))
55    COPA: Interviews (3.1.2(b))
56    COPA: Final Summary Report (3.1.3)
57    COPA: Disciplinary Recommendations (3.2.1)
58    COPA: Appendix VI.D Request for Extension of Investigation
59    CPD: Community Input on Policy Document
60    Police Board: Member Selection Criteria
61    Inspector General: Public Safety Section Policies Manual
62    City: Method of Selecting Chief Administrator of COPA
63    Police Board: Training Plan
64    CPD: School Resource Officers and Investigations at Chicago Public Schools (S04-01-02)
65,   CPD: Bureau of Patrol Notice Regarding Mandatory Training for School Liaison Sergeants and
66    School Resource Officers (#19-0123.01 & 19-0159)
67    CPD: Non-Bid Duty Assignment as a Student Resource Officer Notice of Vacancy33
68    CPD: Memorandum of Understanding with Chicago Public Schools
69    CPD: Bureau of Internal Affairs Training Plan
70    Police Board: Community Input Policy
71    Police Board: Training Policy
72    Police Board: Hearing Officer Criteria
73    CPD: Supervisor Consent Decree Briefing
 Key: General Order (G); Special Order (S); Standard Operating Procedure (SOP); Uniform and Property (U)




         33
              “Student Resource Officer” and “School Resource Officer” are often used interchangeably to
              refer to the same position. In this report, we consistently refer to this position as “School Re-
              source officer.”


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     This chart is not comprehensive of all policies, plans, curricula, or other records
     that the City has submitted to the IMT during this reporting period. We only in-
     cluded records that the IMT provided comments for, either as required by the con-
     sent decree or for technical assistance.

     Given the delayed consent decree effective date and difficulties in addressing how
     the City and the CPD could best include the IMT and the OAG in the policy devel-
     opment process, the IMT and the OAG did not have the opportunity to consult
     with the City or the CPD on most of the draft policies. Instead, the IMT and the
     OAG frequently saw revisions or new policies for the first time when the City pro-
     vided them for review 30 days before the implementation date. As a result, the
     IMT needed to use more of those 30 days—and in some cases, also 15-day exten-
     sions—to accurately assess these policies with applicable best practices and rec-
     ords (¶¶617–28).

     The IMT believes that this process would be more efficient if there were more con-
     sultation during the development process. The City and the OAG also agree that
     this process could be improved and better defined. Based on conflicting language
     in the consent decree, the Parties, for example, disagreed on whether relevant City
     entities other than the CPD were required to follow the same review process. As a
     result, the Parties and the IMT met with Judge Dow and have agreed to work to-
     gether to include the other relevant City entities and improve the efficiency of this
     process for developing policies, procedures, training, and plans that comply with
     the consent decree. We look forward to continuing to work with the Parties to
     reach a mutually beneficial solution.

          Community Engagement Challenges
     We have concerns about the CPD’s efforts to engage the community during the
     first reporting period. For example, we raised concerns about the CPD’s commu-
     nity engagement during its policy development processes. We recommended that
     the CPD establish regular procedures for garnering community member and com-
     munity stakeholder input early in the policy development process. Currently, op-
     portunities for community input occur late in the policy development process dur-
     ing public comment phases. Allowing community input at the later stages of the
     policy development process effectively disenfranchises Chicago community mem-
     bers and prevents them from providing input and comments in the formative
     stages of the policy development process.34 In response to this suggestion, the CPD
     developed a new process that allows for community input earlier on in the policy
     development process. The IMT reviewed and commented on the documentation

     34
          As referenced above, and related to the CPD’s overall data organization challenges, public-
          facing policies are difficult to locate on the CPD’s website (http://directives.chicagopo-
          lice.org/directives/). Having accessible policies is important to the CPD’s community engage-
          ment and transparency efforts.


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     provided on this new process and continues to work with CPD on its community
     engagement processes.

     Relatedly, throughout this reporting period the IMT heard feedback from a wide
     variety of community members about the CPD’s efforts regarding community en-
     gagement generally.35 Some expressed concern about inconsistencies on the CPD’s
     website regarding times, dates, and locations of beat meetings; others expressed
     concern about the lack of neutral meeting facilitators at CPD-sponsored meetings.
     We heard the need for the CPD to look at other approaches to increase community
     representation at CPD-sponsored meetings and events, with some saying that it is
     a “significant problem.” Community members suggested that CPD officers could
     meaningfully connect with the community by attending meetings that the CPD is
     not organizing or hosting.

          Incorporating the Independent Monitoring Team’s Expertise
     Finally, the IMT recognizes that a significant challenge for the City, the CPD, and
     other relevant entities is to provide the IMT with sufficient proof of compliance.
     As we have mentioned throughout this report, we believe in the experience and
     expertise of our team members. We believe that they add significant insight to this
     process, and the City and its relevant entities did not anticipate some of our feed-
     back and methodologies. To some extent, this is a sign that things are working as
     they should, and the City and the CPD are now gaining a new perspective on re-
     form.

     We believe that the City will more effectively address these challenges as the IMT
     further develops its working relationships across the City, the CPD, and other rele-
     vant entities. Early efforts have been largely administrative and document-based.
     Many of these efforts are necessary and track the progressive stages of the con-
     sent decree. But as we progress through the monitoring process, the IMT must
     also assess the City’s demonstrated ability to implement changes to meet consent-
     decree requirements, which requires a demonstrated commitment and involve-
     ment from City and CPD leadership. Overall, the IMT appreciates the efforts of the
     City and the CPD, and we look forward to having more dialogue with the CPD’s
     leadership.




     35
          For example, the ACLU—on behalf of Communities United, who are part of the Coalition—
          provided the City, the CPD, the OAG, and the IMT with a detailed memorandum raising these
          concerns regarding community engagement.


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     I. Community Policing
                                  Guiding Principles
     The IMT assessed compliance with applicable Community Policing paragraphs in
     accordance with the consent decree’s “Guiding Principles.” These principles “are
     intended to provide the Court, the Monitor, and the public with the context for the
     subsequent substantive requirements” and “the overall goals” (¶757):

              8. Strong community partnerships and frequent positive interac-
              tions between police and members of the public make policing
              safer and more effective, and increase public confidence in law
              enforcement. Moreover, these partnerships allow police to effec-
              tively engage with the public in problem-solving techniques,
              which include the proactive identification and analysis of issues
              in order to develop solutions and evaluate outcomes.

              9. To build and promote public trust and confidence in CPD and
              ensure constitutional and effective policing, officer and public
              safety, and sustainability of reforms, the City and CPD will inte-
              grate a community policing philosophy into CPD operations that
              promotes organizational strategies that support the systematic
              use of community partnerships and problem-solving techniques.

              10. CPD will ensure that its community policing philosophy is a
              core component of its provision of police services, crime reduc-
              tion strategies and tactics, training, management, resource de-
              ployment, and accountability systems. All CPD members will be
              responsible for furthering this philosophy and employing the
              principles of community policing, which include trust and legiti-
              macy; community engagement; community partnerships; prob-
              lem-solving; and the collaboration of CPD, City agencies, and
              members of the community to promote public safety.

              11. The City and CPD are committed to exploring diversion pro-
              grams, resources, and alternatives to arrest.




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     Summary of Compliance Assessments
     In this first reporting period, the IMT assessed the CPD’s compliance with five par-
     agraphs of the consent decree within the Community Policing topic area (¶¶13,
     18, 39, 40, and 44).

     The CPD met its deadlines for three of the four paragraphs with deadlines (¶¶18,
     39*, and 44*), meaning that it missed its deadline for ¶13.36 The IMT determined
     that the CPD achieved Preliminary compliance for three of the five paragraphs
     (¶¶13, 18, and 44) and did not achieve Secondary or Full compliance for any of the
     five paragraphs.

     During this reporting period, the CPD shared project plans, draft documents, and
     notes from various community engagement activities. Our analysis below details
     how the CPD’s activities comply or do not comply with the consent decree and the
     progress that the CPD is making toward achieving compliance.

     In short, the City and the CPD worked to meet the consent decree requirements
     for community policing during this reporting period. The CPD made significant ef-
     forts toward plans for implementing the Community Policing Advisory Panel’s
     (CPAP’s) recommendations and reconsidering the qualifications, roles, and re-
     sponsibilities of School Resource Officers (SROs).




     36
          We have placed asterisks on ¶¶39 and 44, because the deadlines are technically outside of the
          first reporting period. Specifically, ¶¶39 and 44 have September 3, 2019 deadlines, based on
          the first day of school for the Chicago Public Schools.


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                             Community Policing: ¶13
              13. In 2017, the Superintendent accepted CPAP’s recommenda-
              tions, and CPD began to implement some of the recommenda-
              tions, namely, the creation of the Office of Community Policing,
              which reports directly to the Superintendent and is responsible
              for overseeing the implementation of CPD’s community policing
              efforts. CPD will, within 90 days of the Effective Date, develop a
              plan, including a timeline, for implementing CPAP’s recommen-
              dations, consistent with the requirements set forth in this Agree-
              ment.

     Compliance Progress             (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                    May 30, 2019                        Met      ✔ Missed

      Preliminary:                 In Compliance
      Secondary:                   Not in Compliance
      Full:                        Not in Compliance

     The CPD did not meet the 90-day deadline to develop a plan to implement the
     CPAP recommendations as required by this paragraph, but the CPD developed the
     plan before the end of the reporting period. The IMT reviewed the recommenda-
     tions from the CPAP report and the CPD project plan for implementing CPAP rec-
     ommendations. The IMT also participated in CPD briefings covering CPAP imple-
     mentation planning and execution.

     After the May 30 deadline, the CPD developed a detailed task-driven plan including
     a project timeline in Excel format, and submitted it to the IMT for review. The plan
     identifies nearly 50 different projects, 50 milestones, and about 150 tasks. The
     project plan aligns with the CPAP recommendations, and the identified tasks are
     organized around areas such as community partnerships, restorative justice, youth
     outreach, community policing strategies, annual strategy review and feedback, an-
     nual reviews, quarterly reports, community policing staffing and training, selection
     of Chicago Alternative Policing Strategy (CAPS) officers, coordination of city ser-
     vices, victims resources, and community policing evaluations. These projects and
     their identified tasks also overlap with actions required to implement the require-
     ments of other consent-decree paragraphs.

     The CPD reports that nearly all the 150 tasks identified in its plan are either com-
     pleted or on track. Most of the CPD’s planned timelines fall within 2019 and 2020.
     The project plan assigns accountability and responsibility for each identified task.
     The CPD began implementing many CPAP recommendations and, in some in-
     stances, completed the tasks associated with implementation. The CPD’s imple-
     mentation progress includes the following:


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      Piloted a “police immersion” program in Districts 3 and 7 that provides proba-
       tionary police officers with a week of intensive community engagement in their
       assigned area. That engagement includes meeting community leaders and
       stakeholders, and becoming familiar with the areas that they will serve;

      Further developed the district-wide community policing strategy development
       processes, including detailed and comprehensive guidance about training for
       commanders, community policing sergeants, and other relevant CPD staff to
       enhance community input and better track actions and responses;

      Identified and provided leadership training to prospective members of the Su-
       perintendent’s youth advisory council;

      Developed a robust information system platform called Community Engage-
       ment Management System (CEMS) to track non-enforcement contacts and to
       generate information about community events;

      Established the Chicago Crime Victims Coordinating Council to improve coor-
       dination of services for victims of crimes, especially gunshot victims; and

      Held a “Citizen Police Academy” that served 50 participants who completed
       30-hours of training during the first reporting period. (This is an ongoing bian-
       nual, 10-week program.)




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                            Community Policing: ¶18
             18. The City will establish and coordinate regular meetings, at
             minimum quarterly, with representatives from City departments,
             sister agencies, and CPD to collaborate on developing strategies
             for leveraging City resources to effectively and comprehensively
             address issues that impact the community’s sense of safety, se-
             curity and well-being. The City departments and agencies will in-
             clude, but not be limited to, the Department of Streets and San-
             itation, the Department of Buildings, the Chicago Fire Depart-
             ment, the Department of Business Affairs and Consumer Protec-
             tion, the Department of Planning and Development, the Office of
             Emergency Management and Communication People with Disa-
             bilities, the Department of Public Health, the Department of
             Family and Support Services, the Chicago Public Schools, the Chi-
             cago Housing Authority, and the Chicago Park District. If after
             two years the City concludes that less frequent meetings would
             be more effective, it may propose an alternative schedule subject
             to Monitor approval.

     Compliance Progress          (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                   Quarterly                      ✔ Met              Missed

      Preliminary:                In Compliance
      Secondary:                  Not in Compliance
      Full:                       Not in Compliance

     The City met Preliminary compliance within the reporting period by holding quar-
     terly meetings. The City provided the IMT with a summary of its activities regard-
     ing regular meetings with representatives from City departments. These meetings
     coordinate the delivery of services to best leverage resources and enhance com-
     munity safety. The IMT also reviewed agendas, meeting notes, and takeaways from
     the three meetings held during the first reporting period. These meetings, identi-
     fied as “cabinet meetings,” involved the Mayor and other department heads. The
     meeting invitees are noted in City documentation, but the City did not provide the
     IMT with the actual attendance records from these meetings. A review of meeting
     notes suggests a broad and appropriate attendance. The topics and agendas for
     each of these meetings focused primarily on community safety issues.

     A review of meeting agendas and minutes to date indicates that these meetings
     narrowly focused on collaboratively developing strategies to enhance community
     safety. In one meeting, discussions covered the dimensions of addressing open-air




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     drug markets and the associated violent crime. Representatives from City depart-
     ments discussed a range of service offerings including drug treatment for residents
     living in specific areas, better code enforcement, outreach from community volun-
     teers and stakeholders, and strategies to discourage suburban drug buyers from
     fueling drug purchases in these open-air markets. Takeaways and action items
     were included in meeting notes with planned activities frequently linked to efforts
     to reduce gun violence. Examples include the City sharing data maps (depicting
     the locations of gun violence) with other City entities to target programming, and
     City agencies reaching out to have discussions with the Cook County Department
     of Public Health so that it can provide better trauma and mental health support
     for youth.

     Through these cabinet-level meetings, the City is clearly bringing together relevant
     city agencies to advance community safety and quality of life in Chicago neighbor-
     hoods. A review of notes from these meetings demonstrates that City depart-
     ments are committed to work collaboratively to face challenges that require mean-
     ingful participation by multiple agencies.

     The City should formalize this cabinet-level working group with documentation
     that outlines attendance, purpose, governance, membership, meeting support (in-
     cluding roles and responsibilities), and processes for developing and approving ac-
     tion steps and follow-up. This will ensure that the City is able to provide the IMT
     with consistent and thorough records of these meetings. By providing structure,
     the City may also optimize value of these meetings and build in more accountabil-
     ity.




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                           Community Policing: ¶¶39–40
              39. Before the 2019-2020 school year begins, in consultation
              with CPS and considering input from CPD members, including of-
              ficers assigned to work in CPS schools, school personnel, families,
              students, and community stakeholders, CPD will develop and im-
              plement screening criteria to ensure that all officers assigned to
              work in CPS schools have the qualifications, skills, and abilities
              necessary to work safely and effectively with students, parents
              and guardians, and school personnel. Only CPD officers who sat-
              isfy the screening criteria will be assigned to work in CPS schools.

              40. Before the 2019-2020 school year begins, in consultation
              with CPS and considering input from CPD members, including of-
              ficers assigned to work in CPS schools, school personnel, families,
              students, and community stakeholders, CPD will develop a policy
              that clearly defines the role of officers assigned to work in CPS
              schools. This policy will be reviewed by the Monitor by the end of
              2019. Any suggested revisions by the Monitor that are adopted
              by CPD will be implemented by CPD before the 2020-2021 school
              year. The policy will reflect best practices and will include, but
              not be limited to: a. the duties, responsibilities, and appropriate
              actions of officers assigned to work in CPS schools and school
              personnel, including an express prohibition on the administra-
              tion of school discipline by CPD officers; b. selection criteria for
              officers assigned to work in CPS schools; c. the requirement that
              officers assigned to work in CPS school receive initial and re-
              fresher training; and d. the collection, analysis, and use of data
              regarding CPD activities in CPS schools.


     Compliance Progress              (Reporting Period: March 1, 2019, through August 31, 2019)

      ¶39 Deadline:                   September 3, 2019              ✔ Met*              Missed

                                      ¶39                           ¶40
      Preliminary:                    Under Assessment              Not Yet Applicable
      Secondary:                      Under Assessment              Not Yet Applicable
      Full:                           Under Assessment              Not Yet Applicable

      * As we explain further below, the IMT found that the City met the deadline for ¶39, which
        technically falls outside of the reporting period.

     Paragraphs 39 and 40 are unique because they divide a related policy and corre-
     sponding compliance efforts into separate timelines. Technically, the deadline for


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     ¶39 falls on September 3, 2019 (the first day of school), which is outside of the
     first reporting period. Nonetheless, the City engaged in significant efforts to meet
     that deadline within the first reporting period. Because the IMT reviewed many of
     these efforts, we find that the City met the ¶39 deadline by creating selection cri-
     teria by the start of the 2019–2020 school year. The IMT cannot, however, grant
     Preliminary compliance for ¶39, because we are still assessing the selection crite-
     ria and the rest of the policy, which fall under ¶40. Likewise, the IMT began to
     assess the related requirements under ¶40. Following the longer review periods
     described in ¶40, we will more fully address those requirements in future moni-
     toring reports.

     The CPD provided the IMT with notes from 10 (of 19) input sessions regarding
     SROs. The CPD held these sessions in schools to gather community input on SRO
     selection criteria and policy, including the roles and responsibilities of SROs. The
     notes from the meeting covered roles and responsibilities of SROs; prohibition on
     the administration of school discipline by CPD officers; selection criteria for SROs;
     initial and refresher training for SROs; and the collection, analysis, and use of data
     regarding CPD activities in public schools. Members of the IMT also independently
     attended two of these sessions as observers and corroborated much of what the
     CPD reported.

     The IMT also met with the CPD leadership staff responsible for SROs and with the
     Chicago Public Schools security leadership to discuss their individual views of mis-
     sion, goals, and challenges. The IMT reviewed relevant Chicago Public Schools ex-
     pulsion and suspension data and the history of SRO use in Chicago Public Schools.
     The IMT reviewed best practices provided by the National Association of School
     Resource Officers (NASRO), and discussed SRO issues with national experts. The
     IMT also reviewed the CPD’s SRO training curriculum and observed 40 hours of
     training provided by NASRO for the CPD SROs. The IMT also began its review of the
     developed selection criteria to determine the extent of alignment with the newly
     crafted MOU governing the operations of the CPD SRO program.

     Overall, the CPD and the Chicago Public Schools held 15 community input meet-
     ings to solicit feedback about the function of SROs and four additional community
     sessions to gather input on SRO policy, including selection criteria. These meetings
     occurred in April, May, and July 2019. The number in attendance at these sessions,
     according to data the IMT received on 10 community input sessions, ranged from
     four to 59. On average, 28 people attended each meeting, and participants in-
     cluded principals, members of local community-based organizations, local school
     council representatives, students, faculty, staff, parents, and other community res-
     idents. Figure 11 below summarizes information about participation at these
     meetings based on information reported by the CPD.




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      Figure 11: Total Meeting Participants for SRO Selection Criteria and Policy Input
      Reported by the CPD*
      Constituents                                                   Number of         Percentage of
                                                                     Participants      Participants
      Principals                                                           14               5.0%
      Faculty/Staff                                                        47              16.7%
      Students                                                            132              46.8%
      Local School Council Representatives/Parents                         23               8.2%
      Community-Based Organization Representatives                         38              13.5%
      Community Members                                                    28               9.9%
      Total Participants                                                  282              100**
      * Includes data for 10 of 19 community input sessions the IMT received documentation for.
      ** Percentage calculations entail rounding error.

     The CPD generally conducted these meetings using a “World Café” format, which
     breaks participants into smaller groups to facilitate brainstorming. This format is
     designed to create a safe environment for participants to share ideas and avoid
     the “group think” that often occurs when ideas are solicited in larger groups. In
     meetings with few participants, the CPD used more traditional approaches to so-
     licit input. This format successfully generated a wide range of thoughts and ideas
     regarding selection criteria for SROs. Several themes emerged from these meet-
     ings regarding SRO selection criteria, including the following considerations: expe-
     rience working with youth; the necessity of treating people respectfully, fairly, and
     without prejudice; consideration of police officer backgrounds such as any past
     disciplinary actions; appropriate training to address students with developmental
     disabilities or mental illness; familiarity with de-escalation techniques; and con-
     nections to communities that SROs serve through work, residence, or volunteer
     activities. While community members generally appreciated the CPD’s efforts to
     gather feedback and give them a voice on these issues, some community members
     felt that the meetings that the CPD organized were rushed and did not allow for
     proper input.37 One overarching concern the IMT heard from community members
     was the necessity to clarify the roles of Chicago Public Schools security officers and
     SROs, making clear distinctions between those roles and responsibilities.

     At the community input sessions, some participants questioned the need for CPD
     officers in school settings at all, suggesting that CPD officers have contributed over
     the years to involvement of school-aged youth in the juvenile and criminal justice
     systems. Participants stated that some CPD officers rely on arrests to address what
     is often a school disciplinary issue. Many also stated that the presence of officers


     37
          Near the end of the reporting period, for example, the ACLU—on behalf of Communities
          United, who are part of the Coalition—provided the City, the CPD, the OAG, and the IMT with
          a detailed memorandum raising these concerns regarding community input into the SRO pro-
          gram. The CPD has previously met with members of the Coalition on other policies, and the
          IMT will continue to monitor the CPD’s efforts to solicit, receive, and review community input.


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     might encourage school officials to request arrests rather than to use restorative
     justice tools or other options to resolve issues.

     The City’s approach allows each Local School Council (LSC) to decide whether a
     corresponding school should have an SRO. In consultation with corresponding
     principals, each LSC makes the final decision regarding SROs in their schools. In the
     2018–2019 school year, the CPD reported placement of SROs in 91 schools for a
     total of 175 SROs. At the close of the reporting period, the number of SROs for the
     2019–2020 school year was not yet available. School officials and the CPD believe
     that school use of SROs will not decline this year.

     The CPD also conducted focus groups with SROs and supervisors. The IMT re-
     viewed the CPD notes from SRO focus group sessions and from a session with su-
     pervisors regarding SRO policy. Themes from these sessions highlighted the im-
     portance of good working relationships between SROs, with principals, and other
     staff members; the skills to work with students with developmental disabilities;
     sharing of information by Chicago Public Schools about individualized education
     plans; and the Chicago Public Schools not using SROs as extensions of school se-
     curity staff.

     The CPD considered the input from both community meetings and SRO focus
     groups, consulted and reviewed NASRO standards, and formulated the selection
     criteria for SRO officers. The CPD also coordinated with the Chicago Public Schools
     to finalize the selection criteria. The finalized criteria are included in the SRO policy,
     which the CPD submitted to the OAG and the IMT for review. The CPD started this
     process in earnest soon after the consent decree’s effective date and gathered
     community input, conducted research, and formulated criteria. The CPD reports
     that it used the newly developed criteria in the selection of SROs for the 2019–
     2020 school year. The IMT has some concerns with these criteria, such as the lack
     of a more formal role for school personnel in the selection process and a discipli-
     nary history standard that is no higher than “acceptable.” The IMT will also con-
     tinue to assess the SRO policy in the coming reporting period.

     Current practice and the new policy provide the District Commander with final au-
     thority over the selection of SROs. Prospective SROs submit a written request to
     their District Commander to work as SROs along with a resume that includes addi-
     tional skills and experience. The District Commander “coordinates with CPS” and
     then makes the selection and assignment decision. Moving forward and for future
     reports, the IMT will review SRO applications including letters, résumés, and notes
     from decision-making deliberations.




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                               Community Policing: ¶44
              44. Before the 2019-2020 school year begins, CPD will undertake
              best efforts to enter into a memorandum of understanding with
              CPS, to clearly delineate authority and specify procedures for
              CPD officer interactions with students while on school grounds,
              consistent with the law, best practices, and this Agreement.

     Compliance Progress              (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                       September 3, 2019              ✔ Met*             Missed

      Preliminary:                    In Compliance
      Secondary:                      Not in Compliance
      Full:                           Not in Compliance

      * As we explain further below, the IMT found that the City met the deadline for ¶44, which
        technically falls outside of the reporting period.

     The IMT found that the CPD met Preliminary compliance by September 3, 2019.
     As with ¶39 above, this deadline technically falls outside of the reporting period.
     The IMT met with the CPD staff who are responsible for developing the CPD SRO
     policy and negotiating with the Chicago Public Schools regarding a Memorandum
     of Understanding (MOU) for SRO operations in the Chicago Public Schools. The IMT
     also interviewed the Chicago Public Schools leadership who are responsible for
     school security and negotiating the MOU. Additionally, the IMT reviewed NASRO
     literature on MOUs, the CPD’s SRO policy, and the recently developed MOU be-
     tween the CPD and the Chicago Public Schools.

     The CPD reports that after the SRO policy was created, the Chicago Public Schools
     and the CPD received and considered community input to develop and finalize the
     MOU. The Chicago Board of Education approved the MOU on August 28, 2019. The
     IMT reviewed the MOU and determined that it sufficiently “delineates authority
     and specifies procedures governing the CPD Interactions with students” on school
     grounds. The MOU reflects many best practices, including the prohibition of SRO
     involvement in disciplinary matters, collaborative decision-making involving the
     CPD and the Chicago Public Schools in the selection and assignment of SRO per-
     sonnel, selection criteria including extensive experience in working with youth,
     and meaningful input for SRO performance evaluations from the Chicago Public
     Schools. The MOU does not clearly define SRO roles related to serving as role mod-
     els or providing classroom instruction or presentations on law-enforcement-re-
     lated topics, as suggested by NASRO.

     The IMT found some inconsistencies between the MOU and the CPD SRO policy in
     several significant areas. First, the selection process as outlined in the CPD policy


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     rests final decision-making in the selection and assignment of SROs to the District
     Commander. The CPD policy provides for decisions to be made in “coordination
     with CPS”; however, the MOU language suggests that a more collaborative process
     is required. The MOU states that, “CPS CEO or designee will participate in the in-
     terview and selection of the CPD officers assigned under this agreement.” The
     MOU language is more in line with best practices. Second, the CPD remains re-
     sponsible for delivering SRO training under the new policy while the MOU places
     that responsibility on the Chicago Public Schools with an expanded curriculum. Fi-
     nally, the MOU language regarding the Chicago Public Schools’ input into SRO per-
     formance evaluations is more explicit and references a “complaint process” not
     included in the CPD’s policy.

     The City should review both the SRO policy and the recently completed MOU with
     the Chicago Public Schools to address these inconsistencies.




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     II. Impartial Policing
                                  Guiding Principles
     The IMT assessed compliance with applicable Impartial Policing paragraphs in ac-
     cordance with the consent decree’s “Guiding Principles.” These principles “are in-
     tended to provide the Court, the Monitor, and the public with the context for the
     subsequent substantive requirements” and “the overall goals” (¶757):

             49. The Parties agree that policing fairly, with courtesy and dig-
             nity, and without bias is central to promoting broad community
             engagement, fostering public confidence in CPD, and building
             partnerships between law enforcement and members of the Chi-
             cago community that support the effective delivery of police ser-
             vices.

             50. In conducting its activities, CPD will provide police services to
             all members of the public without bias and will treat all persons
             with the courtesy and dignity which is inherently due every per-
             son as a human being without reference to stereotype based on
             race, color, ethnicity, religion, homeless status, national origin,
             immigration status, gender identity or expression, sexual orien-
             tation, socio-economic class, age, disability, incarceration status,
             or criminal history.

             51. CPD will ensure its members have clear policy, training, and
             supervisory direction in order to provide police services in a man-
             ner that promotes community trust of its policing efforts and en-
             sures equal protection of the law to all individuals.




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     Summary of Compliance Assessments
     In the first reporting period, the IMT assessed the CPD’s compliance with one par-
     agraph of the consent decree within the Impartial Policing topic area: ¶58. The
     CPD missed its deadline for ¶58, and the IMT determined that the CPD did not
     achieve compliance at any level this paragraph (Preliminary, Secondary, or Full).

     Paragraph 58 requires that the CPD clarify in policy, among other things, “that CPD
     officers will permit members of the public to photograph and record CPD officers
     in the performance of their law enforcement duties in a public place, or in circum-
     stances in which the officer has no reasonable expectation of privacy.” The IMT
     believes the CPD would benefit from more community engagement on this issue
     to meaningfully clarify the policy for the community and the need for the policy
     for officers.

     Throughout this reporting period, the IMT focused on aspects of community en-
     gagement, including impartial-policing concepts. The IMT believes that the CPD
     should prioritize hearing community voices early and often to address the con-
     cerns from various Chicago communities regarding police interactions.




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                               Impartial Policing: ¶58
              58. Within 90 days of the Effective Date, CPD will clarify in policy
              that CPD officers will permit members of the public to photo-
              graph and record CPD officers in the performance of their law
              enforcement duties in a public place, or in circumstances in
              which the officer has no reasonable expectation of privacy. The
              policy will also provide that officers may take reasonable action
              to maintain safety and control, secure crime scenes and accident
              sites, protect the integrity and confidentiality of investigations,
              and protect the safety of officers or others.

     Compliance Progress            (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                     May 30, 2019                        Met      ✔ Missed

      Preliminary:                  Not in Compliance
      Secondary:                    Not in Compliance
      Full:                         Not in Compliance

     As of the close of this reporting period, the IMT does not find the relevant CPD
     policy, Human Rights and Human Resources (General Order 02-01), to be in com-
     pliance with the consent decree. During this reporting period, the CPD worked to-
     ward revising the policy to incorporate the requirements of ¶58. This policy is nec-
     essary because of some CPD officers’ unwillingness to allow community members
     to photograph or record them in public.

     During site visits in March and July 2019, as well as during bi-weekly meetings, the
     IMT has engaged with CPD officials regarding the requirements of ¶58. We also
     engaged with community members and reviewed related media coverage. Based
     on interviews and community engagement in the first reporting period, the IMT
     has concerns that there may be a significant divide between how the CPD and the
     community view this issue—with some officials in CPD leadership finding this to
     be a rare and small problem and community members finding the opposite. As a
     result, the IMT views this as an ongoing issue that will require continued attention,
     beginning with appropriate policy revisions.

     Moreover, the CPD needs to do more work to achieve Preliminary compliance with
     ¶58. The CPD should update the language and content of the policy to reflect best
     practices by, for example, incorporating research on procedural justice and termi-
     nology used to describe community members. The relevant policy should also in-
     clude clearly stated and appropriate enforcement and accountability mechanisms.

     The IMT also notes the lack of community engagement in the creation of the draft
     policy, a requirement of ¶52. When asked about community input during meetings


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     in July, CPD officials indicated that community comments are allowed once the
     new or revised draft policy is posted on the CPD’s website. Originally, CPD officials
     maintained that community input was not necessary earlier in the process. The
     IMT respectfully disagreed.

     Through conversations since July, the CPD developed a “tiered system” of commu-
     nity engagement regarding policies that will be revised during the process of con-
     sent decree implementation. The CPD was still in the process of developing this
     system at the end of the reporting period.

     While the IMT sees the CPD’s plan for community engagement moving forward to
     be a positive sign of progress, we emphasize that the CPD should identify and fully
     explore the conditions and factors necessary to the creation of a policy, essentially
     engaging in a comprehensive and collaborative “needs assessment” process.




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     III. Crisis Intervention
                                  Guiding Principles
     The IMT assessed compliance with applicable Crisis Intervention paragraphs in ac-
     cordance with the consent decree’s “Guiding Principles.” These principles “are in-
     tended to provide the Court, the Monitor, and the public with the context for the
     subsequent substantive requirements” and “the overall goals” (¶757):

             83. CPD officers often serve as first responders to individuals ex-
             periencing a behavioral or mental health crisis. These individuals
             may exhibit symptoms of known, suspected, or perceived behav-
             ioral or mental health conditions, including, but not limited to,
             mental illness, intellectual or developmental disabilities, or co-
             occurring conditions such as substance use disorders. The Parties
             acknowledge that having a mental illness, an intellectual or de-
             velopmental disability, or co-occurring condition does not mean
             an individual necessarily is in crisis, or that having a behavioral
             or mental health condition would necessarily be the reason for
             any crisis that requires police involvement. However, it may need
             to be considered or warrant heightened sensitivity to ensure an
             appropriate response. Therefore, individuals in the groups listed
             above will be collectively referred to as “individuals in crisis” for
             the purposes of this Agreement.

             84. A person may be a suspected individual in crisis based on a
             number of factors, including, but not limited to, self-reporting;
             information provided by witnesses, family members, or individu-
             als requesting service; CPD’s previous knowledge of the individ-
             ual; or an officer’s direct observation.

             85. CPD officers will interact with individuals in crisis with dignity
             and respect. The use of trauma-informed crisis intervention tech-
             niques to respond appropriately to individuals in crisis will help
             CPD officers reduce the need to use force, improve safety in po-
             lice interactions with individuals in crisis, promote the connec-
             tion of individuals in crisis to the healthcare and available com-
             munity-based service systems, and decrease unnecessary crimi-
             nal justice involvement for individuals in crisis. CPD will allow of-
             ficers sufficient time and resources to use appropriate crisis in-
             tervention techniques, including de-escalation techniques, to re-
             spond to and resolve incidents involving individuals in crisis. To




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            achieve these outcomes, the City and CPD will implement the re-
            quirements set out below.

            86. The City and CPD are committed to exploring diversion pro-
            grams, resources, and alternatives to arrest for individuals in cri-
            sis.




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     Summary of Compliance Assessments
     In this first reporting period, the IMT assessed the City’s compliance with one par-
     agraph of the consent decree within the Crisis Intervention topic area (¶142).

     The Office of Emergency Management and Communications (OEMC) met its dead-
     line for ¶142. The IMT determined that the OEMC achieved Preliminary and Sec-
     ondary compliance for ¶142.

     Overall, during this reporting period, the OEMC provided the IMT with robust data
     to determine compliance, including detailed training records. We look forward to
     monitoring the OEMC’s continued compliance with the requirement that it pro-
     vide the requisite training to new telecommunicators before they begin answering
     calls independently.




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                                 Crisis Intervention: ¶142
                142. Within 90 days of the Effective Date, OEMC will ensure that
                all current active tele-communicators have received mental
                health and CIT awareness training (“OEMC Training”). OEMC will
                provide the OEMC Training to new tele-communicators before
                tele-communicators complete their training and begin answer-
                ing calls independently.

     Compliance Progress                (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                         May 30, 2019                    ✔ Met              Missed

      Preliminary:                      In Compliance
      Secondary:                        In Compliance
      Full:                             Not in Compliance

     The IMT reviewed training documents provided by the OEMC and has determined
     that nearly all current, active telecommunicators have received mental-health
     awareness and Crisis Intervention Team (CIT) training. The documentation pro-
     vided by the OEMC indicates that 464 call takers and telecommunicators have
     been trained in CIT and Mental Health Awareness between February 21, 2016, and
     June 24, 2018. Although the IMT was not provided a full roster of current OEMC
     employees to make a side-by-side comparison with the training records, the IMT
     checked a sample of employees from the City’s employee roster against the train-
     ing records. The IMT found that employees on the City’s roster had a correspond-
     ing entry on the OEMC’s training records. Three individuals have not yet received
     the training because they were on leave of absence. The OEMC reports that these
     three individuals remain on leave of absence and will not return to their duties
     without receiving the training.

     The most recent training date indicated on the OEMC’s supporting documentation
     is June 24, 2018—nearly a year and a half since the last training. The OEMC re-
     ported that the OEMC hired one telecommunicator on July 16, 2019, who is cur-
     rently working under supervision. The employee is scheduled to attend the 40-
     hour Basic CIT class before undertaking job responsibilities without supervision.38




     38
          The IMT amended this section from a previous version provided to the Parties. See, e.g., At-
          tachment B at 1.


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     IV. Use of Force
                                             Objectives39
     The IMT assessed compliance with applicable Use of Force paragraphs in accord-
     ance with the consent decree’s corresponding objectives:

                153. CPD’s use of force policies, as well as its training, supervi-
                sion, and accountability the requirements of this Agreement;
                CPD officers apply de-escalation techniques to prevent or reduce
                the need for force whenever safe and feasible; when using force,
                CPD officers only use force that is objectively reasonable, neces-
                sary, and proportional under the totality of the circumstances;
                and any use of unreasonable or unnecessary force is promptly
                identified and responded to appropriately.

                                                    ***

                155. CPD officers have the authority to use force, but that au-
                thority is limited by the law and Department policy. The provi-
                sions of this Agreement seek to facilitate compliance with the
                law and Department policy regarding the use of force to reduce
                the circumstances in which using force is necessary, and to en-
                sure accountability when CPD officers use force that is not objec-
                tively reasonable, necessary, and proportional under the totality
                of the circumstances.




     39
          The Use of Force section of the consent decree includes “objectives” rather than “guiding prin-
          ciples.”


                                                     56
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     Summary of Compliance Assessments
     In the first reporting period, the IMT assessed the CPD’s compliance with 25 para-
     graphs of the consent decree within the Use of Force topic area, including two
     foundational paragraphs (¶¶160–161, 168–170, 188–193, 218, 222–227, 229–
     235).

     The CPD met its deadlines for three of the paragraphs that had deadlines this re-
     porting period (¶¶222, 226, and 231), meaning it missed its deadlines for 16 of the
     paragraphs. The deadline for ¶169 is January 1, 2020. The IMT determined that
     the CPD achieved Preliminary compliance for ¶¶168, 189, 222, 226, 229, and 231,
     but did not achieve Secondary or Full compliance for any of the paragraphs.

     The CPD has made strides to address the consent-decree requirements for use for
     force. A significant effort was the CPD’s creation of a Force Review Unit (FRU) in
     2017. The CPD researched similar units across the country, and visited and con-
     sulted with law enforcement agencies in Los Angeles; Baltimore; Washington, DC;
     Seattle; and other cities. The CPD’s FRU focuses on review functions and tactical
     training opportunities, aims to increase community and officer safety, and edu-
     cates officers to reduce civil liability. The unit was “designed to bridge the gap that
     occurs when actions fall within the lines of policy but nonetheless present oppor-
     tunities to improve tactical execution.”40 The unit has been reviewing Tactical Re-
     sponse Reports for use-of-force incidents since 2017. The IMT has concerns that
     the FRU is understaffed, which has created a backlog of use-of-force incidents to
     review.

     During this reporting period, the CPD shared a number of draft documents for the
     IMT to review regarding use of force, including draft policies for pointing a firearm,
     the use-of-force policy suite, an FRU procedure for firearm pointing incidents,
     training bulletins for foot pursuits, and training bulletins for weapons discipline.
     Our analysis below details how each of these documents complies, or does not
     comply, with the consent decree and the progress that the City and the CPD is
     making toward compliance.




     40
          Use of Force IMT Kick-off Presentation, 2019.


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                                    Use of Force: ¶168
               168. Starting no later than January 1, 2019, CPD will track and
               analyze the frequency with which CPD officers engage in foot
               pursuits of persons attempting to evade arrest or detention by
               fleeing on foot, regardless of whether the foot pursuit is associ-
               ated with a reportable use of force incident. CPD will track foot
               pursuits associated with reportable use of force incidents
               through TRRs or any similar form of documentation CPD may im-
               plement.

     Compliance Progress              (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                       January 1, 2019                     Met      ✔ Missed

      Preliminary:                    In Compliance
      Secondary:                      Not in Compliance
      Full:                           Not in Compliance

     The CPD did not meet the January 1, 2019 deadline. However, the CPD reached
     Preliminary compliance before the end of the reporting period. Before 2019, the
     CPD did not have the necessary reporting mechanisms and data collection pro-
     cesses to efficiently capture all foot pursuit events, regardless of whether the pur-
     suit was associated with a use-of-force incident. As of January 1, 2019, the CPD
     began capturing use-of-force incidents involving foot pursuits via the Tactical Re-
     sponse Report (TRR) form. However, foot pursuits that did not include use of force
     were documented only in the narrative section of officers’ incident reports, mak-
     ing it difficult to recover and track this data.

     On April 1, 2019, the Office of Emergency Management and Communications
     (OEMC) revised its existing policy and process for tracking and recording when the
     CPD officers engage in foot pursuits. The revised policy states, “Whenever a police
     officer engages in a foot pursuit, a FP (Foot Pursuit) event must be created whether
     or not the officer is already on an event to gather more accurate statistical data
     per the consent decree.”41 The OEMC also created new event type “FPX” (Foot
     Pursuit Cross-reference) to capture foot pursuits that occurred during another
     event. This new protocol allows the OEMC to cross-reference all calls that result in
     foot pursuits since April 2019 and aids the CPD in more efficiently tracking and
     analyzing all foot pursuit incidents.

     In summer 2019, the CPD’s Bureau of Technical Services developed a strategy to
     collect, track, and examine trends within foot pursuit data using information from

     41
          Office of Emergency Management and Communications: Police Dispatch Operations Training
          Notice, NO. TNG-19-007, April 3, 2019.


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     the OEMC, TRRs, and Investigatory Stop Reports (ISRs). It also began developing a
     data warehouse for foot pursuit data. The IMT appreciates the CPD’s efforts to
     devise methods to record all foot pursuit data. While the CPD did not have the
     capability to track all foot pursuits by the January 1, 2019 deadline, it achieved this
     capability on April 1, 2019. Therefore, it is in Preliminary compliance as of August
     31, 2019.

     On August 22, 2019, the CPD provided the IMT with a foot pursuit analysis. The
     analysis identified the number of foot pursuits reported by the OEMC, the number
     of instances in which an officer indicated a foot pursuit during a reportable use-of-
     force incident using a TRR, and how often foot pursuits were recorded during re-
     portable use-of-force incidents. The analysis reflects a total of 903 foot pursuits
     from January 1, 2019, to May 20, 2019, 200 of which (22.1 percent) occurred with
     reportable uses of force. The CPD also developed a “Foot Pursuit and Use of Force”
     Tableau dashboard at the end of August 2019. The dashboard tracks and analyzes
     the frequency of foot pursuits since April 1, 2019, by data source (OEMC and TRRs),
     by use or no use of force, and by level of force (using the CPD’s current operational
     terminology of four levels). This data appears in Figure 12 below.

     Figure 12:           Number of Foot Pursuits Reported by the OEMC and the CPD,
                                                         April 1, 2019 to August 31, 2019
      Total Foot Pursuits                                                   1,231
      Total Foot Pursuits with Use of Force                                  300
      Total Foot Pursuits with Use of Force, Level 1                         184
      Total Foot Pursuits with Use of Force, Level 2                         97
      Total Foot Pursuits with Use of Force, Level 3                         32
      Total Foot Pursuits with Use of Force, Level 4                          5

     Since the IMT received this data near the end of our first reporting period, we have
     not yet completed a full audit of the data. We plan to review and audit these re-
     ports to determine whether they are complete by, in part, selecting certain types
     of arrests to determine if there are unreported incidents where officers have en-
     gaged in foot pursuits. Additionally, the CPD may have data on foot pursuits that
     resulted in some type of force in its TRRs since January 1, 2019, but the IMT has
     not yet fully reviewed that data.




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                                  Use of Force: ¶169
              169. For foot pursuits associated with reportable use of force in-
              cidents, by January 1, 2020, CPD will review all associated foot
              pursuits at the headquarters level to identify any tactical, equip-
              ment, or training concerns.

     Compliance Progress            (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                     January 1, 2020                ✔ Not Yet Applicable

     The IMT included this paragraph in this reporting period, because the City and the
     CPD have taken several steps to comply with the consent decrees requirements
     regarding foot pursuits. As noted in the analysis for ¶168, the CPD has achieved
     the ability to track the frequency of foot pursuits associated with reportable use-
     of-force incidents, which is valuable and required. However, consent decree ¶169
     also addresses the quality of the data being collected and whether that data, with
     or without TRRs, allows for meaningful assessment of tactical, equipment, or train-
     ing concerns.

     TRRs include details about the nature of the incidents that initiated the pursuits
     and the nature of the force used. However, the TRR form in its present state does
     not require officers to include the details of the pursuit. The FRU can review details
     regarding the foot pursuit in other reports associated with the incident (e.g., the
     ISR or arrest report). Ideally, moving forward, the data gleaned from TRRs in the
     future would address the “tactical factors and risks,” as enumerated in ¶170(a)–
     (e). The CPD will only be able to identify equipment, tactical, and training concerns
     if there is reliable information available to the reviewers and if the reviewers have
     information about the nature and scope of pursuits. The current version of the TRR
     will not accomplish this goal for foot pursuits that occur with use-of-force inci-
     dents.




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                                  Use of Force: ¶170
              170. CPD recently issued a foot pursuit training bulletin. By July
              1, 2019, CPD will develop and issue a supplemental foot pursuit
              training bulletin that reflects best practices from foot pursuit pol-
              icies in other jurisdictions. The supplemental training bulletin will
              be subject to review and approval by the Monitor and OAG. The
              supplemental training bulletin will: a. identify risks and tactical
              factors officers should consider prior to initiating and during the
              course of a foot pursuit; b. provide guidance to officers regarding
              radio communications during a foot pursuit; c. instruct officers
              to avoid, to the extent practical, separating from other officers
              in the course of a foot pursuit; d. provide guidance on circum-
              stances when alternatives to a foot pursuit may be appropriate;
              and e. inform officers that they must follow supervisors’ instruc-
              tions in the course of a foot pursuit, including instructions to alter
              tactics or discontinue the pursuit.

     Compliance Progress            (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                     July 1, 2019                        Met      ✔ Missed

      Preliminary:                  Not in Compliance
      Secondary:                    Not in Compliance
      Full:                         Not in Compliance

     The CPD was not in compliance by the July 1, 2019 deadline for developing and
     issuing a supplemental foot pursuit training bulletin. However, on July 22, 2019,
     the CPD shared a draft bulletin with the IMT for review and comment. On August
     21 and August 22, the IMT and the OAG (respectively) provided comments on the
     training bulletin.

     The CPD addressed all requirements identified in the consent decree in its draft
     training bulletin; however, the draft bulletin does not incorporate best practices
     from other jurisdictions to the extent expected by the IMT. Specifically, the bulletin
     does not adequately address some of the behaviors that are prohibited by other
     jurisdictions (i.e., separating from one’s partner or losing contact with the OEMC).

     The IMT also believes that the tone of the training bulletin must do more to im-
     press upon officers the inherent danger of foot pursuits. The CPD has been recep-
     tive to suggestions in this area and will hopefully set a more cautious tone in future
     drafts of the training bulletin.




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                                  Use of Force: ¶188
              188. By January 1, 2019, CPD will develop a training bulletin that
              provides guidance on weapons discipline, including circum-
              stances in which officers should and should not point a firearm
              at a person. CPD will incorporate training regarding pointing of
              a firearm in the annual use of force training required by this
              Agreement in 2019.

     Compliance Progress            (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                     January 1, 2019                     Met      ✔ Missed

      Preliminary:                  Not in Compliance
      Secondary:                    Not in Compliance
      Full:                         Not in Compliance

     The CPD did not meet the January 1, 2019 deadline for developing a Weapons
     Discipline Training Bulletin. On June 27, 2019, the CPD shared the draft training
     bulletin with the IMT and the OAG for compliance review. Both the IMT and the
     OAG provided the CPD with written feedback on the bulletin on July 26, 2019 and
     discussed the bulletin on its bi-weekly conference calls. The CPD submitted a re-
     vised draft bulletin on August 21, 2019 for the IMT and the OAG to review. The
     draft bulletin describes the circumstances in which officers should and should not
     point their firearms. The completion of the training bulletin is dependent on com-
     pletion of the firearm pointing policy and the incident review SOP. As of the end
     of this reporting period, the training bulletin and policy are in the final stages of
     development and approval, and the CPD has indicated its intention to complete
     the training bulletin during the next reporting period.

     The CPD started training on its firearm pointing policy during the 2019 annual in-
     service training (¶188). We anticipate that the CPD will finalize the training bulletin
     before its officers attend further in-service training. As such, the IMT recom-
     mended that the CPD establish measures that will ensure members have properly
     read and reviewed the training bulletin. The CPD noted that it agrees with this
     recommendation and plans to deliver the bulletin through its online training por-
     tal, eLearning, before it goes into effect.




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                                  Use of Force: ¶189
              189. CPD will clarify in policy that when a CPD officer points a
              firearm at a person to detain the person, an investigatory stop
              or an arrest has occurred, which must be documented. CPD will
              also clarify in policy that officers will only point a firearm at a
              person when objectively reasonable under the totality of the cir-
              cumstances.

     Compliance Progress            (Reporting Period: March 1, 2019, through August 31, 2019)


      Preliminary:                  In Compliance
      Secondary:                    Under Assessment
      Full:                         Not in Compliance

     Before the beginning of the reporting period, the CPD developed and issued De-
     partment Notice D19-01, Firearm Pointing Incidents. Specifically, the CPD posted
     the policy publicly in January 2019 and listed an intended effective date of July 1,
     2019. The CPD shared a draft of the policy with the IMT on May 8, 2019, for com-
     pliance review. After careful consideration of the IMT’s and the OAG’s suggested
     revisions to the draft policy, the CPD revised the draft policy to adopt the vast ma-
     jority of the suggested revisions. The CPD posted the revised draft policy on its
     website from July 16 through July 31, 2019, to provide the public with a 15-day
     public comment period. The CPD also gave CPD members an opportunity to com-
     ment on the policy. The CPD, the OAG, and the IMT reviewed more than 250 com-
     ments submitted by the public and CPD members.

     The latest version of the policy meets the requirements of the consent decree. The
     policy makes it clear that when an officer points a firearm at a person to detain
     the person that action amounts to an investigatory stop or arrest, and therefore,
     must be documented. It further states that officers are to point a firearm at a per-
     son only when objectively reasonable under the totality of the circumstances.

     As noted for ¶188, the finalization of the revised firearm pointing policy depends
     on the completion of the Standard Operating Procedure (SOP) for incident review
     and the training bulletin. As of the end of this reporting period, the training bulle-
     tin and the policy are in the final stages of development and approval.

     The CPD initiated training regarding the policy for pointing a firearm in the 2019
     annual use-of-force training. We anticipate that the CPD will proceed to finalize
     the revised policy and the training bulletin before its officers attend further in-
     service training.




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                            Use of Force: ¶¶190–93
            190. Beginning July 1, 2019, CPD officers will, at a minimum,
            promptly after the incident is concluded, notify OEMC of investi-
            gatory stop or arrest occurrences in which a CPD officer points a
            firearm at a person in the course of effecting the seizure. The no-
            tification will identify which CPD beat(s) pointed a firearm at a
            person in the course of effecting the seizure. The City will ensure
            that OEMC data recording each such notification is electronically
            linked with CPD reports and body-worn camera recordings asso-
            ciated with the incident, and all are retained and readily accessi-
            ble to the supervisor of each CPD beat(s) identified in the notifi-
            cation.

            191. OEMC will notify an immediate supervisor of the identified
            beat(s) each time the pointing of a firearm is reported. Notified
            CPD supervisors will ensure that the investigatory stop or arrest
            documentation and the OEMC recordation of the pointing of a
            firearm are promptly reviewed in accordance with CPD policy.
            CPD supervisors will effectively supervise the CPD members un-
            der their command consistent with their obligations set forth in
            the Supervision section of this Agreement.

            192. A designated unit at the CPD headquarters level will rou-
            tinely review and audit documentation and information col-
            lected from all investigatory stop and arrest occurrences in which
            a CPD officer pointed a firearm at a person in the course of ef-
            fecting a seizure. The review and audit will be completed within
            30 days of each such occurrence. This review and audit will: a.
            identify whether the pointing of the firearm at a person allegedly
            violated CPD policy; b. identify any patterns in such occurrences
            and, to the extent necessary, ensure that any concerns are ad-
            dressed; and c. identify any tactical, equipment, training, or pol-
            icy concerns and, to the extent necessary, ensure that the con-
            cerns are addressed. The designated unit at the CPD headquar-
            ters level will, where applicable, make appropriate referrals for
            misconduct investigations or other corrective actions for alleged
            violations of CPD policy. At the completion of each review and
            audit, the designated unit at the CPD headquarters level will is-
            sue a written notification of its findings and, if applicable, any
            other appropriate actions taken or required to an immediate su-
            pervisor as described above.

            193. CPD will ensure that the designated unit at the CPD head-
            quarters level responsible for performing the duties required by


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              this Part has sufficient resources to perform them, including staff
              with sufficient experience, rank, knowledge, and expertise.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)

      ¶190 Deadline:               July 1, 2019                        Met      ✔ Missed
      ¶192 Deadline:               July 31, 2019                       Met      ✔ Missed

      Preliminary:                 Not in Compliance
      Secondary:                   Not in Compliance
      Full:                        Not in Compliance

     The CPD did not meet the July 1, 2019, or the July 31, 2019, deadlines, but the CPD
     did make progress towards complying with ¶¶190–93 during this reporting period.

     In March 2019, the FRU developed its first draft of a Firearms Pointing Incident
     Review SOP. As the draft states, the purpose of the SOP was to “establish written
     guidelines to conform with paragraphs 189–193 of the consent decree that man-
     date the implantation of a procedure to document and review instances in which
     a CPD officer points a firearm at a person in the course of effecting a seizure.” In
     the following months the CPD revised and refined the SOP. On May 8, 2019, the
     CPD shared the draft SOP with the IMT and the OAG, both of which provided com-
     ments suggesting clarifications to standards, procedures, and reporting require-
     ments. The CPD shared a revised version with the IMT on July 8, 2019, which in-
     corporated suggestions from the IMT and the OAG. On August 6, 2019, the IMT
     responded that it had no objection to the July 8 revised SOP. Therefore, the CPD
     stated it would proceed with finalizing and implementing the SOP.

     As noted previously, during this reporting period the CPD shared its January 2019
     (which had an original effective date of July 1, 2019, to meet the deadline) and
     revised July 2019 Department Notice D19-01, Firearm Pointing Incidents with the
     IMT. The policy in its current version meets the requirements laid out in the con-
     sent decree. It clearly describes the following:

      Member and supervisor responsibilities for reporting pointing of a firearm
       (¶190);

      OEMC notifications and responsibilities (¶191); and

      The FRU’s responsibilities, including review of the incident within 30 days and
       referrals of policy violations (¶192).

     The Weapons Discipline Training Bulletin (referred to above regarding ¶¶188–89)
     aims to address Secondary compliance. (We note here, to avoid confusion, that




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     the City and the CPD report that the CPD finalized and disseminated the training
     bulletin after the reporting period and before the date of this report.)

     Regarding Full compliance, the CPD has also exhibited its ability to operationalize
     elements of the firearm pointing policy and incident review SOP. First, the CPD
     established the FRU in 2017 after visiting and consulting with force-review units in
     Los Angeles; Baltimore; Washington, DC; Seattle; and other cities. The CPD’s FRU
     differs significantly from force-review units in other law enforcement agencies in
     which units commingle review functions and evaluation functions. Because Chi-
     cago has the Civilian Office of Police Accountability (COPA), the review and evalu-
     ation functions stay separate. The FRU focuses on review functions and tactical
     training opportunities, with the goal of increasing community and officer safety
     and educating officers to reduce civil liability. The unit was “designed to bridge the
     gap that occurs when actions fall within the lines of policy but nonetheless present
     opportunities to improve tactical execution.”42

     Second, the CPD already links notifications to the OEMC with information required
     for the FRU’s case review (e.g., body worn camera footage, vehicle-camera foot-
     age, and reports) (¶190).

     The IMT recommends that the CPD address some issues related to the FRU to con-
     tinue to refine its work. First, the community expressed a variety of concerns about
     the Firearm Pointing Incidents policy (e.g., how often and when the FRU will iden-
     tify trends and when exemptions are permitted). The IMT recommends that the
     CPD respond to those concerns. Second, the CPD’s announcement and initial train-
     ing plan for the pointing policy will play a critical role in department-wide imple-
     mentation. Finally, the IMT believes that the FRU is currently not sufficiently
     staffed to adequately perform its duties. The FRU intends to assign three officers
     to handle pointing incidents (¶193). The IMT is concerned that the current staffing
     plan will be insufficient due to the current backlog of FRU cases.

     The current hiring freeze and the CPD’s inability to attract candidates with the ap-
     propriate credentials also factors in to the FRU’s staffing shortage. The City has
     assured the IMT that FRU positions are not limited by the hiring freeze. But if the
     City fills consent-decree-related positions by hiring from within, the CPD will be
     unable to backfill the new vacancies.




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          Use of Force IMT Kick-off Presentation, 2019.


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                                 Use of Force: ¶218
             218. CPD members must report and document any reportable
             use of force. Beginning January 1, 2019, a reportable use of force
             will be defined as any use of force by a CPD member included in
             any of the following three levels: a. A level 1 reportable use of
             force is the use of any force by a CPD member to overcome the
             active resistance of a subject that does not rise to a level 2 or
             level 3 reportable use of force. This would include force that is
             reasonably expected to cause pain or an injury, but does not re-
             sult in injury or complaint of injury. The following techniques are
             level 1 reportable uses of force when applied in response to ac-
             tive resistance: pressure point compliance techniques; joint ma-
             nipulation techniques; wristlocks; armbars; and any leg sweep,
             weaponless defense techniques, or takedown that does not re-
             sult in injury or complaint of injury. It is not a reportable use of
             force for a CPD member to escort, touch, or handcuff a person
             with no or minimal resistance. b. A level 2 reportable use of force
             is the use of any force by a CPD member that includes use of a
             less-lethal weapon or that causes an injury or results in a com-
             plaint of an injury, but that does not rise to a level 3 reportable
             use of force. Force options in this level include: discharge of an
             OC device; discharge of a Taser; impact weapon strikes to any
             part of the body other than the head or neck; use of impact mu-
             nitions; any physical apprehension by a canine; any reportable
             use of force against a handcuffed subject; and any leg sweep,
             weaponless defense technique, or takedown resulting in an in-
             jury or complaint of injury. c. A level 3 reportable use of force is
             when a CPD member does any of the following: uses any force
             that constitutes deadly force, such as discharging a firearm or
             using an impact weapon to strike a person’s head or neck; uses
             a chokehold or other maneuver for intentionally putting pressure
             on a person’s airway or carotid artery; uses any force that causes
             the death of any person; or uses any force that causes injury to
             any person resulting in admission to a hospital.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                    January 1, 2019                     Met      ✔ Missed

      Preliminary:                 Not in Compliance
      Secondary:                   Not in Compliance
      Full:                        Not in Compliance




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     The CPD has not met the deadline for implementing a system that classifies force
     in the requisite three levels by January 1, 2019, and has not indicated when it ex-
     pects to achieve this requirement (as of the end of the reporting period). The CPD
     currently operates and investigates using four levels of force.

     The proposed revisions to the General Order 03-02-02, Incidents Requiring the
     Completion of a Tactical Response Report (dated July 8, 2019), address the require-
     ments of ¶218. When the CPD finalizes this policy, it will be in Preliminary compli-
     ance with this paragraph of the consent decree.




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                                  Use of Force: ¶222
              222. A CPD supervisor will immediately respond to the scene
              when a level 2 or level 3 reportable use of force occurs (“respond-
              ing supervisor”). CPD supervisors may, at their discretion, re-
              spond to the scene when a level 1 reportable use of force occurs,
              but they are not required to do so.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                    March 1, 2019                  ✔ Met              Missed

      Preliminary:                 In Compliance
      Secondary:                   Not in Compliance
      Full:                        Not in Compliance

     When members discharge their weapons or when a subject is injured even though
     not designated as level 2 or 3, the CPD’s policy has been to respond to the use-of-
     force incident, per the General Order 03-02-02, Incidents Requiring the Completion
     of a Tactical Response Report (dated October 16, 2017).

     The new proposed draft of G03-02-02 retains this responsibility and contains the
     exact language from this consent decree paragraph.

     In interviews conducted by the IMT in July 2019, supervisors were aware of this
     responsibility. Lieutenants who were interviewed indicated that they would often
     leave the station, respond to the scene, and oversee the investigation. There was
     an acute awareness of the importance of use of force investigations in the 11th
     and 6th Districts, which reported the most use-of-force incidents. In addition, su-
     pervisor duties and expectations were posted prominently in the report writing
     area.




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                                  Use of Force: ¶223
              223. For level 2 and level 3 reportable use of force incidents, the
              duties of the responding supervisor will include, at a minimum:
              a. identifying known available witnesses to the use of force to
              the extent reasonably possible and documenting their identities
              and statements in a written report, except in incidents for which
              the Civilian Office of Police Accountability (“COPA”) receives ad-
              ministrative notifications and responds to the scene; b. coordi-
              nating with COPA, as appropriate; c. gathering and preserving
              evidence related to the use of force; d. requesting the assign-
              ment of an evidence technician to photograph persons involved
              in the incident, including any injuries sustained; e. ensuring that
              members and subjects receive appropriate medical care; f. mak-
              ing notifications as required by CPD policy; and g. reviewing re-
              ports regarding the incident for legibility and completeness.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                    March 1, 2019                       Met      ✔ Missed

      Preliminary:                 Not in Compliance
      Secondary:                   Not in Compliance
      Full:                        Not in Compliance

     The proposed revisions to the General Order 03-02-02, Incidents Requiring the
     Completion of a Tactical Response Report (dated July 8, 2019), address the require-
     ments of ¶223. When the CPD finalizes this policy, it will be in Preliminary compli-
     ance with this paragraph of the consent decree.

     The prior version of the General Order 03-02-02, Incidents Requiring the Comple-
     tion of a Tactical Response Report (dated October 16, 2017), addressed some but
     not all of requirements of ¶223. In its updated version, the CPD has added new
     and clarifying language regarding identifying and interviewing known available
     witnesses “to the extent reasonably possible,” and with the exception of “any
     other circumstance where the Civilian Office of Police Accountability (COPA) re-
     ceives an administrative notification and responds to the scene.”




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                                 Use of Force: ¶224
              224. In addition, for level 2 and level 3 reportable use of force
              incidents involving an injury or complaint of injury for which
              COPA does not have jurisdiction, the responding supervisor will
              undertake reasonable efforts to identify and interview additional
              witnesses beyond those that are known and available.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                    March 1, 2019                       Met      ✔ Missed

      Preliminary:                 Not in Compliance
      Secondary:                   Not in Compliance
      Full:                        Not in Compliance

     The proposed revisions to the General Order 03-02-02, Incidents Requiring the
     Completion of a Tactical Response Report (dated July 8, 2019), address the require-
     ments of ¶224. The revisions use almost verbatim language from the consent de-
     cree to ensure that responding supervisors comply with ¶224. The revisions state
     the following: “for Level 2 and Level 3 reportable use of force incidents involving
     injury or complaint of injury for which a COPA notification is not required, under-
     take reasonable efforts to identify and interview additional witnesses beyond
     those that are known and available.” When the CPD finalizes this policy, it will be
     in Preliminary compliance with this paragraph.

     The language of the consent decree and the revised G03-02-02 direct CPD mem-
     bers to do more than they were previously required to do by going door-to-door
     and actively seeking out witnesses to use-of-force incidents.




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                                 Use of Force: ¶225
              225. A supervisor who used force or ordered force to be used dur-
              ing a reportable use of force incident will not perform the duties
              assigned to the responding supervisor for that incident.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                    March 1, 2019                       Met      ✔ Missed

      Preliminary:                 Not in Compliance
      Secondary:                   Not in Compliance
      Full:                        Not in Compliance

     The proposed revisions to the General Order 03-02-02, Incidents Requiring the
     Completion of a Tactical Response Report (dated July 8, 2019), address the require-
     ments of ¶225. The revisions use almost verbatim language from the consent de-
     cree to ensure compliance with ¶225. The revisions state, “A supervisor who used
     reportable force or ordered a use of reportable force during a use of force incident
     will not perform the functions and responsibilities of the reviewing supervisor or
     approving supervisor for the incident.” When the CPD finalizes this policy, it will
     be in Preliminary compliance with this paragraph.




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                                  Use of Force: ¶226
              226. CPD will continue to require the responding supervisor to
              document information collected and actions taken in performing
              his or her investigatory duties in the supervisor’s portion of the
              TRR, or in any other similar form of documentation CPD may im-
              plement.

     Compliance Progress            (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                     March 1, 2019                  ✔ Met              Missed

      Preliminary:                  In Compliance
      Secondary:                    Not in Compliance
      Full:                         Not in Compliance

     It has been the policy of the CPD—as articulated in General Order 03-02-02, Inci-
     dents Requiring the Completion of a Tactical Response Report (dated October 16,
     2017)—that the responding supervisor (or “Reviewing Supervisor,” as used in the
     directive) document information collected and the actions taken. Thus, the CPD is
     in Preliminary compliance with ¶226. Additionally, the revised proposed policy for
     completing TRRs, as directed in General Order 03-02-02, Incidents Requiring the
     Completion of a Tactical Response Report (dated July 8, 2019), clearly describes
     the responsibilities of responding supervisors to collect information and document
     actions.

     In 2017, the CPD revised its TRR form to require officers to complete a narrative
     that describes the force used and the circumstances necessitating the level of
     force. In the revised form, the CPD also emphasized the need for supervisors to
     describe in greater detail the extent of their efforts to collect information and iden-
     tify witnesses in the narrative of the TRR. The CPD has also incorporated instruc-
     tion on TRRs into in-service training and developed online guides for the comple-
     tion of TRRs to assist supervisors in fulfilling this responsibility.

     In interviews conducted in July 2019, commanders, lieutenants, and sergeants of
     the 6th and 11th Districts demonstrated a general understanding of their respon-
     sibilities pertaining to TRRs. In one district, the responsibilities and expectations
     for each rank were prominently posted in a superior officer’s room. The FRU must
     ensure that TRRs are completed thoroughly and discuss TRR errors with district
     supervisors.




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                                   Use of Force: ¶227
              227. Any CPD member who becomes aware of information indi-
              cating that a reportable use of force occurred but was not re-
              ported must immediately notify his or her supervisor.

     Compliance Progress            (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                     March 1, 2019                       Met      ✔ Missed

      Preliminary:                  Not in Compliance
      Secondary:                    Not in Compliance
      Full:                         Not in Compliance

     The current policy, General Order 03-02-02, Incidents Requiring the Completion of
     a Tactical Response Report, does not address ¶227 of the consent decree. How-
     ever, the proposed revisions to the G03-02-02 (dated July 8, 2019), address the
     requirements of ¶227. The revisions use almost verbatim language from the con-
     sent decree to ensure compliance with ¶227: “any Department member who be-
     comes aware of information indicating that a reportable use of force incident was
     not reported will immediately notify his or her supervisor.” In addition, the pro-
     posed revised General Order 03-02, Use of Force, addresses the notification of an
     unreported use of force to a supervisor in the “Duty to Intervene and Report” sec-
     tion. When the CPD finalizes these policies, it will be in Preliminary compliance
     with this paragraph of the consent decree.

     The IMT acknowledges that the CPD could use Rule 22 of the Rules and Regulations
     of the Chicago Police Department for compliance, which prohibits “failure to re-
     port to the Department any violation of Rules and Regulations or any other im-
     proper conduct which is contrary to the policy, orders or directives of the Depart-
     ment.” However, this regulation lacks the specificity that ¶227 requires.

     In our discussions during this first reporting period, the CPD indicated it was not
     aware of any instance where an officer reported a previously unreported use of
     force. The IMT’s request for this information was met with a mixed response re-
     garding where this material would exist and whether it does exist. It is unclear to
     the IMT whether this information would reside within the Bureau of Internal Af-
     fairs or at the district level (which would require the district to forward it to COPA).
     At a minimum, the IMT believes that the CPD should articulate a clear process for
     reporting unreported use-of-force incidents and where this data and information
     will be maintained. The IMT requested this information and discussed this issue
     during its August 15, 2019 bi-weekly use-of-force conference call with the CPD.




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                                  Use of Force: ¶229
              229. All reportable uses of force by CPD members must be re-
              viewed by CPD supervisors.

     Compliance Progress            (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                     March 1, 2019                       Met      ✔ Missed

      Preliminary:                  In Compliance
      Secondary:                    Under Assessment
      Full:                         Not in Compliance

     It has been the policy of the CPD—as articulated in General Order 03-02-02, Inci-
     dents Requiring the Completion of a Tactical Response Report (dated October 16,
     2017)—for the responding supervisor (or “Reviewing Supervisor,” as used in the
     directive) to document information collected and actions taken. The policy estab-
     lishes the responsibilities of both reviewing supervisors and approving supervi-
     sors. In accordance with this policy, all TRRs have been and are currently reviewed
     by a supervisor. Furthermore, the current proposed revision to G03-02-02, dated
     July 8, 2019, also requires review of all reportable uses of force. The CPD is in Pre-
     liminary compliance with ¶229.

     Regarding Secondary compliance, the CPD has engaged in a variety of activities to
     educate members on use of force, including reviewing supervisors’ responsibili-
     ties:

      Before the CPD released the 2017 revised use-of-force policy, all CPD members,
       including supervisors, completed a four-hour classroom training on use of
       force and the revised policy. Supervisors received training before other CPD
       members, as well as an extra hour of training on the completion and review of
       TRRs and the responsibilities of the officers and supervisors. This training ap-
       proach enabled supervisors to promote the value of the training to officers and
       answer questions regarding the training and TRRs.

      All supervisors are also required to attend the 2019 two-day (16-hour) use of
       force in-service training. As of July 2019, attendance at the 2019 training for
       district supervisors was around 50 percent. The IMT attended the two-day use
       of force training on July 23, 2019, where we observed supervisors and police
       officers training side-by-side with one message on expectations. The training
       also included scenario-based exercises with a focus on the proper completion
       of TRRs after a scenario. Students completed a TRR for the scenario and re-
       ceived immediate review and feedback from instructors. The CPD aims to com-
       plete the 2019 training department-wide by the end of December 2019.



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      The CPD’s internal network (Clearnet) provides guidance for supervisors for
       reviewing reportable uses of force and TRRs.

      The FRU also provides informal training and feedback to reviewing supervisors
       and CPD members on how to properly complete TRRs and related forms.

     As a result of interviews with sergeants and lieutenants in the 6th, 8th, and 11th
     Districts, the IMT feels that there is a general understanding of the duties among
     supervisors to review use-of-force incidents. There were also signs posted in the
     district stations that clarify those responsibilities.




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                                  Use of Force: ¶230
              230. After a reportable use of force has occurred, required TRRs
              have been completed, and, in the case of level 2 and level 3 inci-
              dents, a responding supervisor has documented any investiga-
              tory information collected, the incident will be reviewed and
              evaluated by a CPD supervisor at least the rank of Lieutenant,
              and in all instances at least one rank level above that of the high-
              est-ranking member who engaged in the reportable use of force,
              or by a command staff member, when designated (“reviewing
              supervisor”).

     Compliance Progress            (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                     March 1, 2019                       Met      ✔ Missed

      Preliminary:                  Not in Compliance
      Secondary:                    Not in Compliance
      Full:                         Not in Compliance

     The proposed revisions to the General Order 03-02-02, Incidents Requiring the
     Completion of a Tactical Response Report (dated July 8, 2019), address the require-
     ments that CPD supervisors who hold at least the rank of lieutenant evaluate inci-
     dents (¶230). GO3-02-02 describes the responsibility of the ranked supervisor and
     addresses the higher-ranking member requirement. The policy states that the in-
     vestigation of the incident and completion and approval of TRR – Investigation
     forms (TRR-Is) will be, “completed by a supervisor at least one rank higher than
     the highest-ranking member using reportable force during the incident or the ap-
     propriate exempt-level supervisor.” When the CPD finalizes this policy, it will be in
     Preliminary compliance with this paragraph.

     For Secondary compliance, as noted previously, the CPD has engaged in a variety
     of activities to educate members on use of force, including reviewing supervisors’
     responsibilities (see analysis for ¶229).




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                                   Use of Force: ¶231
              231. The reviewing supervisor will conduct an investigation into
              the reportable use of force incident by reviewing all information
              reasonably available regarding the incident, including written
              reports, video or audio recordings, and, in the case of level 2 and
              level 3 reportable use of force incidents, witness statements,
              photographs (if available), and other evidence or information
              collected by the responding supervisor. After advising the subject
              of his or her right not to answer questions and other applicable
              rights, and only if the subject voluntarily consents to an inter-
              view, the reviewing supervisor will interview the subject solely
              about the reportable use of force. In addition, the reviewing su-
              pervisor will visually inspect the subject and document any inju-
              ries observed.

     Compliance Progress            (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                     March 1, 2019                  ✔ Met              Missed

      Preliminary:                  In Compliance
      Secondary:                    Not in Compliance
      Full:                         Not in Compliance

     General Order 03-02-02, Incidents Requiring the Completion of a Tactical Response
     Report, dated October 16, 2017, addresses the requirement that a supervisor re-
     view all information in the investigatory report, advise a subject of his or her rights,
     and visually inspect the subject for any injuries. Per the consent-decree require-
     ment regarding the supervisor’s interview of the suspect, the policy states that the
     assigned supervisor will “conduct an investigation into the use of force incident by
     attempting to interview the subject of any use of force and record the subject’s
     statement regarding the use of force in the space provided on the TRR-I.” The pol-
     icy also specifies the purposes for which an interview will be conducted. Thus, the
     current policy satisfies the requirements of consent decree ¶231 and the City and
     the CPD are in Preliminary compliance.

     The proposed revisions to G03-02-02 (dated July 8, 2019) leave no doubt as to the
     purposes of the interview with the insertion of the word “solely.” The revised pol-
     icy now states the following: “the assigned supervisor will conduct an investigation
     into the use of force incident by attempting to interview the subject of any use of
     force, solely about the use of force incident.” The revised policy also elaborates on
     what information the approving supervisor should review.




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                                  Use of Force: ¶232
              232. For all reportable uses of force, the reviewing supervisor will
              determine, based on the information reviewed, if the use of force
              requires a notification to COPA and will assess whether the use
              of force was in compliance with CPD policy (except for incidents
              involving deadly force or an officer-involved death). The review-
              ing supervisor will also review the TRR, or any similar form of
              documentation CPD may implement, for sufficiency and com-
              pleteness.

     Compliance Progress            (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                     March 1, 2019                       Met      ✔ Missed

      Preliminary:                  Not in Compliance
      Secondary:                    Not in Compliance
      Full:                         Not in Compliance

     The proposed revisions to the General Order 03-02-02, Incidents Requiring the
     Completion of a Tactical Response Report (dated July 8, 2019), address the require-
     ments of ¶232. Specifically, the revised policy states that the assigned supervisor
     will complete the “Lieutenant or Above/Incident Commander Review” section of
     the TRR-I and will do the following:

      “review the portion of the TRR . . . for sufficiency and completeness”;

      “conduct a supervisory evaluation to determine whether the member’s use of
       force response was in compliance with Department policy and directives”; and

      “determine if the member’s use of force requires a notification to the Civilian
       Office of Police Accountability.”

     When the CPD finalizes this policy, it will be in Preliminary compliance with this
     paragraph.

     During the IMT’s assessment, it confronted challenges with assessing compliance
     due to differing terminology for the title supervisors. The consent decree uses the
     titles “responding supervisor” and “reviewing supervisor,” while the CPD and its
     policies use the titles “reviewing supervisor” and “approving supervisor” for the
     same respective positions. The CPD acknowledged this confusion and noted that
     it would align its terminology with these terms of the consent decree.




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                                  Use of Force: ¶233
              233. For all reportable use of force incidents, the reviewing su-
              pervisor will: provide timely, constructive feedback, where ap-
              propriate, to the officer who engaged in the reportable use of
              force, the officer’s supervisor, or both; recommend additional
              training and/or support as necessary based on the incident; take
              appropriate action, including referring uses of force that may vi-
              olate law or CPD policy to COPA.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                    March 1, 2019                       Met      ✔ Missed

      Preliminary:                 Not in Compliance
      Secondary:                   Not in Compliance
      Full:                        Not in Compliance

     Consent decree ¶233 requires the CPD supervisor to do three things: (1) provide
     timely feedback to officers and superiors after a use-of-force incident, (2) provide
     support or additional training where necessary, and (3) take appropriate action.
     The current General Order 03-02-02 Incidents Requiring the Completion of a Tacti-
     cal Response Report, dated October 16, 2017, requires notifying COPA, but does
     not include details regarding supervisor feedback to officers.

     The proposed revisions to G03-02-02 (dated July 8, 2019) satisfy both require-
     ments. Specifically, it states that the approving supervisor will:

      “if appropriate: provide timely, constructive feedback to the member engaged
       in the reportable use of force and the reviewing supervisor”; and

      “determine if the member’s use of force requires a notification to the Civilian
       Office of Police Accountability (COPA) to obtain a complaint log (CL) number. A
       notification to COPA is required for all incidents involving the uses of force that
       may violate the law or Department policy.”

     The consent decree assigns these responsibilities to the reviewing supervisor, but
     the revised policy assigns the responsibilities to the approving supervisor. This re-
     quires clarification. During this reporting period, the CPD was unable to fulfill the
     IMT’s request to provide data on how many times supervisors have referred cases
     to COPA.




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                                 Use of Force: ¶234
              234. CPD will continue to require the reviewing supervisor to doc-
              ument in a Tactical Response Report – Investigation (“TRR-I”), or
              in any other similar form of documentation CPD may implement,
              his or her detailed assessment of compliance with CPD policy,
              any constructive feedback, and any required or recommended
              action. In addition, the reviewing supervisor will include in the
              TRR-I or in any other similar form of documentation CPD may
              implement, the identities of CPD members on scene during the
              incident who are reasonably believed to have relevant
              knowledge or information regarding the reportable use of force.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                    March 1, 2019                       Met      ✔ Missed

      Preliminary:                 Not in Compliance
      Secondary:                   Not in Compliance
      Full:                        Not in Compliance

     The proposed revisions to the General Order 03-02-02, Incidents Requiring the
     Completion of a Tactical Response Report, dated July 8, 2019, address the require-
     ments of ¶234. Specifically, the revised policy states that the assigned supervisor
     will do the following:

      “determine if the member’s use of force requires a notification to the Civilian
       Office of Police Accountability (COPA) to obtain a complaint log (CL) number. A
       notification to COPA is required for all incidents involving the use of deadly
       force . . . . uses of force that may violate the law or Department policy”;

      “if appropriate: provide timely, constructive feedback to the member engaged
       in the reportable use of force and the reviewing supervisor”; and

      “indicate the Department members who were identified in the incident report
       as being on the scene of the use of force incident or who are reasonably be-
       lieved to have relevant knowledge or information regarding the reportable use
       of force incident.”

     The consent decree specifies that these responsibilities must be carried out by the
     reviewing supervisor. However, in the proposed policy these responsibilities are to
     be carried out by the approving supervisor.




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                                  Use of Force: ¶235
              235. All district-level supervisory review documentation regard-
              ing a reportable use of force incident must be completed within
              48 hours of the incident, unless an extension is approved by a
              command staff member.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                    March 1, 2019                       Met      ✔ Missed

      Preliminary:                 Not in Compliance
      Secondary:                   Not in Compliance
      Full:                        Not in Compliance

     The CPD’s current use-of-force policy does not address the time limits for supervi-
     sors to complete their review. During interviews with CPD district lieutenants in
     July 2019, various supervisors provided differing input on the appropriate time to
     complete the supervisory review. Some noted that reviews should be completed
     by the end of the tour of duty and others noted that reviews be completed within
     24 to 48 hours of the incident. Supervisors generally preferred to finish their re-
     view before the end of a tour of duty, but indicated that more time may be needed
     in exceptional, very involved cases, such as those with multiple officers.

     The proposed revisions to the General Order 03-02-02, Incidents Requiring the
     Completion of a Tactical Response Report (dated July 8, 2019), address the require-
     ments of ¶235. Specifically, it states the following: “the investigation of the inci-
     dent and completion and approval of all TRR-Is will be completed within 48 hours
     of the use of force incident, unless an extension is approved by the appropriate
     exempt-level supervisor.” When the CPD finalizes this policy, it will be in Prelimi-
     nary compliance with this paragraph.

     To review Full compliance, the IMT plans to focus on complicated multi-officer
     cases to ascertain whether the CPD is meeting the time limits for supervisory re-
     views.




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                   Use of Force: Foundational Paragraphs
     As noted in the Monitoring Plan for Year One, the IMT has identified several “foun-
     dational paragraphs” within the Use of Force section of the consent decree, which
     include ¶¶160–67, 173, 176–78, 181–87, 197–200, 202–16, and 228. During our
     first reporting period, we assessed two of these foundational paragraphs, ¶¶160
     and 161.

                                             ***

        Consent Decree ¶160
              160. CPD will establish and maintain clear channels through
              which community members can provide input regarding CPD’s
              use of force policies and propose revisions or additions to those
              policies. CPD will regularly review the input received, including
              during the biennial review process.

     Compliance Status
     It is apparent upon reviewing the CPD’s use-of-force policies that the CPD began
     many reforms before the issuance of the consent decree. The CPD sought and re-
     ceived community input on its use of force policies and practices between 2015
     and 2017.

     As the IMT looks at the critical importance of community input in guiding the fu-
     ture of the City and the CPD, it acknowledges that the CPD has begun to make
     changes in its use of force policies at the urging of the community.

     While the CPD’s community engagement efforts remain a concern for the IMT, we
     appreciate the CPD’s recent efforts to solicit community comments on its pro-
     posed Firearm Pointing policy in July 2019. The CPD received more than 260 com-
     ments that it is currently reviewing. On an August 29, 2019 conference call with
     the CPD, however, we queried whether the CPD has policies or practices in place
     regarding responses to community input. The CPD was unable to provide any pro-
     cess or documentation in this area.

     In the early stages of our monitoring efforts, it is important to note the role that
     the community has played in driving change to date. Community input has been
     essential, but ensuring community input is solicited in a timely fashion and contin-
     uing to meet the demands of the consent decree will be a challenge. We believe it
     will be critical for the CPD to obtain and respond to community input early in the
     process, not as the last step.




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        Consent Decree ¶161
              ¶161 CPD recently adopted de-escalation as a core principle.
              CPD officers must use de-escalation techniques to prevent or re-
              duce the need for force whenever safe and feasible. CPD officers
              are required to de-escalate potential and ongoing use of force
              incidents whenever safe and feasible through the use of tech-
              niques that may include, but are not limited to, the following: a.
              using time as a tactic by slowing down the pace of an incident;
              b. employing tactical positioning and re-positioning to isolate
              and contain a subject, to create distance between an officer and
              a potential threat, or to utilize barriers or cover; c. continual com-
              munication, including exercising persuasion and advice, and
              providing a warning prior to the use of force; d. requesting assis-
              tance from other officers, mental health personnel, or special-
              ized units, as necessary and appropriate; and e. where appropri-
              ate, use trauma-informed communication techniques, including
              acknowledging confusion or mistrust, or using a respectful tone.

     Compliance Status
     De-escalation is a principle that was adopted by the CPD in October 2017, when it
     revised its use of force policy. The emphasis on the need for de-escalation is re-
     flected in every policy related to use of force, whether it be a policy regarding fire-
     arms, Tasers, batons, or oleoresin capsicum (OC) spray.

     Within the 2019 use of force scenario-based training, a department member’s
     ability to use de-escalation techniques is put to the test. The ability to use distance,
     speech, tone, empathy, and other tools to peacefully resolve a situation are em-
     phasized in the training. Officers are trained in tactics to use in difficult situations
     and in several scenarios that officers are likely to encounter.

     Probably the most critical factor in assessing the CPD’s commitment to de-escala-
     tion is the need to describe the de-escalation strategies used during a given inci-
     dent in the narrative section of the proposed revision of the TRR. Specifically, when
     reporting a use-of-force incident, the CPD member must describe in detail what
     steps he or she used to de-escalate a situation. In law enforcement, what gets
     measured gets done. Insisting that officers describe in detail what steps they took
     to de-escalate, rather than just check a box, reinforces to CPD members that de-
     escalation is a core principle. The IMT recognizes these efforts to date, but we be-
     lieve that achieving compliance and demonstrating that de-escalation is a core
     principle remains a work in progress. The IMT will continue working with the Par-
     ties to assess compliance holistically.




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     The CPD should provide more clarity and direction to its CPD members on de-es-
     calation strategies in both its policies and training.

     As the CPD finalizes the use of force policy suite, the IMT recommends that the
     CPD provide more detailed examples of various de-escalation techniques in each
     policy, rather than rely on the boilerplate language that is at the front end of each
     policy. The CPD should also continue to explore innovative de-escalation tactics
     and best practices.




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     V. Recruitment, Hiring & Promotions
                                 Guiding Principles
     The IMT will assess compliance with the Recruitment, Hiring, and Promotions par-
     agraphs in accordance with the consent decree’s “Guiding Principles.” These prin-
     ciples “are intended to provide the Court, the Monitor, and the public with the
     context for the subsequent substantive requirements” and “the overall goals”
     (¶757):

             249. Having a department that recruits, hires, and promotes of-
             ficers who are qualified to meet the increasingly complex needs
             of law enforcement and that reflects a broad cross section of the
             Chicago community in which it serves is critical to accomplishing
             the following goals: running a professional police force; building
             community trust and confidence; increasing legitimacy and ac-
             ceptance of CPD’s supervision and accountability systems; and
             reducing perceptions of bias.

             250. The provisions of this Agreement are designed to ensure
             that CPD attracts, hires, retains, and promotes individuals who
             are equipped to perform their jobs safely, effectively, and in ac-
             cordance with the law, CPD policy, and the terms of this Agree-
             ment. Further, this Agreement is designed to ensure that CPD
             promotes individuals who are capable of: providing effective su-
             pervision; guiding officers under their command on lawful, safe,
             and effective policing; and holding officers accountable for mis-
             conduct.

             251. The City and CPD’s recruitment, hiring, and promotions pol-
             icies and practices will show a commitment to attracting, hiring,
             and promoting qualified candidates at all ranks that reflect a
             broad cross section of the Chicago community the Department
             serves.

             252. The Parties acknowledge that the City and CPD are currently
             subject to the City of Chicago Police Department Hiring Plan for
             Sworn Titles (“Hiring Plan”), dated May 14, 2014, which may be
             subject to change in the future.




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     Summary of Compliance Assessments
     There are no deadlines for the Recruitment, Hiring, and Promotions section in the
     first reporting period. Nonetheless, the IMT has worked to familiarize itself with
     this topic area and the City’s corresponding efforts.

     The CPD has recruiting and hiring processes that are intended to identify and pro-
     cess large numbers of police officer candidates on an ongoing basis and to identify
     and select the best qualified candidates for promotion. CPD personnel have indi-
     cated that reforming the promotional processes is one of highest consent-decree-
     related priorities.43 The IMT understands that hiring and promotions are both
     driven by the City’s Hiring Plan.44

     The deadlines to assess the CPD’s recruitment, hiring, and promotions processes
     start in 2020. The consent decree requires the CPD to secure expert services to
     assess its recruitment and hiring processes to ensure that its policies and practices
     comply with the law and are transparent by December 31, 2020.45 It also requires
     that “within 18 months of the Effective Date, and at least every three years there-
     after, the CPD will obtain an independent expert assessment of its promotions pro-
     cesses for the ranks of Sergeant and Lieutenant to ensure that its policies and prac-
     tices comply with the law, are transparent,” and comply with the consent decree.46
     The consent decree further requires that “within 365 days of the Effective Date,
     the CPD will develop strategies to increase transparency and awareness about the
     promotions process for the ranks of Captain and Commander, including, but not
     limited to, criteria for promotions and promotion decisions.”47 While compliance
     deadlines for this topic area fall outside the first reporting period, the IMT is con-
     cerned that promotional-exam processes that precede reforms may further exac-
     erbate officer suspicions and distrust.

     The IMT met with the CPD and its human-resources personnel onsite in July 2019.
     We discussed recruitment, hiring, and promotions processes. We also have estab-
     lished and continue bi-weekly calls in which the IMT and the Parties discuss issues
     regarding consent-decree requirements.




     43
          See Police Foundation, Opinions of Officers of the Chicago Police Department on the Upcoming
          Consent Decree: A Report to the State of Illinois Office of the Attorney General (July 2018),
          available at http://chicagopoliceconsentdecree.org/wp-content/uploads/2018/07/Opinions-
          of-Officers-of-the-Chicago-Police-Department-on-the-Upcoming-Consent-Decree-Final.pdf.
     44
          The City’s various hiring plans are available on their website. See City, Human Resources,
          https://www.chicago.gov/city/en/depts/dhr/supp_info/hiring_plans.html.
     45
          See ¶258.
     46
          ¶261.
     47
          ¶264.


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     VI. Training
                                 Guiding Principles
     The IMT assessed compliance with the applicable Training paragraphs in accord-
     ance with the consent decree’s “Guiding Principles.” These principles “are in-
     tended to provide the Court, the Monitor, and the public with the context for the
     subsequent substantive requirements” and “the overall goals” (¶757):

             265. CPD will enhance its recruit training, field training, in-ser-
             vice training, and preservice promotional training so that they
             are sufficient in duration and scope to prepare officers to comply
             with CPD directives consistently, effectively, and in accordance
             with the law, CPD policy, best practices, and this Agreement.

             266. CPD training will reflect its commitment to procedural jus-
             tice, de-escalation, impartial policing, and community policing.

             267. CPD training will convey CPD’s expectations that officers
             perform their jobs diligently and safely, and have an understand-
             ing of, and commitment to, the constitutional rights of the indi-
             viduals they encounter.

             268. The training required under this Agreement is set out in this
             section and, for specific topic areas, in the Community Policing,
             Impartial Policing, Crisis Intervention, Use of Force, Officer Well-
             ness and Support, and Accountability and Transparency sections.




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     Summary of Compliance Assessments
     In this first reporting period, the IMT assessed the CPD’s compliance with five par-
     agraphs of the consent decree within the Training topic area (¶¶320, 323, 336, and
     339–340).

     The CPD met its deadline for two of the five paragraphs (¶¶320 and 323*) and
     missed its deadlines for three of the paragraphs (¶¶ 336, 339, and 340).48 The IMT
     determined that the CPD achieved Preliminary compliance for ¶320(a) and did not
     achieve Secondary or Full compliance for any of the five paragraphs.

     To address the lack of mandatory annual training, the City and the CPD committed
     substantial training efforts, even before the effective date of the consent decree.
     In fact, ¶318 mentions many of these efforts:

                318. The Parties recognize that CPD has begun to develop and
                implement an In-Service Training Program for its officers. The
                Parties acknowledge that CPD has developed a project plan es-
                tablishing development and implementation of the In-Service
                Training Program from 2018 through 2019 that includes the fol-
                lowing components: a. a list of planned courses, including the
                status of the development and approval of any new course cur-
                ricula; b. the dates that CPD officers collectively will start and
                complete the planned courses; c. the identification of any need
                for additional instructors, equipment, and training facilities and
                a schedule for addressing the needs; and d. a list of CPD person-
                nel responsible for overseeing each project plan task.

     During this reporting period, the CPD worked to build and improve its in-service
     training and field training programs and worked to train all CPD members on the
     consent decree’s requirements. These efforts included meeting with hundreds of
     officers during standing roll calls. The IMT reviewed various training documents
     and looks forward to the CPD’s progress during the next reporting period.




     48
          We have placed an asterisk on ¶323, because the City and the CPD did not provide sufficient
          proof that they met the deadline—which they did—until after the reporting period. Because
          the IMT believes this was the result of a genuine misunderstanding regarding what evidence
          the City and the CPD needed to provide to prove compliance, we have included this deadline
          as met in this report. We cannot, however, find that the City and the CPD met compliance with
          ¶323, because we did not receive the requisite proof within the reporting period. The City, the
          CPD, the other relevant entities, the OAG, and the IMT are actively working to clarify the req-
          uisite levels of evidence for the next reporting period. See generally The City of Chicago’s
          Achievements and Challenges section, above.


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                                    Training: ¶320
              320. The In-Service Training Program will require that all non-
              probationary police officers who are active duty and available
              for assignment, including supervisors and command staff, re-
              ceive, at a minimum, the following amount of in-service training
              each year: a. 16 hours by the end of 2018; b. 24 hours by the end
              of 2019; c. 32 hours by the end of 2020; and d. 40 hours by the
              end of 2021, and in each subsequent year.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)

      ¶320(a) Deadline:            December 31, 2018              ✔ Met              Missed

                                   ¶320(a)                       ¶320(b – d)
      Preliminary:                 In Compliance                 Not Yet Applicable
      Secondary:                   Under Assessment              Not Yet Applicable
      Full:                        Under Assessment              Not Yet Applicable

     The City and the CPD met Preliminary compliance by the first deadline in ¶320.
     The IMT reviewed the CPD Training Oversight Committee (TOC) records, CPD poli-
     cies, training plans, lesson plans, curricula, logs, and sign-in sheets to determine
     the compliance status of this paragraph. Special Order 11-10-01, “Training Notifi-
     cation and Attendance Responsibilities,” establishes the minimum number of in-
     service training hours required for 2019, 2020, 2021, and subsequent years.

     The CPD did not provide the IMT with a policy that establishes the minimum num-
     ber of training hours for 2018 as required in ¶320a. However, a Bureau of Organi-
     zational Development Education and Training Division memo, dated December 31,
     2018, identifies the in-service training courses provided, the number of sworn
     members who needed in-service training in 2018, and the number and percentage
     trained as of December 31, 2018. Between 91.5% and 99.1% of personnel who
     were required to receive the training successfully completed it.

     While the 16-hour requirement for 2018 was not established by a written policy,
     retrospective department records support 16 hours as a baseline training practice.
     Therefore, the CPD has met the Preliminary requirement for this paragraph. At the
     end of the reporting period, the IMT was still assessing the 2018 training records
     for Secondary and Full compliance.

     The Secondary and Full compliance for the rest of ¶320 cannot be met until the
     end of 2021.




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                                         Training: ¶323
               323. As part of the In-Service Training Program, mandatory and
               elective courses will be apportioned as follows: a. in 2018, CPD
               will require that each officer receive at least 16 hours of in per-
               son mandatory courses; b. in 2019, CPD will require that each
               officer receive at least 16 hours of in person mandatory courses,
               with the remaining 8 hours to be provided either as mandatory
               or elective courses, as determined by the TOC; c. in 2020, CPD
               will require that each officer receive at least 24 hours of in-per-
               son mandatory courses, with the remaining 8 hours to be pro-
               vided either as mandatory or elective courses, as determined by
               the TOC; d. starting in 2021, and every year thereafter, CPD will
               require that each officer receive at least 24 hours of in-person
               mandatory courses with the remaining 16 hours to be provided
               either as mandatory or elective courses, as determined by the
               TOC; and e. this Agreement does not require CPD to provide
               more than 40 hours of annual department-wide in-service train-
               ing.

     Compliance Progress               (Reporting Period: March 1, 2019, through August 31, 2019)

      ¶323(a) Deadline:                December 31, 2018               ✔ Met*             Missed

                                       ¶323(a)                        ¶323(b – e)
      Preliminary:                     Not in Compliance              Not Yet Applicable
      Secondary:                       Not in Compliance              Not Yet Applicable
      Full:                            Not in Compliance              Not Yet Applicable

      * As we explain further below, the IMT found that the City met the December 31, 2018 deadline
        for ¶323(a), but the City and the CPD did not provide the IMT with sufficient evidence until
        after the reporting period ended.

     The CPD undertook an enormous effort to train its entire workforce in a com-
     pressed timeframe. There is no doubt that CPD provided training, but to achieve a
     compliance status, the City and the CPD is also required to provide sufficient evi-
     dence that the training met Preliminary, Secondary, and Full compliance. The
     deadline has an asterisk because the CPD did not sufficiently demonstrate that it
     had provided at least 16 hours of in person mandatory courses in 2018 until after
     the reporting period. As a result, we cannot say that we found that the CPD was in
     any level of compliance at the end of the reporting period. Thus, we will provide a
     more complete analysis this paragraph in the next monitoring report.




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     As referenced in ¶320 above, the CPD established the requisite number of training
     hours for 2019 and following years. The apportionment of hours for 2019, how-
     ever, does not specifically track ¶323 requirements. The TOC-approved 2019 Train-
     ing Plan, for example, requires 16 hours of use-of-force training and eight hours of
     training for either implicit bias, Law Enforcement Medical and Rescue Training (LE-
     MART), or cardiopulmonary resuscitation (CPR).

     The IMT reviewed additional lesson plans, curricula, and other records to assess
     the content and flow of these training classes. While IMT members attended part
     of a 16-hour use-of-force in-service training in July 2019, the City did not provide
     proof of attendance records within the first reporting period. Moreover, the IMT
     had not yet examined the lesson plans for the 2018 and 2019 mandatory and elec-
     tive in-service training classes by the end of the reporting period. Therefore, while
     it appears that the use-of-force in-service classes were in person, the IMT needed
     more information before the end of the reporting period to assess compliance.
     The CPD did not provide the requisite evidence that the CPD met the “in person”
     criteria, and the IMT did not review or confirm that information until after the re-
     porting period ended.49




     49
          The IMT amended this section from a previous version provided to the Parties. See, e.g., At-
          tachment B at 2.


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                                     Training: ¶336
              336. Within 30 days of the Effective Date, CPD will develop a for-
              malized structure for the field training component to ensure con-
              sistency across districts. This structure will include a process for
              selecting which supervisors will be shadowed and guidance ma-
              terials to ensure that the topics and information regarding su-
              pervisor responsibilities covered during the field training compo-
              nent are consistent with CPD policy and this Agreement.

     Compliance Progress            (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                     March 30, 2019                      Met      ✔ Missed

      Preliminary:                  Not in Compliance
      Secondary:                    Not in Compliance
      Full:                         Not in Compliance

     The IMT reviewed five compliance documents and 10 reference documents to as-
     sess compliance with ¶336. The compliance submission materials included three
     curricula and two Special Orders. The reference materials included three forms,
     four policies, and three training guides. The IMT submitted review comments to
     the CPD, followed by explanatory calls with the City, the CPD, and the OAG. At the
     end of the reporting period, the proposed Special Orders, draft curricula, and train-
     ing guides—designed to ensure consistency across districts—were still in develop-
     ment.




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                                         Training: ¶339
               339. Within 90 days of the Effective Date, CPD will require that
               all members who are active duty and available for assignment
               are provided with training on the requirements of this Agree-
               ment, together with its goals, implementation process, and time-
               lines.

     Compliance Progress                (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                         May 30, 2019                        Met      ✔ Missed

      Preliminary:                     Not in Compliance
      Secondary:                       Not in Compliance
      Full:                            Not in Compliance

     During the first reporting period, the CPD developed an electronic training course
     to deliver to CPD members through the CPD’s eLearning platform. While the IMT
     and the OAG have reviewed multiple iterations of these materials, the CPD did not
     reach Preliminary compliance, because the CPD did not complete the final, ap-
     proved version within the reporting period. (To avoid confusion for current CPD
     members, however, we note that the IMT has now approved the training and the
     CPD has released it.)

     The CPD created eLearning accounts to provide the IMT and the OAG with access
     to the platform and training. The IMT and the OAG reviewed the proposed training
     to ensure that it covers critical consent decree areas and is presented in a format
     that maximizes students’ ability to absorb the training. The IMT and the OAG rec-
     ommended several content- and format-enhancing revisions. The CPD received
     and incorporated many of the recommended revisions into an updated draft
     eLearning course. The IMT and the OAG were evaluating the updated draft at the
     end of the IMR-1 reporting period.

     In addition to creating the eLearning course, the CPD also provided documents
     that indicate that the CPD has undertaken several additional efforts to educate
     department members about the ¶339 requirements. According to the CPD, those
     efforts include roll call briefings, department-wide messaging from the Superin-
     tendent, and the Office of Reform Management blog.50




     50
          City representatives informed the IMT that the CPD’s Office of Reform Management maintains
          an internal blog that provides additional information to the Department about the consent
          decree and provides answers to frequently asked questions concerning the consent decree.


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                                     Training: ¶340
              340. In connection with issuing a policy or procedure pursuant to
              this Agreement, CPD will ensure that: a. all relevant CPD mem-
              bers review their responsibilities pursuant to the policy or proce-
              dure, including the requirements that each member is held ac-
              countable for their compliance and is required to report viola-
              tions of policy; b. supervisors of all ranks are informed that they
              will be held accountable for identifying and responding to policy
              or procedure violations by members under their direct com-
              mand; and c. CPD can document that each relevant CPD officer
              or other employee has received and reviewed the policy.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                    May 30, 2019                        Met      ✔ Missed

      Preliminary:                 Not in Compliance
      Secondary:                   Not in Compliance
      Full:                        Not in Compliance

     The IMT reviewed four documents to assess compliance with this paragraph: a re-
     port on In-Service Compliance Rates by Bureau; General Message Reference
     #249723, dated August 15, 2019; Special Order 11-10-01; and General Message
     Reference #249968, dated August, 26, 2019. The “Report” tracks detectives train-
     ing attendance. The CPD required supervisors to read the two General Messages
     to CPD members at roll call for five consecutive days to reach CPD members across
     shifts and schedules. The Special Order includes “Training Notification and Attend-
     ance Responsibilities.” The CPD has not yet adopted a policy document or training
     offering that includes the language specified in 340(a) and (b), or the assurances
     in 340(c). The IMT will work with the CPD during the upcoming period to establish
     Preliminary compliance.




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     VII. Supervision
                                 Guiding Principles
     The IMT will assess compliance with the Supervision paragraphs in accordance
     with the consent decree’s “Guiding Principles.” These principles “are intended to
     provide the Court, the Monitor, and the public with the context for the subsequent
     substantive requirements” and “the overall goals” (¶757):

             341. Effective supervisors, who lead by example and actively en-
             gage with the subordinates under their direct command, play a
             critical role in ensuring lawful, safe, effective, and community-
             centered policing. To achieve this outcome, the Parties agree to
             the requirements set out below.

             342. The provisions of this Agreement are designed to ensure
             that CPD supervisors provide the effective supervision necessary
             for members to perform their duties lawfully, safely, and effec-
             tively and for members to improve and grow professionally. Fur-
             ther, the provisions of this Agreement are designed to allow su-
             pervisors to spend time monitoring and training members under
             their direct command so as to provide adequate opportunities to
             prevent, promptly identify, and promptly correct adverse officer
             behavior. This meaningful supervision will facilitate the estab-
             lishment and re-enforcement of a culture of community policing,
             community and officer safety, and accountability throughout the
             Department.

             343. CPD should have the staffing necessary to promote lawful,
             safe, effective, and community-centered policing; provide effec-
             tive supervision; ensure officer safety and accountability; and im-
             plement the terms of this Agreement.

             344. Immediate supervisors of all ranks are responsible for su-
             pervising, managing, and overseeing, as appropriate, the day-
             to-day work activities of members under their direct command.

             345. Supervisors of all ranks are accountable for the perfor-
             mance of subordinate members directly observed or under their
             direct command.

             346. Effective supervisors will: a. engage in activities and con-
             duct that support the mission and goals of the Department, in-
             cluding those set forth in this Agreement; b. model appropriate



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             conduct, including abiding by high standards of integrity and ad-
             hering to the United States Constitution and other laws, CPD pol-
             icy, and the terms of this Agreement; and c. consistently demon-
             strate professionalism, courtesy, and respect towards all people
             with whom they interact.




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     Summary of Compliance Assessments
     The consent decree does not include any deadlines for the Supervision section for
     the first reporting period. Nonetheless, the IMT has worked to familiarize itself
     with this topic area and the City’s corresponding efforts.

     Many of the CPD’s policies give direction and guidance to CPD supervisors. Our
     initial reviews of current and draft policies indicate many of them clearly define
     supervisor duties and responsibilities. In its conversations with the CPD, the IMT
     has reinforced the importance of establishing accountability at all levels and the
     importance of adopting policies that will guide accountability and transparency.
     Supervisors must play an active role in helping the CPD reaching operational com-
     pliance. Policy and training are effective ways to inform organizational expecta-
     tions, but supervisors must accept their roles in ensuring that change is accepted
     and practiced among officers.

     The CPD has begun briefing and training all supervisors on the various elements of
     the consent decree, encouraging them to ask questions and clearly communi-
     cating the importance of establishing compliance at all levels, especially the super-
     visory level. The CPD has developed training guides for newly promoted supervi-
     sors requiring them to shadow supervisors to gain field experience and to appre-
     ciate the responsibilities before they assume their new position.

     The CPD must ensure that supervisors receive consistent and appropriate training
     in their management responsibilities. IMT interviews with supervisors have re-
     vealed that many supervisors struggle with balancing their on-street duties with
     administrative responsibilities.

     The consent decree requires the CPD to begin implementing a Unity of Com-
     mand/Span of Control model to help ensure that supervisors have more opportu-
     nities to effectively monitor, train, and support the officers they supervise. The
     CPD has begun those efforts by collecting baseline requirements and analyzing
     workflow. Thus far, the CPD has focused its analysis on calls for service data, self-
     initiated assignments, training, proactive policing, community engagement oppor-
     tunities, and administrative duties. Each of these elements will help address the
     quantity and quality of work. The goal is to ensure all supervisors may focus upon
     their squads by reducing the number of officers they supervise during any one shift
     and allow supervisors to perform the duties and responsibilities associated with
     their role. The IMT looks forward to the CPD’s continued work on these issues.




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     VIII. Officer Wellness and Support
                                  Guiding Principles
     The IMT assessed compliance with applicable Officer Wellness and Support para-
     graphs in accordance with the consent decree’s “Guiding Principles.” These guide-
     lines “are intended to provide the Court, the Monitor, and the public with the con-
     text for the subsequent substantive requirements” and “the overall goals” (¶757):

              377. In fulfilling their duties, CPD members expose themselves to
              significant danger, high stress, and a wide spectrum of human
              tragedy. There is growing recognition that psychological and
              emotional wellness are critical to officers’ health, relationships,
              job performance, and safety. The City and CPD have an obliga-
              tion to help CPD members cope with the consequences that
              come from their service to the public.

              378. The City and CPD’s obligation to CPD members includes
              providing adequate support systems to treat members experi-
              encing mental health, substance abuse, and other emotional
              challenges.

              379. The City and CPD’s obligation to CPD members also includes
              equipping them in a manner that enables them to do their jobs
              as safely as reasonably possible. CPD will ensure that the safety
              of its members is not jeopardized by equipment and technology
              that is outdated, broken, or in need of repair or replacement.

              380. The City and CPD will implement the following requirements
              in order to achieve a healthy, effective, and constitutionally com-
              pliant police force.




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     Summary of Compliance Assessments
     In this first reporting period, the IMT assessed the CPD’s compliance with two par-
     agraphs of the consent decree within the Officer Wellness and Support topic area
     (¶¶387 and 409).

     The CPD missed its deadline for ¶387 and met its deadline for ¶409. The IMT de-
     termined that the CPD did not achieve any level of compliance for ¶387 and
     achieved Preliminary compliance for ¶409.

     During this reporting period, the CPD advanced its efforts to comply with the re-
     quirements of the Officer Wellness and Support section. Notably, the CPD hosted
     an Officer Wellness Summit in partnership with the University of Chicago Crime
     Lab in June and hosts a periodic Superintendent’s Speaker Series, which is focused
     on officer-wellness topics. The CPD also hired seven additional licensed mental
     health professionals.




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                               Officer Wellness: ¶387
              387. Within 180 days of the Effective Data, CPD will develop and
              implement a roll call training to explain and address the effects
              on Firearm Owners Identification (“FOID”) card eligibility, if any,
              when a CPD member seeks or receives CPD support services, in-
              cluding, but not limited to, counseling and mental health treat-
              ment.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                    August 28, 2019                     Met      ✔ Missed

      Preliminary:                 Not in Compliance
      Secondary:                   Not in Compliance
      Full:                        Not in Compliance

     The IMT reviewed the CPD’s Project Plan for researching, developing, and imple-
     menting an eLearning module and decentralized training to comply with ¶387. The
     IMT notes that the Project Plan did not comply with the August 28, 2019 deadline
     for developing and implementing this training. Appreciating the importance of le-
     gal and executive review of the subject matter at issue, the IMT understands the
     CPD’s extended timeline. However, the CPD has fallen short of meeting even the
     extended timelines it prescribed in the Project Plan.

     During the Officer Wellness bi-weekly call on September 16, 2019, the CPD ex-
     plained that the content of the eLearning had been sent out on September 10,
     2019, for internal review, and that the CPD’s timeframe for implementation de-
     pended on the timing of those reviews and the extent of the feedback received
     from reviewers. While the IMT again appreciates the importance of these reviews,
     with this degree of uncertainty now driving implementation timelines, the IMT is
     concerned that the CPD and its City partners are not fully appreciating the urgency
     of meeting this requirement. Over the next reporting period, the IMT expects the
     CPD to dedicate the resources necessary to at least bring itself on track to meet
     the deadlines it set forth in the Project Plan.




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                              Officer Wellness: ¶409
              409. CPD has implemented a mandatory program for members
              who have experienced an officer-involved firearms discharge
              that consists of peer group discussions and other components.
              CPD will ensure that this program is overseen by a licensed men-
              tal health professional assigned to the Professional Counseling
              Division, reflects best practices, and comports with CPD’s use of
              force policies and training.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                    March 1, 2019                  ✔ Met              Missed

      Preliminary:                 In Compliance
      Secondary:                   Under Assessment
      Full:                        Under Assessment

     The CPD put in place a mandatory program for affected officers and, thus, met
     Preliminary compliance with ¶409. We highlight that a licensed clinical psycholo-
     gist directs the Commission on Accreditation for Law Enforcement Agencies
     (CALEA) qualified program and now oversees a team of 11 other in-house, licensed
     clinicians who support various training efforts, such as those required by ¶409. It
     is evident that the CPD, from its executive leadership down, continues to research
     and develop additional opportunities to address officer wellness concerns. The
     IMT also notes that the CPD continues its outreach with both academic and law
     enforcement partners nationwide to advance the state of knowledge around of-
     ficer wellness and its implications on officer performance. Throughout this report-
     ing period, the IMT also heard feedback from community members about the im-
     portance of officer wellness and mental health.




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     IX. Accountability and Transparency
                                   Guiding Principles
     The IMT assessed compliance with applicable Accountability and Transparency
     paragraphs in accordance with the consent decree’s “Guiding Principles.” These
     principles “are intended to provide the Court, the Monitor, and the public with the
     context for the subsequent substantive requirements” and “the overall goals”
     (¶757):

              419. Holding public servants accountable when they violate law
              or policy is essential to ensuring legitimacy and community con-
              fidence.

              420. A robust and well-functioning accountability system in
              which CPD members are held to the highest standards of integ-
              rity is critical to CPD’s legitimacy and is a priority of CPD. A cul-
              ture of accountability also promotes employee safety and mo-
              rale, and improves the effectiveness of CPD operations. Organi-
              zational justice also plays an important role in ensuring that CPD
              members have confidence in the legitimacy of the system that
              holds them accountable.

              421. In order to foster public trust and receive critically important
              community feedback, and promote confidence in CPD, the City
              and CPD will ensure the process for submitting and pursuing
              complaints that allege violations of CPD policy or the law by CPD
              members is open and accessible for all individuals who wish to
              file complaints.

              422. Meaningful community involvement is imperative to CPD
              accountability and transparency. Nothing in this Agreement
              should be construed as limiting or impeding community partici-
              pation in CPD’s accountability system, including the creation and
              participation of a community safety oversight board. OAG and
              the City acknowledge the significant work many of Chicago’s
              community organizations have undertaken and are continuing to
              undertake, including work alongside CPD, in the area of police
              reform and accountability, and OAG and the City know this criti-
              cal work will continue.

              423. The City, CPD, and COPA will ensure that all complaints of
              misconduct, whether from internal or external sources, are thor-
              oughly, fairly, timely, and efficiently investigated in accordance


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             with this Agreement; that all investigative findings are sup-
             ported by the appropriate standard of proof and documented in
             writing; and that all CPD members who commit misconduct are
             held accountable pursuant to a disciplinary system that is fair,
             timely and consistent, and provides due process.




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     Summary of Compliance Assessments
     In the first reporting period, the IMT assessed the City’s compliance with thirty
     paragraphs of the consent decree within the Accountability and Transparency
     topic area, including 10 foundational paragraphs (¶¶425–426, 429, 434, 436, 441–
     444, 448, 455–457, 461, 478–481, 488, 493, 498, 525–526, 528, 530, 538, 542,
     558, 563, and 565).

     This section of the consent decree requires actions by various City entities, includ-
     ing the CPD, the Civilian Office of Police Accountability (COPA), and the Office of
     the Inspector General (OIG). Ultimately, the City bears the responsibility for ensur-
     ing compliance. As a result, if a consent decree paragraph requires actions by mul-
     tiple City entities, we will not find that the City has met Preliminary, Secondary, or
     Full compliance until all those entities have met the corresponding level of com-
     pliance. We explain, however, the status of each entity’s efforts.

     The City met its deadlines for three of the paragraphs that had deadlines this re-
     porting period (¶¶538*, 558, and 565), and it missed its deadlines for the other
     paragraphs.51 The IMT determined that the City achieved Preliminary compliance
     for ¶¶538, 558, and 565 and did not achieve Secondary or Full compliance for any
     of the paragraphs.

     During this reporting period, the IMT worked to gain an understanding of the City’s
     complex accountability systems and spent time with the CPD Bureau of Internal
     Affairs (BIA), COPA, and the OIG. Throughout the reporting period, the IMT re-
     viewed policies, plans, and other documentation, engaging in many hours of dis-
     cussion about the City’s efforts. BIA focused on clarifying policy, achieved a com-
     plete re-write and clarification of its Command Channel Review policy, and took
     steps toward clarifying other policies and internal roles and responsibilities. COPA
     focused on policies, procedures, and training, particularly regarding investigations
     of officer-involved shootings. The IMT looks forward to continued progress on all
     the requirements in the Accountability and Transparency section.52


     51
          We have placed an asterisk on ¶538, because the City did not provide sufficient proof that it
          met the deadline—which it did—until after the reporting period. Because the IMT believes
          this was the result of a genuine misunderstanding regarding what evidence the City needed to
          provide to prove compliance, we have included this deadline as met in this report. While we
          did not receive sufficient evidence that the City and the Police Board met the deadline until
          after the reporting period, we did receive sufficient evidence that the City and the Police Board
          met Preliminary compliance before the end of the reporting period. To avoid using asterisks in
          the future, the City, the CPD, the other relevant entities, the OAG, and the IMT are actively
          working to clarify the requisite levels of evidence for the next reporting period. See generally
          The City of Chicago’s Achievements and Challenges section, above.
     52
          The IMT amended this section from a previous version provided to the Parties. See, e.g., At-
          tachment B at 2.


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               Accountability and Transparency: ¶¶425–26
             425. The City, CPD, and COPA will ensure individuals are allowed
             to submit complaints in multiple ways, including: in person to
             COPA or at a CPD district station, by telephone, online, anony-
             mously, and through third party representatives. To ensure
             broad and easy access to its complaint system, within 90 days of
             the Effective Date: a. the City, CPD, and COPA will make the pro-
             cess for filing a complaint widely available to the public, includ-
             ing in-person, by telephone, and online; b. the City, CPD, and
             COPA will make the process for filing a complaint available elec-
             tronically; c .the City, CPD, and COPA will make information on
             filing a complaint and accompanying instructions accessible to
             people who speak languages other than English and will provide
             telephonic language interpretation services consistent with the
             City’s and CPD’s existing limited English proficiency policies and
             this Agreement; d. the City, CPD, and COPA will ensure individu-
             als may submit allegations of misconduct, regardless of whether
             the individual is a member or perceived member of an identifia-
             ble group, based upon, but not limited to: race, ethnicity, color,
             national origin, ancestry, religion, disability status, gender, gen-
             der identity, sexual orientation, marital status, parental status,
             military discharge status, financial status, or lawful source of in-
             come; e. the City, CPD, and COPA will continue to ensure that
             members of the public may make complaints via telephone using
             free 24-hour services, including by calling 311 and being given
             the option to leave a voicemail for COPA or speak to a CPD su-
             pervisor, and will clearly display this information on their respec-
             tive websites and other appropriate City and CPD printed mate-
             rials; f. the City, CPD, and COPA will ensure that instructions for
             submitting complaints are available via telephone, on-line, and
             in-person; and g. the City and CPD will ensure that complaint fil-
             ing information is prominently displayed on CPD website’s
             homepage, including by linking to COPA’s online complaint form.

             426. As part of the COPA’s system for processing non-confiden-
             tial complaints and administrative notifications (the “intake pro-
             cess”), each complaint and administrative notification will be as-
             signed a unique tracking number. This unique tracking number
             will be linked with all phases of the investigation and disciplinary
             process, through the final disposition.




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     Compliance Progress                (Reporting Period: March 1, 2019, through August 31, 2019)

      ¶425 Deadline:                    May 30, 2019                          Met     ✔ Missed

                                        ¶425                           ¶426
      Preliminary:                      Not in Compliance              Not in Compliance
      Secondary:                        Not in Compliance              Not in Compliance
      Full:                             Not in Compliance              Not in Compliance

     The IMT reviewed websites and written materials and determined that the CPD’s
     and COPA’s guidance for filing complaints lacks sufficient detail to meet Prelimi-
     nary compliance for ¶¶425–26.

     For the CPD, the IMT reviewed a CPD pamphlet regarding how to file a complaint,
     which includes basic information about how complaints may transition from the
     CPD to COPA and vice versa. The pamphlet did not have an accompanying plan
     detailing how the CPD would distribute it, whether it would be produced in lan-
     guages other than English, whether it would be available digitally, or how CPD
     members would be trained on its use. The IMT recognizes that a hard copy pam-
     phlet is important for distribution at community meetings and to those who may
     not be digitally connected, but the CPD must also focus on providing digital com-
     munications.

     Likewise, the IMT reviewed the CPD’s website for information regarding how to
     file a complaint. The complaint-reporting page is currently in a relatively obscure
     location on the CPD’s website, and instructions for filing a complaint contain little
     information regarding how the complaint will be addressed or in what timeframe.
     The IMT searched the CPD’s online policies and could not locate a policy that di-
     rects employees to assist the public in filing a complaint by phone, email, or in
     person.

     In comparison, the CPD’s draft BIA Standard Operating Procedure (SOP) addresses
     ¶¶425(c) and 425(d) by stating that “BIA will make information and accompanying
     instructions available to people who speak languages other than English” and “will
     ensure individuals may submit allegations of misconduct.” This section of the SOP
     does not, however, explain how the CPD will accomplish these tasks.53

     The IMT also has ongoing concerns regarding the actual complaint process. The
     CPD should consider developing a robust process to allow community members to




     53
          While the IMT recognizes that the BIA invested much time, energy, and thought into develop-
          ing the lengthy draft SOP, many sections of the SOP were taken directly from the consent de-
          cree without explaining how the work will be accomplished.


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     engage in the complaint process by making the CPD website more user-friendly
     and understandable, especially for its non-English speaking community members.

     For COPA, the IMT reviewed COPA’s website and determined that it is easy to un-
     derstand and navigate. The complaint process is clearly explained with a graphic
     to help people understand COPA’s role in the City’s overall complaint process.
     COPA does not post its policies and procedures on its website, but the website
     provides COPA’s Rules and Regulations, which provide insight into the complaint
     process. On the other hand, while COPA lists five options for reporting a complaint
     (¶425(f)), the explanation of the phone option does not clarify how people might
     complain on weekends, which may require callers to leave a message or speak to
     someone who is not a COPA employee. Likewise, the online complaint process, for
     instance, currently requires complainants to provide and attest to their first name
     and last name, rather than permitting anonymous complaints.

     In the next reporting period, the IMT will continue to assess the CPD’s and COPA’s
     ongoing work to address the requirements of ¶¶425–26.




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                     Accountability and Transparency: ¶436
              436. Within 90 days of the Effective Date, CPD will ensure that
              there are adequate policies and practices in place to encourage
              and protect CPD members who report potential misconduct by
              other CPD members. Such policies will provide, at a minimum: a.
              that CPD members promptly report any misconduct of which
              they are aware to a supervisor; b. that the supervisor document
              such alleged misconduct and promptly report it to COPA; and c.
              that all forms of retaliation, interference, intimidation, and coer-
              cion against a CPD member who reports misconduct or cooper-
              ates with an investigation of misconduct, are strictly prohibited.

     Compliance Progress            (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                     May 30, 2019                        Met      ✔ Missed

      Preliminary:                  Not in Compliance
      Secondary:                    Not in Compliance
      Full:                         Not in Compliance

     The IMT reviewed the CPD’s relevant policy and SOP and determined that the pol-
     icy fails to meet the requirements of ¶436. Specifically, the IMT reviewed the CPD’s
     General Order 08-01-02, Specific Responsibilities Regarding Allegations of Miscon-
     duct, which addresses the process of reporting misconduct but does not mention
     protecting the reporting CPD member against retaliation, as required. The CPD
     draft BIA SOP attempts to address this requirement by including language from
     ¶436(c), but the draft SOP does not clarify how the CPD will address retaliation
     complaints.

     On the other hand, the officers that the IMT interviewed about G08-01-02 were
     aware of the policy, and several came close to directly quoting parts of the policy.
     Several indicated that they have a duty to immediately report misconduct accord-
     ing to CPD policy and state statute.




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                     Accountability and Transparency: ¶457
              457. Within 90 days of the Effective Date, CPD will create a writ-
              ten policy regarding the circumstances under which BIA will re-
              tain and investigate complaints itself and under which BIA will
              transfer complaints to a CPD district for investigation. The policy
              will include as factors in that decision: consideration of the in-
              volved CPD member’s complaint and disciplinary history and the
              seriousness of the alleged misconduct. It will be designed to en-
              sure that all investigations are completed in a timely and thor-
              ough manner and in compliance with this Agreement.

     Compliance Progress            (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                     May 30, 2019                        Met      ✔ Missed

      Preliminary:                  Not in Compliance
      Secondary:                    Not in Compliance
      Full:                         Not in Compliance

     The IMT reviewed the CPD’s draft BIA SOP, which addresses these requirements,
     and determined that it lacks sufficient detail to meet compliance with ¶457. Spe-
     cifically, ¶457 states that the CPD “will create a written policy,” “will retain” com-
     plaints, and “will transfer” complaints. The draft BIA SOP, in contrast, indicates that
     the cases listed “may be assigned,” but does not specifically address why, when,
     or how an investigation will be transferred to an Accountability Sergeant.

     The IMT suggested that the CPD develop a standalone, public-facing policy for Ac-
     countability Sergeants’ duties and responsibilities, which should include clear di-
     rection regarding the transfer of cases between BIA and a CPD district. The CPD
     may also need to develop a standalone policy for transfer of cases between BIA
     and Accountability Sergeants since the transfer decision appears to depend on
     many factors. It is the IMT’s understanding that the CPD agrees with this sugges-
     tion to create standalone policies and will proceed accordingly.




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                      Accountability and Transparency: ¶478
                478. Within 120 days of the Effective Date, CPD and COPA will
                each review and revise its policies regarding preliminary investi-
                gations, including preliminary investigations of anonymous com-
                plaints, and the process for seeking an override affidavit in the
                absence of a signed complainant affidavit.

     Compliance Progress                 (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                          June 29, 2019                          Met       ✔ Missed

      Preliminary:                       Not in Compliance
      Secondary:                         Not in Compliance
      Full:                              Not in Compliance

     The IMT reviewed all relevant COPA and CPD policies and procedures and deter-
     mined that they lack sufficient clarity to meet Preliminary compliance with ¶478.

     For the CPD, the IMT reviewed the CPD’s draft BIA SOP, which includes a Conduct
     of the Investigation section. This section is over 30 pages long and includes a wide
     range of topics, from investigator conduct and Accountability Sergeants to collect-
     ing evidence and preparing photo lineups. This section also includes the affidavit-
     override process described in the consent decree. The draft BIA SOP also addresses
     preliminary investigations, including some mention of investigative timelines. The
     language, however, is vague and lacks specific timelines and investigative respon-
     sibilities.

     The IMT also interviewed officers during this reporting period. The officers we
     spoke with did not have a full understanding of the CPD’s discipline processes, and
     many said that they would ask a sergeant they trust to learn about the process if
     they were involved in an investigation. A public-facing policy that addresses the
     internal investigative process may alleviate any potential confusion and misinfor-
     mation among CPD officers.54

     For COPA, the IMT reviewed several COPA policies, including policy 3.1.4, Affidavit,
     Affidavit Override, and Affidavit Override Exception; policy 3.1.2, Fact Gathering;
     and policy 3.3.1, Quality Assurance. First, we found policy 3.1.4 to be clear and
     concise, with definitions and references to appropriate statutes, ordinances, and

     54
          The affidavit-override process should very nearly mirror COPA’s policy 3.1.4 entitled Affidavit,
          Affidavit Override, and Affidavit Override Exception (see related comments below), which is
          concise, clearly explains processes, and includes relevant definitions, ordinances, agreements,
          and references for additional information. The IMT recognizes that there may be some con-
          cerns if CPD and COPA policies resemble each other, but this policy—and others that address
          the same or similar procedures—should be consistent.


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     collective bargaining agreements. Second, we found that policy 3.1.2 explained ex-
     pectations for all investigations in a direct manner. While the policy provides ex-
     pectations for the investigative process, it lacks specific direction for COPA investi-
     gators. COPA should consider including a reference to its Investigations Manual in
     this policy. Third, we found that policy 3.3.1 is critical to the expectation of quality
     investigations.

     In addition, the IMT reviewed several COPA policy appendices, which the IMT be-
     lieves could be included or referenced within the Fact Gathering policy.

     Finally, the IMT reviewed COPA’s Investigations Manual and determined that it
     was a comprehensive investigative guide that focuses primarily on major cases,
     such as an officer-involved shooting or death. The IMT has concerns, however, re-
     garding how and when COPA uses the Investigations Manual, if at all. The IMT will
     continue to assess COPA’s use of the Investigations Manual in the following re-
     porting period.




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                     Accountability and Transparency: ¶479
              479. Within 120 days of the Effective Date, CPD and COPA will
              each adopt or review and, to the extent necessary, revise its pol-
              icy establishing investigative timelines, benchmarks, and goals
              by which the progress of investigations will be measured.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                    June 29, 2019                       Met      ✔ Missed

      Preliminary:                 Not in Compliance
      Secondary:                   Not in Compliance
      Full:                        Not in Compliance

     The City did not meet Preliminary compliance with ¶479 in the first reporting pe-
     riod. First, the IMT did not receive documentation regarding timelines, bench-
     marks, and goals for the investigative process from the CPD. The CPD referenced,
     for example, Special Order 08-01-01, Conduct of the Investigation, but this policy
     does not provide specific investigative timelines.

     Second, the IMT reviewed COPA’s Investigations Manual. The manual includes in-
     vestigative benchmarks. In fact, the opening paragraph sets expectations and dis-
     cusses the importance of investigative benchmarks and timelines. On the other
     hand, the manual should give clearer direction for COPA investigators. Likewise, at
     the end of the reporting period, it was not clear to the IMT how or whether COPA
     uses the Investigations Manual.

     Moreover, in late July 2019, COPA submitted policy 3.3.2, Timeliness and Bench-
     marks, for IMT review. While 3.3.2 is clear, it contains open-ended words and
     phrases, such as “best efforts” and “aims.” COPA should include definitions that
     avoid investigative personnel and managers from following different interpreta-
     tions of the policy. Policy 3.3.2 also lacks some of the helpful detail from the COPA
     Investigations Manual. COPA should consider, for example, using language and ta-
     bles from its Investigations Manual to provide additional detail for this policy.




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                      Accountability and Transparency: ¶480
                480. Within 120 days of the Effective Date, the City, CPD, and
                COPA will each develop a policy establishing procedures for
                COPA, BIA, and Accountability Sergeant’s review and considera-
                tion of evidence from civil and criminal litigation.

     Compliance Progress                (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                         June 29, 2019                        Met      ✔ Missed

      Preliminary:                      Not in Compliance
      Secondary:                        Not in Compliance
      Full:                             Not in Compliance

     The City did not meet Preliminary compliance with ¶480 in the first reporting pe-
     riod. The IMT reviewed the City’s relevant draft policy: City Policy Regarding Pro-
     cedures for COPA, BIA, and the Accountability Sergeant’s Review and Consideration
     of Evidence from Civil and Criminal Litigation. The policy provides clear direction
     regarding how and when evidence will be forwarded to COPA, BIA, OIG, or the
     Accountability Sergeants. The policy does not, however, address who makes deci-
     sions, how decisions are made, who should conduct reviews, or how reviews
     should be conducted to ensure that decisions are appropriate. The IMT under-
     stands that the City intends to revise this policy.

     The IMT did not receive information from the CPD regarding ¶480 requirements.
     The policy from the City may serve as the basis for the CPD’s compliance, but it is
     important for the CPD to address these requirements in its own policy or refer to
     the City policy for direction.

     In comparison, the IMT reviewed records from COPA. Specifically, the IMT re-
     viewed COPA policy 1.3.8, Civil and Criminal Complaint Review (revised in August
     2019), which speaks directly to COPA’s process to review and consider evidence
     from civil and criminal litigation.55




     55
          The IMT amended this section from a previous version provided to the Parties. See, e.g., At-
          tachment B at 2. As reflected in the Monitoring Plan, the IMT originally assessed ¶¶481 and
          482 together. Based on feedback from the Parties, we divided our analysis into separate sec-
          tions.


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                     Accountability and Transparency: ¶481
              481. The City, CPD, and COPA will ensure that if CPD, COPA, or
              the OIG requests the Superintendent’s authorization to open an
              investigation concerning incidents that allegedly occurred more
              than five years before the date that COPA, CPD, or the OIG be-
              came aware of the allegations, the Superintendent will respond
              within 30 days.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)


      Preliminary:                 Not in Compliance
      Secondary:                   Not in Compliance
      Full:                        Not in Compliance

     The City did not meet Preliminary compliance with ¶481 in the first reporting pe-
     riod. In response to this paragraph, the City provided the IMT with what it de-
     scribed as “correspondence between CPD and COPA since March 1, 2019 regarding
     requests to reopen investigations concerning incidents that allegedly occurred
     more than five years before the date that COPA became aware of the allegations.”
     These records included three letters from COPA, requesting the CPD Superinten-
     dent to reopen a case, and the Superintendent’s three responses. On the face of
     the letters, two of the Superintendent’s responses were within 30 days (2 days and
     15 days), but one response took 35 days. These records were not sufficient to es-
     tablish any level of compliance, did not include requests from the CPD or the OIG,
     and required follow-up conversations.

     The CPD should develop a standalone policy that directs the Superintendent’s ac-
     tions regarding opening an investigation of incidents that allegedly occurred more
     than five years before the date that COPA, the CPD, or the OIG became aware of
     the allegations. This policy should specifically direct the Superintendent to re-
     spond within 30 days.

     The CPD, COPA, and the OIG should also ensure that they have systems in place to
     track requests and responses to the Superintendent. At the end of the reporting
     period, the IMT’s review of their systems was ongoing. COPA, for example, sent
     the IMT a 374-page 2018 Employee Handbook. This handbook includes policy
     1.3.9, Re-Open Case Procedure, which addresses reopening a case for further in-
     vestigation. By the end of the reporting period, the IMT had not fully reviewed this
     handbook for compliance with this paragraph, because it was not submitted spe-
     cifically for compliance review under the requirements of this paragraph. Likewise,




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     at the end of the reporting period, it was not clear how COPA uses this handbook,
     if at all. 56




     56
          In the City’s written comments, the City “notes that COPA policy 1.3.9 was provided to the IMT
          for review on August 5, 2019.” See Attachment B at 2. Specifically, on August 5, 2019, in re-
          sponse to a request from the IMT, COPA emailed members of the IMT 70 documents. One of
          those documents included a 2018 “Employee Policy Handbook,” which includes 1.3.9 on page
          171 of 374 pages. In the corresponding cover letter, COPA does not refer to 1.3.9 (although it
          does refer to other policies in the handbook), nor did it give the IMT reason to believe that the
          1.3.9 in the 2018 handbook would apply in 2019. In fact, in the cover letter, COPA suggests the
          opposite by asserting that “a large portion of these investigative policies [in the Employee Pol-
          icy Handbook] are under review and thus the better source for our current practice can be
          found in the draft policies (Item No. 1).” Policy 1.3.9 was not included in the draft policies. The
          City did not suggest that the IMT should consider this version of 1.3.9 for compliance purposes
          until after the reporting period. Finally, the City did not provide this document via the agreed-
          upon delivery methods (i.e., secure load files) until after the end of the reporting period. We
          do not include this point to contend that the City did not produce this document within the
          reporting period. Instead, we note that the City and the IMT now have a more reliable produc-
          tion process and line of communication to help prevent this issue in the future.


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                  Accountability and Transparency: ¶488
             488. In addition to the general investigative requirements estab-
             lished in this Agreement, with respect to the investigation of of-
             ficer-involved shootings and deaths, the City and CPD will ensure
             that: a. COPA investigators be provided the opportunity to par-
             ticipate in the preliminary assessment during the immediate af-
             termath of an officer-involved shooting or death to the same ex-
             tent as any CPD member or any other law enforcement agency
             investigating the incident; b. the Chief Administrator of COPA, or
             his or her designee, is present for the first viewing by CPD of
             available video or audio material related to the incident and
             when any audio or video material is collected and preserved at
             or near the scene from CPD or third-party surveillance systems.
             i. the requirements of subparagraph (b), above, will not apply if:
             (1) the Chief Administrator of COPA, or his or her designee, has
             been informed of the incident and is not available; and (2) COPA
             is not on scene and there is a public safety need to review or lis-
             ten to certain available audio or video prior to the COPA arrival
             on scene. c. there is written documentation identifying each CPD
             member who viewed video evidence or listened to audio evi-
             dence at the scene; d. within 30 days of the Effective Date, CPD
             issues a policy providing that: i. involved and witness CPD mem-
             bers do not discuss the facts relating to the incident with any wit-
             ness until interviewed by COPA, except to the extent necessary to
             ensure public safety, as instructed by counsel in relation to civil
             or criminal proceedings, or participating in CPD officer wellness
             programs; ii. COPA may extend the prohibition on discussion to
             the extent necessary to preserve the integrity of the investiga-
             tion; and iii. in no event may this prohibition extend beyond the
             final disciplinary decision, if any. e. involved and witness CPD
             members will be separated, transported separately from the
             scene, and monitored to avoid contact or communications relat-
             ing to the incident until released by the responding supervisor at
             or above the rank of Commander; f. administrative interviews of
             involved and witness CPD members will be audio recorded and,
             where possible, video recorded, with COPA investigators present,
             except that a member may speak with his or her attorney or un-
             ion representative in private; and g. investigators will not delay
             interviewing involved and witness CPD members, and will con-
             duct such interviews as soon as feasible, consistent with any ap-
             plicable collective bargaining agreement. Investigators will doc-
             ument, and make part of the administrative investigative file, all



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                requests made on behalf of involved or witness CPD members to
                reschedule an interview.

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      488(d) Deadline:                  March 31, 2019                        Met     ✔ Missed

      Preliminary:                      Not in Compliance
      Secondary:                        Not in Compliance
      Full:                             Not in Compliance

     The City did not meet Preliminary compliance with ¶488 in the first reporting pe-
     riod. Overall, the IMT reviewed the CPD BIA’s and COPA’s relevant policies and
     noted several concerns, regarding investigative notification, timely responses,
     scene control, and investigative access.

     Moreover, the IMT believes that the CPD and COPA need to better align their pol-
     icies. While there are circumstances when the CPD needs to prevent COPA from
     accessing a scene due to legitimate ongoing safety concerns, the policies must en-
     sure that COPA otherwise receives immediate access to the crime scene and is not
     unduly delayed by untimely notifications. The CPD must not, for example, require
     COPA investigators to wait outside of a crime scene due to safety considerations
     that do not warrant their exclusion. The CPD should include in its policy that the
     CPD will document the arrival of all responders to a scene—including COPA inves-
     tigators—to account for and ensure requisite participation in the investigation. The
     CPD and COPA should continue conversations with the Cook County State’s Attor-
     ney Office to consider roles, responsibilities, and clear communications to develop
     consistent policies.

     Both COPA and the CPD have much work ahead to comply with this paragraph. For
     COPA, the IMT reviewed COPA’s Major Incident Response policy and found that it
     lacked sufficient detail to properly structure a unified, timely response to officer-
     involved critical incidents. COPA’s policy requires clarity regarding the role that
     COPA expects to fulfill.

     Likewise, for the CPD, the IMT reviewed the BIA’s General Order 03-02-03, Fire-
     arms Discharge Incidents Involving Sworn Members policy, and General Order 03-
     06, Officer Involved Death Investigation policy. For these policies to be effective,
     they must clarify the roles of the officers involved, the responding on-duty ser-
     geants and lieutenants, the Crime Prevention Information Center (CPIC), the
     OEMC, responding command and executive level officers, and the Detective Bu-
     reau.57 The IMT provided written comments on both policies and discussed them

     57
          Clarifying these policies may also involve updating the CPD’s policies regarding detectives,
          which currently override the officer-involved-shooting and officer-involved-death policies.


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     with CPD leadership, raising concerns regarding notification, scene control, access,
     and responsibilities.58 By the end of the reporting period, the CPD was in the pro-
     cess of reviewing the IMT’s comments and revising both policies.

     The CPD and COPA versions of the officer-involved-shooting and officer-involved-
     death policies should refer to or mirror one another. COPA representatives have
     expressed concern that COPA may be perceived to lack independence if the COPA
     policy is too closely aligned with the CPD policy. For investigation integrity, how-
     ever, the two policies must align to ensure that both agencies understand and ad-
     here to their roles in officer-involved-shooting and officer-involved-death inci-
     dents.

     The IMT’s work on this paragraph is ongoing to ensure that the relevant policies
     address the unique landscape of these investigations. After completing multiple
     site visits and reviewing many CPD, BIA, COPA, and other City records, the IMT has
     identified several areas regarding the City’s current compliance status with ¶488
     that merit further review. For example, the IMT heard concerns that the CPD’s no-
     tification system and order of notification may delay CPD and COPA responders to
     a scene of an officer-involved critical incident. In the reporting period, the IMT did
     not have the opportunity to raise this concern with CPIC. Moreover, CPIC and the
     Office of Emergency Management and Communications (OEMC) have critical roles
     in the notification process, but their roles lack clarity in the CPD policy. The IMT
     will continue looking into these issues in the coming reporting period.

     Leadership from COPA and the CPD’s Research and Development department have
     indicated willingness to revise and update their policies. The IMT believes that
     both agencies will work together to better align their investigative processes to
     improve the integrity of officer-involved-shooting and officer-involved-death in-
     vestigations.




     58
          The IMT also notes that the CPD’s officer-involved-death policy does not include a Sanctity of
          Life statement, per best practices.


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                     Accountability and Transparency: ¶493
              493. OAG acknowledges that, in many districts, CPD has desig-
              nated Accountability Sergeants whose responsibilities include re-
              ceiving, processing, and investigating complaints made against
              CPD members, which are referred to the districts by BIA. Within
              120 days of the Effective Date, CPD will develop a policy outlining
              the responsibilities of Accountability Sergeants, their respective
              Commanders, and the BIA Lieutenants responsible for supervis-
              ing the Accountability Sergeant’s investigations (“BIA Lieuten-
              ants”). The policy will provide, among other things, a process by
              which: a. within 72 hours of receiving a complaint from BIA for
              investigation, an immediate supervisor will be provided a sum-
              mary of the complaint allegations concerning the involved CPD
              member; b. within seven days of the final disciplinary decision,
              the Commander and an immediate supervisor will be provided
              with the investigative findings, recommended discipline or cor-
              rective action, if any; and c. an immediate supervisor of the in-
              volved CPD member and the Accountability Sergeant will meet
              with the involved CPD member regarding the investigative find-
              ings, recommended discipline or corrective action, if any, unless
              the CPD member declines to meet.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                    June 29, 2019                       Met      ✔ Missed

      Preliminary:                 Not in Compliance
      Secondary:                   Not in Compliance
      Full:                        Not in Compliance

     The City did not meet Preliminary compliance with ¶493 in the first reporting pe-
     riod. Paragraph 493 requires that the Accountability Sergeant position have a
     standalone, public-facing policy that directs the Accountability Sergeants in all as-
     pects of their work, allows department members to understand the work of the
     Accountability Sergeants, provides clear information to the public, and assists the
     district and unit commanders who supervise the Accountability Sergeants.

     The CPD does not, however, currently have a policy addressing Accountability Ser-
     geants. The IMT thoroughly reviewed the CPD’s draft BIA SOP during this reporting
     period, which addresses Accountability Sergeants’ responsibilities throughout.
     This is not, however, the policy required by the paragraph. Moreover, the IMT
     found that the job descriptions and responsibilities for Accountability Sergeants in




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     the draft SOP are unclear. It is the IMT’s understanding that the CPD will follow
     the IMT’s recommendation to create a standalone policy.

     We must underscore the importance of this policy based on our monitoring efforts
     in the first reporting period. During various site visits, for example, the IMT heard
     that Accountability Sergeants experience a high turnover rate across the depart-
     ment. The CPD members reported that often the newest or least-experienced ser-
     geant is assigned to the position of Accountability Sergeant. Less experienced ser-
     geants may not have robust investigative backgrounds and may therefore be less
     prepared for the role of Accountability Sergeant. The IMT spoke with some Ac-
     countability Sergeants and found that many are unclear about their specific re-
     sponsibilities or how cases are assigned to them.

     The IMT also spoke with CPD officers during this reporting period and asked them
     what they knew about Accountability Sergeants. Many of the officers reported to
     the IMT that they were not familiar with the role or title of “Accountability Ser-
     geant,” nor were they aware of the responsibilities of the position. After the IMT
     provided a brief description of the responsibilities of Accountability Sergeants,
     some officers tried to correct the IMT interviewers by referring to these Account-
     ability Sergeants as “CR Sergeants.” Many of those interviewed, specifically the
     most inexperienced officers, were wholly unfamiliar with the concept of Account-
     ability Sergeants or “CR sergeants.”




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                     Accountability and Transparency: ¶498
              498. The City and CPD will ensure that any command channel
              review conducted is complete within 30 days. Within 30 days of
              the Effective Date, CPD may draft a policy that provides, for the
              most serious administrative investigations, the circumstances
              under which up to 45 days will be provided for command channel
              review. The draft policy will be provided to the Monitor for re-
              view and approval.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                    March 31, 2019                      Met      ✔ Missed

      Preliminary:                 Not in Compliance
      Secondary:                   Not in Compliance
      Full:                        Not in Compliance

     The City did not meet Preliminary compliance with ¶498 in the first reporting pe-
     riod. The IMT reviewed several drafts of the revised policy addressing Command
     Channel Review (Special Order 08-01-03) and worked closely with the CPD
     throughout that process. While IMT approval of this policy fell outside of the IMR-
     1 reporting period, the IMT notes that it approved this revised policy after the re-
     porting period, and we will update this section for subsequent reports accordingly.

     Through discussions, meetings, and collaboration with the IMT, the CPD developed
     a new Command Channel Review policy that eliminates confusion, beginning with
     the title of the policy and extending to nearly every aspect of the policy. The new
     policy clearly addresses the Command Channel Review process. The policy now
     includes, for example, the Command Channel Bypass, which the CPD added after
     a suggestion from the IMT. The CPD agreed with the IMT that the Command Chan-
     nel Bypass should be included in the Command Channel Review process and up-
     dated the policy to include reference to this process.

     S08-01-03 demonstrates that the CPD can completely revise, revamp, and rede-
     velop a policy in a relatively short period of time. The CPD’s work on the new Com-
     mand Channel Review policy is laudable and should serve as a template for future
     policies for the agency.




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                      Accountability and Transparency: ¶525
                525. Within 60 days of the Effective Date, the City will propose a
                permanent method of selecting the Chief Administrator of COPA.
                In creating the permanent selection method for COPA’s Chief Ad-
                ministrator, the City will consider the views and recommenda-
                tions of community stakeholders.

     Compliance Progress                (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                         April 30, 2019                        Met     ✔ Missed

      Preliminary:                      Not in Compliance
      Secondary:                        Not in Compliance
      Full:                             Not in Compliance

     The City did not meet Preliminary compliance with ¶425 in the first reporting pe-
     riod. This paragraph requires the City to “propose a permanent method of select-
     ing the Chief Administrator of COPA” and to “consider the views and recommen-
     dations of community stakeholders” in creating the permanent selection method.
     During the reporting period, the City indicated that it was in negotiations with the
     Grassroots Alliance for Police Accountability (GAPA) about a proposed ordinance
     that contains a permanent method for selecting the COPA Chief Administrator. On
     August 28, 2019, the City provided the IMT with a one-page memorandum that
     included an alternative permanent selection process for the COPA Chief Adminis-
     trator.

     This memorandum, however, lacks sufficient specificity. According to the memo-
     randum, a seven-member selection committee will continue to suggest three can-
     didates for the Chief Administrator position to the Mayor until the Mayor selects
     one of the candidates. The Mayor will appoint five members to the committee and
     the Chair of the City Council’s Committee on Public Safety will appoint two mem-
     bers. The City’s memorandum does not detail how the City considered views and
     recommendations of community stakeholders in the creation of this alternative
     process. These uncertainties were not resolved by the end of the reporting period,
     which was two days after the City provided this memorandum.59




     59
          The IMT amended this section from a previous version provided to the Parties. See, e.g., At-
          tachment B at 3.


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                      Accountability and Transparency: ¶526
                526. Within 180 days of being assigned to BIA or being hired by
                COPA, all new BIA personnel and COPA employees will receive
                initial on-boarding training that is adequate in quality, quantity,
                scope, and type. Within 120 days of the Effective Date, COPA and
                BIA will verify that all existing personnel received training that is
                consistent with this Agreement.

     Compliance Progress                 (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                          August 30, 2019                       Met      ✔ Missed

      Preliminary:                       Not in Compliance
      Secondary:                         Not in Compliance
      Full:                              Not in Compliance

     By the end of the reporting period, the IMT did not find sufficient evidence to con-
     clude that the City was in compliance with ¶526. First, the CPD did not provide the
     IMT with a policy that requires on-boarding training within 180 days of being as-
     signed to the BIA. On August 30, 2019, the City submitted the CPD’s BIA Training
     Plan (dated August 29, 2019), which provides a high-level overview of training for
     new BIA investigators. Some of these training materials appeared to be outdated.
     The IMT requested additional training lesson plans to conduct a proper evaluation.
     The IMT notes, however, that the draft BIA SOP includes many aspects of basic BIA
     training concepts that could be included in the Training Plan.

     Second, the IMT also reviewed the COPA Training Plan, dated July 15, 2019, and
     determined that the plan provides clear expectations for COPA training. Specifi-
     cally, three sections of the plan provide expectations for delivery and evaluation
     of training. Another section, however, does not clarify whether the described
     training is for onboarding or in-service training. For proper evaluation, the IMT re-
     quires more information than it currently had at the end of the reporting period.
     While the COPA Training Plan is well structured, it remains unclear which COPA
     personnel have received on-boarding or in-service training, as no training rosters
     or course materials were provided by the end of the reporting period. The IMT
     attended some COPA training sessions and have documented concerns with the
     way the course material was presented and with the level of class participation.
     The IMT will continue to assess in-person training in the next reporting period.60


     60
          In the City’s comments, the City read the IMT’s draft report to mean that the IMT attended 77
          hours of this training. Attachment B at 3. In the first reporting period, however, the IMT at-
          tended 77 hours of CPD and COPA training overall, which included training that was unrelated
          to this paragraph—such as School Resource Officer training.


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                     Accountability and Transparency: ¶528
              528. The initial and annual in-service training for COPA and BIA
              investigators will include instruction in: a. how to properly han-
              dle complaint intake, and the consequences for failing to take
              complaints; b. best practices in procedural justice, including
              techniques for communicating with complainants and members
              of the public; c. the collection of objective verifiable evidence; d.
              the process for seeking an override affidavit in the absence of a
              signed complainant affidavit; e. for COPA investigators, tech-
              niques for conducting impartial investigations of domestic vio-
              lence and sexual misconduct; f. for BIA investigators, techniques
              for conducting impartial investigations of sexual misconduct; g.
              investigative skills, including proper interrogation and interview
              techniques, gathering and objectively analyzing evidence, and
              data and case management; h. the challenges of law enforce-
              ment administrative investigations, including identifying alleged
              misconduct that is not clearly stated in the complaint or that be-
              comes apparent during the investigation; i. properly weighing
              the credibility of witnesses against CPD members; j. using objec-
              tive evidence to identify and resolve inconsistent statements; k.
              implicit bias; l. the proper application of the relevant standards
              of proof; m. relevant COPA and CPD rules, policies, and protocols
              including the requirements of this Agreement; n. relevant state
              and federal law; o. relevant CPD Rules of Conduct, including
              Rules 14, 21, and 22; p. the CMS; q. the applicable collective bar-
              gaining agreements; and r. how to access and use the PRS or in-
              formation available on the PRS.

     Compliance Progress            (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                     August 28, 2019                     Met      ✔ Missed

      Preliminary:                  Not in Compliance
      Secondary:                    Not in Compliance
      Full:                         Not in Compliance

     The City did not meet Preliminary compliance with ¶528 in the first reporting pe-
     riod. First, on August 30, 2019, the City provided the IMT with the CPD BIA’s four-
     page Training Plan (dated August 29, 2019). Based on the Training Plan, the IMT
     cannot assess the requirements in subparagraphs (a) through (r) of ¶528, because
     it lacks sufficient detail. The City also provided training materials on August 13,
     2019, including various PowerPoint presentations. Based on these materials, the




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     IMT could not determine whether the presentations were used for on-boarding,
     in-service training, or both.

     Second, the IMT reviewed the COPA Training Plan (dated July 15, 2019). The over-
     all format of the training plan is acceptable and includes background information
     about how the training plan was developed and how it should be used. It refer-
     ences, for example, procedural justice (¶528(b)); evidence collection (¶528(c));
     objective evidence (¶528(j)); implicit-bias training (¶528(k)); relevant standards of
     proof (¶528(l)); relevant rules, policies, and protocols (¶528(m)); relevant state
     and federal law (¶528(n)); relevant CPD Rules of Conduct ¶528(o)); the Case Man-
     agement System (¶528(p)); and the Performance Recognition System (¶528(r)).

     While the IMT appreciates COPA’s efforts in developing the Training Plan, there
     are some requirements in ¶528 that are not included. For example, the plan does
     not mention complaint intake (¶528(a)), the consequences of failing to take a com-
     plaint (¶528(a)), or the affidavit-override process (¶528(d)), or the Performance
     Recognition System (¶528(r)). Likewise, regarding techniques for conducting im-
     partial investigations of sexual misconduct (¶528(d)), the plan refers to “DV & SA,”
     which lacks clarity and purpose. Finally, the plan does not provide the number of
     hours for each training block or which training topics are taught during in-service
     training and which are taught during on-boarding training.61




     61
          The IMT amended this section from a previous version provided to the Parties. See, e.g., At-
          tachment B at 3.


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                     Accountability and Transparency: ¶530
              530. Within 90 days of the Effective Date, COPA and BIA will cre-
              ate separate initial and in-service training plans.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                    May 30, 2019                        Met      ✔ Missed

      Preliminary:                 Not in Compliance
      Secondary:                   Not in Compliance
      Full:                        Not in Compliance

     The City did not meet Preliminary compliance with ¶530 in the first reporting pe-
     riod. The IMT reviewed COPA’s detailed Training Plan, but it is unclear what train-
     ing is provided to newly hired employees through “COPA Academy,” as opposed
     to in-service training.

     Likewise, the CPD has much work ahead to develop a comprehensive BIA Training
     Plan for both on-boarding and in-service training. As stated in our comments for
     ¶528, many of the details included in the draft BIA SOP can be removed from the
     SOP and developed into training courses.




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                      Accountability and Transparency: ¶538
               538. Within 90 days of the Effective Date, the City will create a
               policy for collecting, documenting, classifying, tracking, and re-
               sponding to community input received during the Police Board’s
               regular community meetings. The policy will outline the methods
               for: (a) directing community input to the appropriate responding
               entity, agency, or office; and (b) documenting and making public,
               all responses to community input.

     Compliance Progress                (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                        May 30, 2019                     ✔ Met*              Missed

      Preliminary:                     In Compliance
      Secondary:                       Not in Compliance
      Full:                            Not in Compliance

      * As we explain further below, the IMT found that the City met the deadline for ¶538, but the
        City did not provide the IMT with sufficient evidence until after the reporting period ended.

     The IMT found that the City was in Preliminary compliance with ¶538 within the
     first reporting period. The IMT reviewed the Police Board’s Policy Regarding Com-
     munity Input Received at Police Board Public Meetings and discussed it with the
     Police Board Executive Director and the Police Board President. This deadline was
     met with an asterisk because, as of the end of the reporting period, the City had
     not provided records to establish that the Police Board created the policy before
     May 30, 2019. Instead, the IMT only had record that Police Board passed the policy
     at the board meeting following the May 30, 2019 deadline. The Police Board, how-
     ever, provided the City with evidence that this policy was created before the May
     30, 2019, deadline. Given various document production issues described in the
     beginning of the report, the City did not provide those records to the IMT.

     The policy itself is clear and straightforward, but it was not clear how it held enti-
     ties, such as the CPD or COPA, accountable for direct action or for responding to
     community issues or complaints raised during the Police Board’s public meetings.
     The policy states that agencies will use “best efforts” to address concerns. In re-
     sponse, the IMT suggested that this language be strengthened by describing or
     defining “best efforts” or otherwise by incorporating the other expectations into
     the policy.62




     62
          The IMT amended this section from a previous version provided to the Parties. Compare At-
          tachment B at 3.


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                      Accountability and Transparency: ¶542
                542. Within 90 days of the Effective Date, the City will create a
                training policy for Police Board members and hearing officers.

     Compliance Progress                (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                         May 30, 2019                          Met     ✔ Missed

      Preliminary:                      Not in Compliance
      Secondary:                        Not in Compliance
      Full:                             Not in Compliance

     The City did not meet Preliminary compliance with ¶542 in the first reporting pe-
     riod. On August 30, 2019, the City provided the IMT with the Police Board’s one-
     page Policy Regarding Training of Police Board Members and Hearing Officers (Au-
     gust 28, 2019 draft). The IMT found that this policy is not sufficiently comprehen-
     sive to provide adequate basic or ongoing training in the complexities of the work
     that Police Board members or hearing officers are expected to perform.

     The IMT recognizes that the topics included in the plan are taken from the consent
     decree, but suggests that the training policy include more specificity for each block
     of instruction. To ensure adequate training, for example, the IMT also suggests
     specifying training delivery methods in the policy, such as in-person or online. For
     example, the IMT reviewed the Police Board’s draft training plan (dated August 26,
     2019), which includes a four-hour ride along but only one hour of instruction on
     CPD policies, procedures, and disciplinary rules and investigations of police con-
     duct. This plan demonstrates the need to have a more specific training policy to
     meet the needs of the Police Board members and hearing officers.

     Thus, the IMT suggests that the Police Board develop a comprehensive training
     policy that details how the training will provide adequate onboarding instruction
     that prepares the Police Board members and hearing officers for their duties and
     ongoing in-service training that provides the most up-to-date, relevant law and
     procedures. Police Board members, for example, may have tenure for 10 years, so
     yearly updates on constitutional law and changes or refinements in police proce-
     dures are critical to their ability to make decisions in police-discipline cases. The
     IMT acknowledges that the Police Board is an unpaid volunteer body with complex
     and time-consuming responsibilities, but a training plan must be sufficiently de-
     veloped to deliver training in a timely and appropriate manner.63



     63
          The IMT amended this section from a previous version provided to the Parties. See, e.g., At-
          tachment B at 4.


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                     Accountability and Transparency: ¶558
             558. Within 60 days of the Effective Date, the Deputy PSIG will
             develop policies for regularly, and at least annually, conducting
             data-driven reviews and audits to measure the effectiveness of
             the City and CPD’s accountability practices. These reviews and
             audits will be designed to measure whether members of the
             community can readily make a complaint alleging misconduct
             and whether such complaints are investigated and adjudicated
             consistently with CPD policy, this Agreement, and the law. Re-
             views and audits will include: a. analysis of the number of com-
             plaints received, the disposition of complaints by complaint type,
             the timeliness and average length of administrative investiga-
             tions, and disciplinary actions taken; b. analysis of complaint
             trends; c. analysis of CPD’s enforcement of its Rule 14, Rule 21,
             and Rule 22; d. analysis of the thoroughness of administrative
             investigations, and of the justifications for terminating investiga-
             tions before the investigative findings and recommendations; e.
             analysis of disciplinary grievance procedures and outcomes; and
             f. analysis of complainant-involved mediation.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                    April 30, 2019                 ✔ Met              Missed

      Preliminary:                 In Compliance
      Secondary:                   Not in Compliance
      Full:                        Not in Compliance

     The IMT found that the City is in Preliminary compliance with ¶558 within the re-
     porting period and met the deadline. The IMT reviewed the Deputy Inspector Gen-
     eral for Public Safety’s (Deputy PSIG’s) Policy Manual, which is a comprehensive
     policy and procedure manual that provides guidance and direction to investiga-
     tors, analysts, and employees who are involved in public safety audits and compli-
     ance. Specifically, the Policy Manual addresses many of the requirements of this
     paragraph, including the types of audits and investigations that the Deputy PSIG
     conducts of the CPD, COPA, and the Police Board.

     The Deputy PSIG’s Policy Manual commits to conducting data-driven evaluations,
     inspections, and reviews and reporting the results at least annually. The Policy
     Manual also requires the Deputy PSIG to make recommendations for improve-
     ment to correct deficiencies in the conduct or operations of the CPD, the Police
     Board, and COPA. Further, the Policy Manual requires the Deputy PSIG to conduct




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     quarterly Community Surveys to help develop project ideas for evaluations and
     reviews.

     Finally, the OIG’s website features data about complaint history, outcomes, and
     trends (found in the “OIG Information Portal” section). The IMT will assess the
     City’s and the Deputy PSIG’s efforts to meet Secondary and Full compliance in the
     next reporting period, as appropriate.64




     64
          The IMT amended this section from a previous version provided to the Parties. Compare At-
          tachment B at 4.


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                      Accountability and Transparency: ¶563
                563. At least 60 days prior to publishing its annual audit plan,
                the Deputy PSIG will provide the Monitor with a draft of its audit
                plan for review and comment.

     Compliance Progress                (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                         February 29, 2020               ✔ Not Yet Applicable

     The IMT included this paragraph in this reporting period, because the deadline is
     unclear and may occur any time before February 29, 2020, at the Deputy PSIG’s
     discretion. The IMT understands from discussions with the Deputy PSIG staff mem-
     bers, that they have not yet finalized their annual audit plan. The Deputy PSIG
     website includes a list of current projects and reports for all completed projects.
     The IMT looks forward to receiving the Deputy PSIG annual audit plan 60 days be-
     fore the Deputy PSIG publishes it.65




     65
          The IMT amended this section from a previous version provided to the Parties. See, e.g., At-
          tachment B at 4.


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                     Accountability and Transparency: ¶565
              565. At least quarterly, COPA, the Deputy PSIG, and the President
              of the Police Board, or his or her designee, will meet to confer
              and share information regarding trends and analyses of data re-
              lating to CPD. They will jointly or separately provide any resulting
              recommendations for changes in CPD policy or rules, in writing,
              to the Superintendent. Thereafter: a. the Superintendent will re-
              spond to any such recommendation within 60 days of receipt; b.
              the Superintendent’s response will include a description of the
              actions that the Superintendent has taken or plans to take with
              respect to the issues raised in the recommendations; and c. all
              policy recommendations and responses to the same will be pub-
              lished on a City website.

     Compliance Progress            (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                     Quarterly                      ✔ Met              Missed

      Preliminary:                  In Compliance
      Secondary:                    Not in Compliance
      Full:                         Not in Compliance

     The IMT found that the City met Preliminary compliance with ¶565 within the re-
     porting period and met the deadline. The IMT recognizes the steps that the re-
     quired actors have taken steps to improve the communication among the Deputy
     PSIG, COPA, and the Police Board, but the IMT requires additional documentation
     to make a full assessment of compliance. The IMT reviewed some documentation
     of four meetings held to date, but no agendas or meeting minutes were produced
     from the first two meetings. An agenda for the July 2019 meeting was produced,
     along with draft meeting minutes from that meeting, but the minutes have not yet
     been approved by the participants. The City and its entities may be in Full compli-
     ance with this paragraph, but the City has not yet provided us with sufficient evi-
     dence to establish that compliance.




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      Accountability and Transparency: Foundational Paragraphs
     As noted in the Monitoring Plan for Year One, the IMT has identified a number of
     “foundational paragraphs” in the Accountability and Transparency section of the
     consent decree, which include ¶¶429–30, 434, 441–44, 446, 448, 450–51, 453,
     455–56, 459–62, 463–69, 484, 486–87, 497, 499–501, 552, and 561. During our
     first reporting period, we assessed 10 of these foundational paragraphs, including
     ¶¶429, 434, 441, 442, 443, 444, 448, 455, 456, and 461.

                                             ***

         Consent Decree ¶429
              429. The City will continue to ensure that a website is made avail-
              able to CPD members to anonymously report officer misconduct
              (“anonymous reporting website”) and will internally disseminate
              information regarding the anonymous reporting website to all
              CPD members. Reports made on the anonymous reporting web-
              site will not relieve CPD members of their duties under CPD Rules
              of Conduct 21 and 22.

     Compliance Status

      The OIG and the Deputy PSIG continue to host a website for CPD members to
      anonymously report officer misconduct.


         Consent Decree ¶434
              434. When CPD responds to or investigates incidents involving
              allegations of officer involved domestic violence, CPD will ensure
              that COPA is provided an administrative notification. COPA will
              initiate the intake process and investigate all such allegations in
              accordance with this Agreement.

     Compliance Status

      The IMT reviewed the CPD’s Special Order 08-01-02, Special Situations Involving
      Allegations of Misconduct and the CPD’s draft BIA SOP, which address the re-
      quirements of this paragraph. The relevant section of S08-01-02 is difficult to
      locate, and the title of the section does not indicate that it addresses domestic-
      violence situations involving CPD members. While the Special Order and the SOP
      direct CPD members to formally notify COPA when such situations arise, the di-
      rection is not clear and requires more specifics. The IMT looks forward to further


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      assessment of the City’s compliance efforts toward compliance with ¶434 in the
      next reporting period.


          Consent Decree ¶441
                441. The City will undertake best efforts to ensure that COPA has
                jurisdiction to conduct administrative investigations of allega-
                tions of sexual misconduct, as defined by this Agreement.

     Compliance Status

      Compliance with ¶441 will require a City ordinance change that grants COPA
      jurisdiction “to conduct administrative investigations of allegations of sexual
      misconduct.” The IMT reviewed the draft BIA SOP, which directs the CPD to use
      its “best efforts” to report sexual misconduct to COPA. Unless a City ordinance
      is passed, however, it will remain unclear what “best efforts” entails for BIA per-
      sonnel.66


          Consent Decree ¶442
                442. The City will ensure COPA has appropriately trained and ex-
                perienced staff to conduct sexual misconduct investigations.

     Compliance Status

      The IMT reviewed the COPA Training Plan, which references instruction for COPA
      investigators regarding sexual-assault investigations. The Training Plan does not,
      however, indicate the number of hours of training dedicated to this instruction.
      The IMT will continue to assess whether COPA’s training is complete and appro-
      priate.67


          Consent Decree ¶443
                443. Consistent with COPA’s jurisdiction, after conferring about
                the details of a particular criminal sexual misconduct investiga-
                tion involving a CPD member, COPA and BIA may jointly agree



     66
          The IMT amended this section from a previous version provided to the Parties. See, e.g., At-
          tachment B at 4.
     67
          The IMT amended this section from a previous version provided to the Parties. See, e.g., At-
          tachment B at 4.


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                that BIA may conduct the administrative investigation into alle-
                gations of sexual misconduct when they jointly determine that
                doing so avoids unnecessary disruption to the complainant.

     Compliance Status

      The IMT recognizes that compliance with ¶443 will require a City ordinance
      change. As with ¶441 above, the draft BIA SOP directs the CPD to use its “best
      efforts” to report sexual misconduct to COPA, but until the ordinance changes,
      it is not clear what the SOP is specifically instructing BIA personnel to do.68


          Consent Decree ¶444
                444. Within ten days of the final disciplinary decision of each
                complaint of sexual misconduct against a CPD member alleging
                conduct against a non-CPD member, the City will provide the
                Deputy PSIG with the complete administrative investigative file,
                subject to applicable law. The Deputy PSIG will review and ana-
                lyze each administrative investigative file and, on an annual ba-
                sis, the Deputy PSIG will publish a report: a. assessing the quality
                of the sexual misconduct administrative investigations reviewed;
                b. recommending changes in policies and practices to better pre-
                vent, detect, or investigate sexual misconduct; and c. providing
                aggregate data on the administrative investigations reviewed,
                including: i. the volume and nature of allegations investigated,
                broken down by investigating agency; ii. the percentage of inves-
                tigations referred to the Cook County State’s Attorney’s Office
                (“CCSAO”) for criminal review; iii. the percentage of investiga-
                tions criminally prosecuted; iv. the percentage of investigations
                closed after the preliminary investigation; v. the percentage of
                investigations closed for lack of a signed complainant affidavit;
                and vi. the investigative findings and recommendations, includ-
                ing a summary breakdown of discipline recommended for inves-
                tigations with sustained findings.

     Compliance Status

      In its review of the draft BIA SOP, the IMT notes that it contains a statement
      regarding the CPD’s responsibility to report each sexual misconduct complaint
      to the OIG. At the end of the reporting period, the IMT had not yet seen any

     68
          The IMT amended this section from a previous version provided to the Parties. See, e.g., At-
          tachment B at 2.


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      evidence that these complaints are transmitted to the Deputy PSIG in a timely
      manner. The IMT looks forward to further assessment of the City’s compliance
      efforts toward compliance with ¶444 in the next reporting period.


         Consent Decree ¶448
              ¶448 If COPA, BIA, or the district does not arrive at the investi-
              gative findings and recommendations within 180 days, COPA,
              BIA or an Accountability Sergeant will, thereafter, periodically,
              but not less than once every 60 days, attempt contact with the
              complainant or his or her representative to provide status up-
              dates until the investigative findings and recommendations are
              issued. Such contacts will be documented in the administrative
              investigative file. By 2020, this requirement will be satisfied by
              providing complainants and their representatives the ability to
              track the status of non-confidential unique tracking numbers
              from the intake process through final disposition online.

     Compliance Status

      The IMT reviewed relevant documentation from both COPA and BIA. BIA ad-
      dresses these requirements within its SOP. While BIA and COPA have begun a
      productive conversation about these requirements, additional work from both
      entities is necessary to clearly identify how they will collaborate effectively. The
      IMT suggests that a CPD policy addressing the requirements of this paragraph
      be issued as a public-facing, standalone policy to provide information to CPD
      members and the public. The IMT suggests that this policy also identify all rele-
      vant personnel from all entities who will be involved in an internal investigation
      and disciplinary decision.


         Consent Decree ¶455
              455. All investigative findings will be based on the appropriate
              standard of proof. This standard will be clearly delineated in
              COPA and BIA policies, training, and procedures.

     Compliance Status

      The IMT reviewed relevant COPA and BIA policies. BIA addresses the “full and
      fair standard of proof” in its draft SOP. This section provides direction and an
      explanation of how the standard of proof will be determined. BIA and COPA




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      should consider making a standalone policy to ensure that all members of the
      department and the community understand how BIA conducts an investigation.


         Consent Decree ¶456
              456. The City will ensure that the disciplinary histories of current
              and former CPD members are reviewed prior to employment
              with COPA, or assignment within BIA or as an Accountability Ser-
              geant.

     Compliance Status

      In our review of the BIA SOP, we noted that the language in the relevant section
      is a restatement of this consent decree paragraph. The SOP could benefit from
      including additional details, such as the standards by which an employee is cho-
      sen for an assignment in BIA or as an Accountability Sergeant, any automatic
      disqualifiers for assignment, and time limits for past disciplinary issues that al-
      low for acceptance into BIA. As written, it appears that the standards are sub-
      jective. It is important that the CPD provides a detailed explanation of how it will
      “ensure” that disciplinary histories are reviewed before employment assign-
      ments as well as explain automatic disqualifiers, if any.


         Consent Decree ¶461
              ¶461 Allegations of misconduct based on verbal abuse will be
              preliminarily investigated to determine whether it is appropriate
              to continue the investigation. Anonymously submitted miscon-
              duct allegations will be preliminarily investigated to determine
              whether it is appropriate to continue the investigation, in accord-
              ance with the applicable collective bargaining agreements in ef-
              fect at the time of the allegation is made.

     Compliance Status

      From the IMT’s review of relevant documentation, it is not clear how allegations
      of verbal abuse will be investigated—preliminarily or otherwise—or what prior-
      ity these allegations will be given. While this paragraph does not state a time-
      line, BIA and COPA should consider creating one. The IMT notes its concern with
      the issues of verbal abuse in light of recent publicity of recorded officer and su-
      pervisor interactions with community members.




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     X. Data Collection, Analysis & Management
                                 Guiding Principles
     The IMT assessed compliance with applicable Data Collection, Analysis, and Man-
     agement paragraphs in accordance with the consent decree’s “Guiding Principles.”
     these principles “are intended to provide the Court, the Monitor, and the public
     with the context for the subsequent substantive requirements” and “the overall
     goals” (¶757):

             566. Data can empower CPD to engage in the type of critical self-
             examination essential to instilling and maintaining constitu-
             tional policing. CPD can leverage data to ensure constitutional
             policing by: systematically collecting enough data to have a
             broad-based understanding of officers’ interactions with the
             public; auditing the data to ensure it accurately reflects those in-
             teractions; analyzing the data to identify trends or areas of con-
             cern; developing tailored support and interventions to address
             behavior that is or may become problematic; and assessing the
             effectiveness of attempts to modify officers’ behavior.

             567. In addition to enhancing CPD’s capacity for internal ac-
             countability, CPD can use data to promote accountability to the
             public by regularly publishing data it collects.




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     Summary of Compliance Assessments
     In this first reporting period, the IMT assessed the CPD’s compliance with one par-
     agraph of the consent decree within the Data Collection, Analysis, and Manage-
     ment topic area (¶569).

     The CPD missed its deadline for ¶569. The IMT determined that the CPD did not
     achieve compliance at any level for ¶569 (Preliminary, Secondary, or Full).

     During this reporting period, the IMT worked with the CPD to gain an understand-
     ing of the complexity of the CPD’s current data collection, analysis, and manage-
     ment efforts. As we noted in the introductory sections of this report, the CPD faces
     serious data challenges and does not currently have the data resources and sys-
     tems in place to meet all the demands of the consent decree. The IMT believes
     that the CPD is in the process of reorganizing several facets of its data management
     systems, and we look forward to working with the CPD and its continued efforts to
     improve in this area.




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             Data Collection, Analysis & Management: ¶569
              569. CPD must collect, track, and maintain all available docu-
              ments related to use of force incidents, including: a. TRRs, or any
              other similar form of documentation CPD may implement for in-
              itial reporting of reportable use of force incidents; b. TRR-Is, or
              any other similar form of documentation CPD may implement to
              document supervisory investigation of reportable use of force in-
              cidents; c. Tactical Response Reports – Review (“TRR-Rs”), or any
              other similar form of documentation CPD may implement to doc-
              ument review or auditing of reportable use of force incidents; d.
              arrest reports, original case incident reports, and investigatory
              stop reports associated with a reportable use of force incident;
              e. administrative investigative files, including investigative ma-
              terials generated, collected, or received by BIA, or COPA, or any
              similar form of documentation CPD may implement for miscon-
              duct allegations or civilian complaints; and f. all reasonably
              available documentation and materials relating to any reporta-
              ble use of force, in-custody injury or death, or misconduct allega-
              tion, including body-worn, in-car, or known third-party camera
              recordings, and statements, notes, or recordings from witness
              and officer interviews.

     Compliance Progress           (Reporting Period: March 1, 2019, through August 31, 2019)

      Deadline:                    March 1, 2019                       Met      ✔ Missed

      Preliminary:                 Not in Compliance
      Secondary:                   Not in Compliance
      Full:                        Not in Compliance

     In this reporting period, the City and the CPD agree that they did not provide the
     IMT with sufficient evidence that the CPD has a written or unwritten practice of
     collecting, tracking, and maintaining all of the documents in ¶569. As a result, we
     cannot find that the CPD is in compliance with any requirement of this paragraph.
     After the City and the CPD provides more information in the coming reporting pe-
     riod, we will assess whether the CPD’s practices meet Preliminary, Secondary, or
     Full compliance.




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     Conclusion and Looking Ahead to
     Independent Monitoring Report 2
     The IMT has finished its monitoring efforts for the first reporting period (March 1,
     2019 through August 31, 2019). The City did not meet many of the consent-decree
     requirements within the deadlines agreed to by the City and the OAG. The City, its
     entities, the OAG, and the IMT faced various onboarding and administrative ob-
     stacles before establishing consistent and efficient record and data production.
     The Parties and the IMT continue to work together to receive records, particularly
     data.

     The City, the CPD, and the other relevant City entities have much work ahead, but
     the IMT is encouraged by the hard work that the City, COPA, the CPD’s Office of
     Reform Management, and many others have demonstrated throughout the re-
     porting period. Since March 1, 2019, the City and the CPD continue to make strides
     to incorporate the IMT and the OAG into its compliance efforts. We look forward
     to continued improvement.

     The IMT’s next semiannual report will cover the reporting period from September
     1, 2019, through February 29, 2020. As described in our Monitoring Plan for Year
     One, we will continue to work with the City and the OAG to address the paragraphs
     we assessed in the first reporting period, as well as 60 additional paragraphs for
     the second period.




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     Attachment A.
     Office of the Illinois Attorney General
     Comments




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                         OFFICE OF THE ATTORNEY GENERAL
                                                 STATE OF ILLINOIS

 KWAME RAOUL
  ATTORNEY GENERAL


                                                   October 30, 2019

Via Email
Margaret A. Hickey
Independent Monitor
Schiff Hardin LLP
233 S. Wacker Drive, Suite 7100
Chicago, IL 60606
MHickey@schiffhardin.com

Re:    Comments on the First Independent Monitoring Report
       Consent Decree, Illinois v. Chicago, 17-cv-6260 (N.D. Ill.)

Dear Ms. Hickey,

The Office of the Attorney General of Illinois (OAG) appreciates the Independent Monitoring
Team's comprehensive assessment of the City of Chicago's (City) and the Chicago Police
Department's (CPD) compliance efforts in the first Independent Monitoring Report (Report). In
broad brush, the OAG agrees with the Monitoring Team's assessment: that the City and CPD did
not meet most of their consent decree deadlines and compliance obligations in the first reporting
period. The consent decree gives the parties—the City and the OAG—an opportunity to comment
on the Report before it is filed with the Court. The OAG offers these comments on the challenges
and opportunities reflected in the Report as we move forward into the next reporting period.

As we begin this multi-year reform effort, we cannot forget why the consent decree exists. As the
Police Accountability Task Force noted in 2016, "[r]acism and maltreatment at the hands of police
have been consistent complaints from communities of color for decades."' Chicago has "a long,
sad history of death, false imprisonment, physical and verbal abuse and general discontent about
police actions in neighborhoods of color."2 In its January 2017 report, the U.S. Department of
Justice found that people of color experience far more incidents of police abuse, including




  RECOMMENDATIONS FOR REFORM, POLICE ACCOUNTABILITY TASK FORCE 6 (Apr. 2016),
https://chicagopatforg/wp-content/uploads/2016/04/PATF_Final_Report_4_13_16-1.pdf.
2 Id. at 7.




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unreasonable force and race-based verbal abuse, than white residents.3 And it found that CPD
rarely holds officers accountable for misconduct.`

The OAG recognizes the City and CPD have implemented important changes in the years since
the murder of Laquan McDonald, including revamping use of force policies, increasing training
requirements, and improving community policing efforts. The OAG shares many of the
Monitoring Team's positive sentiments about the City's and CPD's efforts towards compliance in
the first reporting period. In particular, the OAG deeply appreciates the hard work done by CPD's
Office of Reform Management in getting this significant effort underway. But there remain
significant obstacles to timely and full compliance with the consent decree and, more importantly,
to lasting police reform. To achieve reform, the Monitoring Team, in partnership with the
community and the parties to the consent decree, will need to provide a clear-eyed assessment of
those challenges and concrete recommendations to overcome them.

The implementation of the consent decree is a large and complex project. It requires sustained
commitment from the City, CPD, the OAG, the Court and its monitor, and the many communities
who have an interest in the process. We are at the very beginning of this undertaking. While there
have been challenges in this first reporting period, the OAG is optimistic that the City and CPD
can get back on track.

               Challenges to Full and Effective Consent Decree Implementation

The OAG sees several challenges to full and effective consent decree implementation. They
include deficits in: (1) ownership of the consent decree across the entire police department and
responsible City agencies; (2) resource allocation; (3) transparency; (4) data reliability; and
(5) community engagement. The Report identifies many of these challenges, but we take the
opportunity to discuss them in further detail because overcoming these challenges will be crucial
to achieving sustainable reform.

As a party to the consent decree, the OAG is committed to working collaboratively with the
stakeholders of this consent decree—the City, CPD, the Monitoring Team, the Coalition, the
unions representing CPD officers, and the public—to ensure lasting police reform. During the first
reporting period, the OAG remained in constant communication with the Monitoring Team and
the City through calls, emails, bi-weekly subject matter teleconferences, and in-person meetings
regarding the City's efforts to comply with the consent decree. The OAG also participated in many
trainings, site visits, and meetings, including the Monitoring Team's weeklong site visit with the
City and CPD, School Resource Officer trainings, in-service trainings at the Civilian Office of


3U.S. DEP'T OF JUSTICE CIVIL RIGHTS DIV. & U.S. ATTORNEY'S OFFICE N. DIST. OF ILL., INVESTIGATION OF THE
CHICAGO POLICE DEPARTMENT 145 (Jan. 13, 2017), https://www.justice.gov/opagile/925846/download.
 Id. at 8, 46-47.
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Police Accountability (COPA), and community meetings hosted by CPD throughout the City. The
OAG submitted written comments on dozens of policies, procedures, plans, training materials, and
other documents required by the consent decree. The parties to this consent decree have worked
together to lay an important foundation for the work ahead, but there remains far more work to do.

                       Ownership across the Department and City Agencies

The OAG shares the Monitoring Team's sentiment that assessing compliance with the consent
decree requires demonstrated commitment and involvement from the City and CPD leadership.
CPD senior leadership must reinforce the message—with conviction, urgency, and frequency—
that public safety and reform are mutually reinforcing and can be accomplished simultaneously.

Managing the consent decree requirements necessitates strong administrative functions, and
CPD's Office of Reform Management has done a commendable job managing the numerous
requirements of the consent decree, especially given the resource constraints identified below. But
reform cannot be accomplished on paper or live only in CPD headquarters. It must be felt in the
districts and reach the rank-and-file, and it must be a priority in the violent summer months as well
as during the rest of the year.

Both the City and CPD could do more to demonstrate that reform will benefit the department, its
officers, and the community. At times, the City's and CPD's leaders have seemed to approach the
consent decree as an ancillary obligation or burden, rather than an opportunity to transform CPD's
relationship with the community it serves. We urge the City and CPD to demonstrate through both
words and action that implementing the consent decree is an urgent priority.

                                    Misallocation of Resources

As described in the Report, the City and CPD missed 38 out of 50 deadlines (or 76%) in the first
reporting period and is not in preliminary compliance with 52 out of the 67 (or 78%) consent
decree requirements reviewed by the Monitoring Team. Most of these missed deadlines and failed
compliance obligations stem from the City's and CPD's failure to allocate resources appropriately.

Policy creation is a critical first step in the implementation of the consent decree. The consent
decree establishes a three-step process for reform. First, the City and CPD must revise existing
policies and create new policies to comply with the requirements of the consent decree. Second,
the City and CPD must train officers on the new and revised policies. And third, only after the City
and CPD complete the first two steps can the Monitoring Team begin to assess whether the City
and CPD have "operationalized" the policies by putting them in to practice.
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We agree with the Monitoring Team's assessment that insufficient staffing at CPD's Research and
Development (R&D) Division, which is responsible for researching and drafting policies, is a
barrier to timely policy completion. The OAG acknowledges and appreciates the dedication and
hard work of the current R&D staff. But there are simply not enough of them to engage in the
robust policy revision and creation process that CPD agreed to in the consent decree. This is
troubling in light of the dozens of overdue policies required by the consent decree. CPD's policy
review process also slows policy creation because CPD subjects each policy to multi-level review
before submission to the Monitoring Team, the OAG, and community stakeholders for review.
This has resulted in a delay in issuing even the most straightforward new policies and policy
revisions. The backlog will only get worse as more deadlines approach.

It appeared throughout the reporting period that R&D's limited staff had capacity to focus on only
one policy or group of related policies at a time. For example, CPD submitted draft versions of
policies related to anti-discrimination and the public's right to record police officers on July 22,
2019. The Monitoring Team and OAG provided comments and feedback within 30 days. As of
this writing, however, R&D has not yet responded to the Monitoring Team or the OAG feedback
due to its limited staff and focus on other policies.

In general, the City and CPD have not allocated sufficient resources to allow the individuals
working on implementation of the consent decree to succeed. For example, the Office of
Community Policing, which has a committed and capable staff, cannot alone undertake the
significant community outreach efforts necessary to ensure broad and deep community
engagement in CPD's reform efforts. CPD's Education and Training Division is also not equipped
with the permanent staff necessary to simultaneously consult on policy development and promptly
develop training on new policies.

Additionally, until August 2019, CPD's Force Review Unit (FRU), which is responsible for
reviewing and auditing officers' uses of force, was operating at less than 50% percent capacity of
its necessary personnel. The staffing shortage was compounded by the FRU's lack of proper
technology and adequate physical space to complete necessary reviews. The FRU's slow start is
especially concerning because the FRU is about to begin reviewing firearm-pointing incidents,
which CPD officers must report under a new policy set to take effect on November 1, 2019.

Again, the OAG acknowledges the hard work and dedication of those tasked with implementing
the requirements of the consent decree, but we agree with the Monitoring Team that the City and
CPD must dedicate additional resources and staff for efficient implementation.
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                                       Lack of Transparency

We also agree with the Monitoring Team that the City's ability and willingness to produce
information related to consent decree implementation has been a challenge. The consent decree
requires the City and CPD to provide answers to inquiries from the Monitor and the OAG. Yet the
overwhelming majority of requests the Monitor and the OAG submitted during the first reporting
period did not yield a timely or complete response, and the City and CPD supplied most responsive
documents at the end of or after the reporting period. The City and CPD recognize this challenge
and have been working to respond more promptly. However, it is unclear that the City and CPD
have a sufficient strategy to resolve these problems, particularly the bottlenecks in its legal review
process.

The sparse responses by CPD and the City prevented the Monitoring Team and the OAG from
getting a complete and unvarnished view of the current state of reform efforts. For example, the
consent decree requires most misconduct investigations to be complete within 180 days, but the
City and CPD have not produced information that would allow the Monitoring Team and the OAG
to assess how long misconduct investigations currently take. The lack of information has been
particularly troubling at COPA, which has failed to produce even basic information, such as its
number of current staff. Similarly, COPA only belatedly supplied the OAG with policies it had
revised to comply with the consent decree.

Another concerning challenge in the first reporting period was the City's failure to consistently
engage with the OAG and the Monitoring Team in the review of policies, plans, and training
materials that COPA and other non-CPD City agencies must create or revise to comply with the
consent decree. The consent decree establishes a collaborative process for the Monitoring Team
and the OAG to review, comment on, and, if necessary, object to draft policies, plans, and training
materials prior to their implementation. It also requires a meaningful opportunity for the public to
review and comment on draft policies. This process is meant to improve the City's accountability
systems, promote transparency, and provide an avenue for community engagement in the reform
process. We urge the City, and COPA in particular, to fully participate in this process in the coming
reporting period.

                                          Data Reliability

We appreciate the Monitoring Team's recognition of CPD's work to improve its data reliability.
We also share the Monitoring Team's concerns about CPD's current data collection, data
management, and data systems. The consent decree emphasizes the vital roles reliable data can
play in promoting police accountability. CPD utilizes many different systems to collect data—
some modern and some antiquated—and currently does little to validate the data it collects. CPD
collects and maintains data through over 100 different applications. But CPD has indicated that
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data accuracy, redundancies, and/or inefficiencies are often determined on an ad hoc basis. CPD
does not currently perform regular evaluations of its data collection systems, including assessing
how CPD uses its data systems, how its data is managed, and how its data systems are or should
be structured. Engaging in this type of evaluation is critical because, in our observation, CPD does
not always structure its data systems in a way that facilitates the collection of useful data.

CPD recognizes these problems and has taken steps to address them, including reorganizing its
headquarters unit devoted to data and analytics. It has also contracted to obtain an independent
assessment of its information systems. This is essential, and we commend CPD for taking these
steps. As CPD increasingly relies on data in the performance of its work and releases more data to
the Monitoring Team, the OAG, and the public, it must ensure its data is reliable, and it must be
transparent about any weaknesses in its data. This will increase trust inside and outside of CPD.

                                      Community Engagement

Finally, we share the Monitoring Team's concerns about CPD's efforts to engage the community
during the first reporting period. CPD has a long way to go to build trust, particularly in
communities that have disproportionately experienced abusive policing. CPD must make
community policing the responsibility of every officer and part of the work of every district and
unit, and it must develop strong community partnerships at all levels. These partnerships will help
CPD implement problem-solving strategies tailored to the needs of particular communities. For
example, CPD has only begun to tackle its sizable challenge to engage youth and to increase
positive interactions between officers and young people.

As the Monitoring Team notes, the City and CPD must also provide opportunities for the public
to help develop policies, and it must offer opportunities earlier in the review process for the public
to comment on them. The City and CPD should also include more community members and
organizations in the development and delivery of training. We also echo many of the Monitoring
Team's observations about CPD outreach. In particular, we agree that CPD needs to do more to
increase community representation at CPD-sponsored meetings and events. We also heard
concerns from the public about the lack of sufficient notice for CPD's School Resource Officer
meetings, as well as concerns about the representation at those meetings. And we heard, and agree,
that CPD could have offered other ways for the community to engage in the consent decree
implementation process outside of meetings. At the same time, we are encouraged by the work of
the Office of Community Policing to engage the public in district-level planning to reduce crime
and solve problems. We look forward to engaging on these issues in the months and years ahead.
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                            Additional Comments about the Report

We offer a few final thoughts about the Report. Although the OAG agrees with the Monitoring
Team's overall assessment of compliance, in some cases we may have a somewhat different view
of the steps necessary for the City or CPD to achieve compliance than the Monitoring Team
articulated in its Report. For each policy, plan, and training material the City or CPD submitted,
the OAG independently reviewed, commented on, and, as necessary, recommended approaches
for achieving compliance; the OAG will continue to do so throughout the implementation of the
consent decree.

We have also reviewed material related to compliance with other paragraphs of the consent decree.
For some requirements, we do not have a sufficiently clear understanding of the methodology the
Monitoring Team has used or will use to measure compliance or enough information to make an
independent assessment. Moving forward, the parties and the public would benefit from the
Monitoring Team more clearly articulating its methodology in advance of any review. In
particular, the Monitoring Team should develop a methodology for evaluating CPD's community
engagement efforts. The OAG will work with the Monitoring Team and the City to that end as we
move into the second reporting period.

                                           Conclusion

While it is still early in the consent decree implementation process, we also understand that for
many Chicagoans, reform is long overdue. Chicago has an unprecedented opportunity to
implement comprehensive and lasting police reform and build public trust. We are encouraged in
many respects by the City's and CPD's early compliance efforts, but we are also acutely aware
that this is the beginning of a very long journey and there is no time to waste. We look forward to
working collaboratively with the stakeholders of this consent decree during the next reporting
period to overcome the challenges we have identified and to make continued progress on achieving
sustainable reform.
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                                            For the State of Illinois,


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cc: Tyeesha Dixon and Allan Slagel, Counsel for the City of Chicago (via email)
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     Attachment B.
     City of Chicago Comments




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                                  City of Chicago’s Comments on
                       First Independent Monitoring Period (IMR-1) Report

       Consent Decree Par. 663 provides that the Parties may provide comments on the
Independent Monitoring Team’s (IMT) draft semiannual reports prior to their final publication.
As noted in the IMT’s October 23, 2019 draft report, the Independent Monitor was appointed on
March 1, 2019, and numerous start-up activities delayed the ability to begin conducting
compliance assessments during the first monitoring period. The City appreciates the IMT’s
extensive efforts in completing its first report on this abbreviated timeframe and looks forward to
continuing to work diligently and collaboratively with the IMT on its future compliance
assessments.

        Below, the City provides comments that are limited to factual discrepancies identified in
the draft report.1 The City respectfully requests that IMT consider these comments in finalizing
its report:

                                              Narrative

 Page 16:    The draft report states that “[a]ll deadlines are based on the consent decree” and that
             “IMT did not create deadlines for the first reporting period.” However, several of
             the deadlines in the report are not included in the Consent Decree; rather, they were
             created in the monitoring plan. See Par. 222-235; 569.


 Page 29:    The draft report states that the City provided IMT a “significant amount of records”
             on August 31, the last day of the monitoring period, which made it difficult for IMT
             to assess these records in the allotted time. However, the City provided a
             comparatively small number of the 600 records on August 31. As the report notes,
             IMT was appointed March 1, 2019, and compliance assessments during IMR1 were
             conducted on a compressed timeframe due to necessary and appropriate start-up
             tasks. Therefore, the City respectfully submits that it was reasonable for the City to
             utilize all the allotted time in the monitoring period to provide compliance
             documents and that it should not be penalized this monitoring period for providing
             records on the final day of the monitoring period.

               Compliance Assessments; Summaries of Compliance Assessments

 Par. 142:   The draft report indicates that the deadline for this paragraph was missed. The City
             understands from correspondence with IMT subsequent to receiving the draft report
             that IMT has concluded the City met the deadline for this paragraph and will make
             this adjustment in the final draft of the report.



       1
         For a fuller discussion of the City’s reform efforts prior to and during the first monitoring
period, the City defers to its status report filed with the Court on September 3, 2019, pursuant to
Consent Decree Par. 680.
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Par. 323    The draft report concludes that although CPD provided 16 hours of training in 2018,
            CPD had not achieved any level of compliance with this paragraph during the first
            monitoring period because IMT had not yet received sufficient evidence that the
            training was conducted in person, as required by Par. 323. Moving forward, CPD
            will be sure to more explicitly state which training sessions take place in-person.
            However, CPD was not aware that the in-person nature of the 2018 trainings was at
            issue because the training lesson plans CPD provided prior to the end of the
            reporting period reflect that the 2018 trainings were conducted in person.
            Specifically, the 16-hour use of force and 8-hour use of force refresher training
            lesson plans included guidance to instructors on classroom furniture and projector
            setup, and the Procedural Justice 1, 2, and 3 lesson plans include guidance to course
            instructors regarding room set up, scenarios/role-play, and table-top exercises.
            These details would only be necessary for in-person courses.

Page 106: In the first paragraph, the draft report states that “IMT assessed the CPD’s
          compliance with thirty paragraphs of the consent decree within the Accountability
          and Transparency topic area” and lists these paragraphs. The City suggests that
          “CPD’s compliance” should be modified to “the City’s compliance”, as the
          Accountability and Transparency paragraphs assessed applied to multiple City
          entities. Similarly, the third paragraph states that “CPD met its deadlines for three
          of the paragraphs that had deadlines this reporting period.” However, Par. 538, 558,
          and 565 applied to other City entities (specifically, Police Board and the Public
          Safety Inspector General), not CPD.

Par. 480:   The draft report states that as evidence of compliance with this paragraph, COPA
            provided “several correspondences between COPA and the CPD, which specifically
            illustrate a process for re-opening a closed administrative investigation.” The City
            is not aware of the correspondences to which IMT refers. To show compliance with
            this paragraph, COPA submitted on August 30, 2019 COPA policy 1.3.8, Civil and
            Criminal Complaint Review. As IMT’s draft report states, this policy “speaks
            directly to the procedure to reopen a previously closed case.” IMT also suggests
            that it was not able to review COPA policy 1.3.9, Re-Open Case Procedure. The
            City notes that COPA policy 1.3.9 was provided to the IMT for review on August
            5, 2019.

Par. 481:   The draft report states that IMT did not receive information from CPD regarding
            these requirements. However, CPD submitted a production letter and accompanying
            documents regarding this requirement on August 30. Specifically, CPD submitted
            correspondence between CPD and COPA that occurred after March 1, 2019
            regarding requests to reopen investigations concerning incidents that allegedly
            occurred more than five years before the date that COPA became aware of the
            allegations. Additionally, COPA provided the IMT with its internal tracking
            document it uses to track whether CPD is timely responding to its requests to reopen
            such incidents. These documents reflect that COPA, the CPD, and the OIG have
            “systems in place to track requests to the Superintendent, along with responses and
            the timing of such responses.”

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Par. 525:   The draft report concludes that the City is not in primary compliance with this
            paragraph. However, Par. 525 requires that the City “propose a permanent method
            of selecting the Chief Administrator of COPA.” As the IMT’s narrative states, the
            City did propose a selection method, which IMT reviewed. The proposal requires
            that the Mayor will engage a panel to assist with the selection. To the extent IMT
            has concluded that the City is not in compliance with the proposal requirement
            because the selection method does not state how the City “will consider views and
            recommendations of community stakeholders,” Par. 525 does not require the
            proposal to state this level of detail. Rather, the City is only required to consider
            the views and recommendations of community stakeholders in creating the
            proposal. The City satisfied this requirement through a robust community
            engagement process used to formulate the proposal.

Par. 526, Par. 526 requires BIA and COPA to provide initial on-boarding training for new
528:      and existing investigators. Par. 528 provides a list of topics that are to be provided
          in the training. Both BIA and COPA provide extensive training to their
          investigators, new and existing. To show compliance, both BIA and COPA
          submitted their investigator onboarding training materials on August 13 and August
          30, respectively. IMT notes in the draft report (p.19) that it attended 77 hours of
          this training. IMT’s narrative does not reflect, however, that the training materials
          submitted were reviewed; rather, the draft report indicates that the training materials
          were not provided to IMT. Therefore, to the extent IMT did not have the opportunity
          to review and/or assess these materials during the first monitoring period, the City
          respectfully submits that a “not compliant” assessment is inappropriate for this
          paragraph.

Par. 538:   The draft report noted that Police Board created and submitted a policy to comply
            with Par. 538. The draft report suggests that the policy further define “best efforts”
            to hold partner agencies accountable for failing to respond to issues raised during
            Police Board’s public meetings. The City notes that in response to this suggestion,
            the Police Board has added to the policy the definition of “best efforts” that is set
            forth in Paragraph 729 of the Consent Decree. Further, as in the draft submitted for
            IMT review, Item #5 of the policy requires that the following material be posted on
            the Police Board website prior to the next public meeting: (a) a report of the tracking
            of community input and responses (if no response is received, this will be noted on
            the report), and (b) each responding agency’s written report of its response to the
            community input. This reporting and transparency is the mechanism by which
            partner agencies, such as CPD and COPA, will be held accountable for direct action
            or for responding to community issues or complaints raised at the meetings. The
            Police Board is eager to work with the public, media, Mayor, OAG, and the IMT to
            determine whether the agencies are being responsive to community input and can
            then take action to hold the agencies accountable, if necessary.




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Par. 542:   The draft report states that the City “provided no draft policy that directs
            expectations for Police Board members.” However, the Police Board created a draft
            policy on May 22, 2019, posted the draft on the Board’s website for public review
            and comment for eight weeks, revised the draft based on public comments, and
            provided the policy to the Monitor on August 30, 2019 (both the original and revised
            draft), along with the public comments the Board received.

            Further, the City respectfully submits that IMT’s narrative appears to conflate the
            requirements of Par. 542 and Par. 540-541. Par. 542 requires only that the City
            “create a training policy for Police Board members and hearing officers.” The
            content of the training is covered in Par. 540-541, which is not in IMR1. The policy
            created by the Board in compliance with Par. 542 sets forth requirements as to how
            often training must take place and what topics must be covered; the policy also
            includes an accountability mechanism for ensuring that Board members and hearing
            officers receive the required training. Paragraph 542 does not specify or require the
            training policy to address curricula, blocks of instructions, and training delivery
            methods. The City notes that as contemplated by the IMR2 monitoring plan, Police
            Board is making diligent efforts in these areas as it strives to develop and provide
            the training required by Paragraphs 540 and 541 and looks forward to submitting
            this work for review in IMR2.

Par. 558:   The draft report determines that PSIG has not attained secondary compliance with
            this paragraph. The City respectfully submits that secondary compliance is under
            assessment. As discussed in a meeting with the IMT, PSIG has instituted the
            required policy and has published a portion of the underlying work it requires. As
            noted in IMT’s draft report, a portion of the complaint trend information is publicly
            available on PSIG’s website.
Par. 563:   The draft report states that PSIG has not yet created its annual audit plan. However,
            by the close of the first monitoring period, the draft audit plan was underway but
            not yet finalized.
Par. 441, The City interprets the draft report as implying that BIA’s draft SOP does not
443:      adequately address the requirement of these paragraphs. However, by ordinance,
          COPA does not currently have jurisdiction to investigate sexual misconduct
          complaints. Therefore, the BIA cannot provide “a specific direction or decision
          points” for sexual misconduct investigations to be referred to COPA.

Par. 442:   The IMT’s narrative does not reflect that COPA provides two separate blocks of
            instruction concerning sexual assault and domestic violence. IMT attended some of
            these trainings, and the training materials provided to IMT on these topics (and the
            COPA training itinerary) also reflect that these were two separate blocks of
            instruction.




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